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 10
 11                          UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
 12
 13   Bureau of Consumer Financial Protection, )
                                               )            Case No.: 8-20-cv-00043-SB-ADS
 14                    Plaintiff,              )
                                               )            CONSOLIDATED STATEMENTS OF
 15        vs.                                 )            UNDISPUTED AND DISPUTED
                                               )            FACTS IN SUPPORT OF
 16   Chou Team Realty, LLC et al.,            )            PLAINTIFF’S MOTION FOR
                                               )            SUMMARY JUDGMENT AGAINST
 17                    Defendants.             )            DEFENDANT NESHEIWAT
                                               )
 18                                            )
                                               )
 19                                            )
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       CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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  1             INDEX TO PLAINTIFF’S SUMMARY JUDGMENT EXHIBITS1
  2
      Exhibits filed with Plaintiff’s Motion for Summary Judgment (ECF Nos. 190-1
  3   to 190-55, 191 to 191-52, 192 to 192-46)
  4
              Declarations by Defendants and Defendants’ Owners and Employees
  5       SJ Ex. 1      Declaration of Robert Hoose and selected exhibits
  6       SJ Ex. 1a      Ex. 1 – Email & Docu Prep Center Solicitation Letters (Apr.
                         2015)
  7       SJ Ex. 1b      Ex. 2 – Email & Docu Prep Center Solicitation Letters (Feb.
  8                      2016)
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  9       SJ Ex. 1d      Ex. 4 – Emails & invoices for Docu Prep Center mailings (2015-
 10                      2016)
          SJ Ex. 1e      Ex. 5 – Emails re invoices for Docu Prep Center mailings (Sept.
 11                      2016)
 12       SJ Ex. 1f      Ex. 6 – Email re Docu Prep Center mailing (Feb. 2016)
          SJ Ex. 1g      Ex. 7 – Email re cost of Experian records (Feb. 2016)
 13
          SJ Ex. 1h      Ex. 9 – Email re ordering Experian records (Dec. 2016)
 14       SJ Ex. 1i      Ex. 10 – Checks for Docu Prep Center purchases of Experian
                         records
 15
          SJ Ex. 1j      Ex. 11 – Emails re use of Experian consumer reports (Oct. 2016)
 16       SJ Ex. 1k      Ex. 12 – Email & Docu Prep Center sales script (Feb. 2015)
 17       SJ Ex. 1l      Ex. 13 – Email & Docu Prep Center sales script (May 2015)
          SJ Ex. 1m      Ex. 14 – Email & Docu Prep Center employee manual (Sept.
 18                      2015)
 19       SJ Ex. 1n      Ex. 15 – Emails re compliance with Telemarketing Sales Rule
                         (Apr. 2015)
 20       SJ Ex. 1o      Ex. 19 – Email re Docu Prep Center investor update (May 2015)
 21
          SJ Ex. 2          Declaration of Kenneth Lawson and selected exhibits
 22       SJ Ex. 2a          Ex. 1 – Email re investing in Docu Prep Center (Jan. 2015)
 23       SJ Ex. 2b          Ex. 2 – Email re Docu Prep Center investor update (May 2015)
          SJ Ex. 2c          Ex. 3 – Email re Docu Prep Center investor update (July 2015)
 24
 25
 26
 27
      1
       The Bureau has not attached certain exhibits to declarations that are duplicative of
      exhibits to other declarations or that the Bureau is not relying on in its Statement of
 28   Undisputed Facts. The Bureau can submit those exhibits to the Court upon request.
          CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
                                                          4
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       SJ Ex. 3          Declaration of Erin Mason and selected exhibits
  1
       SJ Ex. 3a          Ex. 1 – Emails re Experian application (June 2015)
  2    SJ Ex. 3b          Ex. 2 – Email & Experian membership application (July 2015)
  3    SJ Ex. 3c          Ex. 3 – Email & Certified Doc Prep Services Solicitation Letters
                          (Feb. 2016)
  4    SJ Ex. 3d          Ex. 4 – Email & Certified Doc Prep Services script (June 2016)
  5    SJ Ex. 3e          Ex. 5 – Email re consumer complaints & refunds (Oct. 2016)

  6    SJ Ex. 4          Declaration of David Sklar and selected exhibits
  7    SJ Ex. 4a          Ex. 1 – Docu Prep Center Solicitation Letters (2016)
       SJ Ex. 4b          Ex. 2 – Email re Docu Prep Center mailings (Oct. 2016)
  8    SJ Ex. 4c          Ex. 3 – Email re price of Experian records (Aug. 2015)
  9    SJ Ex. 4d          Ex. 4 – Email re Experian bill (Jan. 2016)
       SJ Ex. 4e          Ex. 5 – Email re price for Experian records (Mar. 2016)
 10
       SJ Ex. 4f          Ex. 6 – Email re Docu Prep Center investor update (Apr. 2016)
 11    SJ Ex. 4g          Ex. 7 – Checks for Docu Prep Center purchases of Experian
 12                       records
       SJ Ex. 4h          Ex. 8 – Email & Docu Prep Center script (May 2015)
 13    SJ Ex. 4i          Ex. 9 – Docu Prep Center employee manual (2016)
 14    SJ Ex. 4j          Ex. 10 – Email re advance fees (May 2015)
       SJ Ex. 4k          Ex. 11 – Email re Docu Prep Center investor update (July 2015)
 15    SJ Ex. 4l          Ex. 12 – Distribution checks
 16
       SJ Ex. 5       Declaration of Mikael van Loon
 17    SJ Ex. 5a        Ex. 1 – Email re marketing meeting (Sep. 2016)
 18         Excerpts of Deposition Transcripts and Selected Deposition Exhibits
       SJ Ex. 6       Deposition of Frank Anthony Sebreros, taken by Plaintiff on Dec.
 19
                      20, 2020 (excerpts)
 20    SJ Ex. 6a        Ex. 2 – Assure Direct Services Solicitation Letters (2016-2017)
       SJ Ex. 6b        Ex. 3 - Docu Prep Center Training Manual
 21
       SJ Ex. 6c        Ex. 5 – Email re Assure Direct Services sales practices
 22    SJ Ex. 6d        Ex. 8 – Email re ADS/DDS/SPS/ASC Mailing
 23
       SJ Ex. 7          Deposition of Jawad Nesheiwat, taken on Jan. 19, 2021 (excerpts)
 24    SJ Ex. 7a          Ex. 16 – Solicitation Letters (2015-2016)
 25    SJ Ex. 7b          Ex. 17 – Solicitation Letters (2016-2017)
 26    SJ Ex. 8          30(b)(6) Deposition of Docs Done Right, Inc., taken on Jan. 22,
 27                      2021 (Designated Witness: Eduardo Martinez) (excerpts)
       SJ Ex. 8a          Ex. 20 – Email & Compliance Worksheet (Nov. 2015)
 28
       CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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  1
       SJ Ex. 9          Deposition of Eduardo Martinez, taken on Mar. 2, 2021 (excerpts)
  2
                         Excerpts of Investigational Hearing Transcripts
  3
       SJ Ex. 10         Investigational Hearing of Mikael van Loon, taken on Nov. 28,
  4                      2018 (excerpts)
       SJ Ex. 11         Investigational Hearing of Eduardo Martinez, taken on Mar. 27,
  5
                         2019 (excerpts)
  6
  7    SJ Ex. 12     Investigational Hearing of Sean Cowell, taken on Feb. 27, 2019
                     (excerpts)
  8             Excerpts of Discovery and Civil Investigative Demand (CID)
  9                                Requests and Responses
       SJ Ex. 13     Plaintiff’s First Set of Requests for Admission to Defendant
 10                  Nesheiwat
 11    SJ Ex. 13a      Ex. A – Monster Loans’ Experian Membership Application
       SJ Ex. 13b      Ex. B – Experian Standard Terms and Conditions Agreement
 12    SJ Ex. 13c      Ex. C – Experian Prescreening Services Schedule
 13    SJ Ex. 13d      Ex. D – Email re solicitation letter (June 2015)
       SJ Ex. 13e      Ex. E – Emails re new Experian account (May 2017)
 14    SJ Ex. 13f      Ex. F – Email re compliance with Telemarketing Sales Rule
 15                    (Apr. 2015)
       SJ Ex. 13g      Ex. G – Email re Docu Prep Center investor update (May 2015)
 16
       SJ Ex. 13h      Ex. I – Email re Docu Prep Center investor update (July 2015)
 17
 18    SJ Ex. 14         Defendant Nesheiwat’s Response to Plaintiff’s Requests for
                         Admission, dated Nov. 12, 2020 (excerpts)
 19    SJ Ex. 15         Defendant Lend Tech Loans, Inc.’s Response to Plaintiff’s First
 20                      Set of Interrogatories, dated July 21, 2020 (excerpts)
       SJ Ex. 16         Experian’s Response to Interrogatory No. 2 in Bureau’s Dec. 19,
 21                      2018 CID to Experian (excerpts)
 22                                        Expert Report
       SJ Ex. 17         Declaration of Dr. David M. Skanderson
 23    SJ Ex. 17a        Expert Report of Plaintiff’s expert Dr. David M. Skanderson, dated
 24                      Dec. 14, 2020
                                      Third Party Declarations
 25    SJ Ex. 18         Declaration of April Glaze (Experian)
 26    SJ Ex. 18a         Ex. 1 – Monster Loans’ Membership Application
       SJ Ex. 18b         Ex. 2 – Standard Terms and Conditions Agreement
 27
       SJ Ex. 18c         Ex. 3 – Prescreening Services Schedule
 28
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       SJ Ex. 19         Declaration of Patricia Marple (Experian)
  1
       SJ Ex. 19a         Ex. 1 – Lend Tech Loans’ Membership Application
  2
  3    SJ Ex. 20        Declaration of Susan Moser (Experian)
       SJ Ex. 21        Declaration of Peter Henke (Experian)
  4    SJ Ex. 22        Declaration of Alexander Klarow (Automated Mailers)
  5    SJ Ex. 23        Declaration of Christopher Queen (Debt Pay Gateway, Inc.)
       SJ Ex. 24        Declaration of Stephen Chaya (Account Management Systems,
  6                     LLC, f/k/a Reliant Account Management)
  7                   Bureau Declarations and Request for Judicial Notice
       SJ Ex. 25        Declaration of Mansour Heidari
  8
  9    SJ Ex. 26         Declaration of Annais Ramirez-Velazquez re Experian Records
 10    SJ Ex. 26a         Ex. 1 – Experian Order Summary
       SJ Ex. 26b         Ex. 2 – Chart of Monster Loans Order Summaries
 11
 12    SJ Ex. 27         Declaration of Annais Ramirez-Velazquez re Debt Pay Pro
                         Records
 13
 14    SJ Ex. 28         Declaration of Annais Ramirez-Velazquez re Forbearance Records
       SJ Ex. 28a         Ex. 1 – Forbearance Request
 15    SJ Ex. 28b         Ex. 2 – Review of Forbearance Request Sample
 16    SJ Ex. 28c         Ex. 3 – Review of Additional Forbearance Request Sample
 17
       SJ Ex. 29         Declaration of Colin Reardon
 18    SJ Ex. 30         Declaration of Dani Schneider
       SJ Ex. 31         Request for Judicial Notice
 19
                                      Consumer Declarations
 20    SJ Ex. 32         Declaration of Dennis Akwensioge
 21    SJ Ex. 32a         Ex. A – Email & consolidation packet (Mar. 2016)

 22    SJ Ex. 33         Declaration of Joseph Blevins
 23    SJ Ex. 33a         Ex. A – Email re cancellation and refund (Nov. 2017)
 24    SJ Ex. 34         Declaration of Michael Capeci
 25
       SJ Ex. 35         Declaration of Michael Chekanski
 26
       SJ Ex. 35a         Ex. A – Direct Document Solutions Solicitation Letter (2017)
 27    SJ Ex. 35b         Ex. B – Agreement
       SJ Ex. 35c         Ex. C – Email re consolidation packet (May 2017)
 28
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                                                       7
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       SJ Ex. 35d          Ex. D – Email re consolidation submission (June 2017)
  1
       SJ Ex. 35e          Ex. E – Email re consolidation application (June 2017)
  2
  3    SJ Ex. 36         Declaration of April Davis
       SJ Ex. 36a         Ex. A – Certified Doc Prep Services Solicitation Letter (2017)
  4    SJ Ex. 36b         Ex. B – Agreement
  5    SJ Ex. 36c         Ex. C – Email re consolidation packet (Mar. 2017)
       SJ Ex. 36d         Ex. D – Email re consolidation submission (Apr. 2017)
  6
  7    SJ Ex. 37         Declaration of Brittany Hampton
       SJ Ex. 37a         Ex. A – Agreement
  8
       SJ Ex. 37b         Ex. B – Email & consolidation packet (July 2017)
  9    SJ Ex. 37c         Ex. C – Email re receipt of documents (July 2017)
 10
       SJ Ex. 38         Declaration of Natalie Hebin
 11    SJ Ex. 38a         Ex. A – Email & consolidation documents, agreement (Dec.
 12                      2015)
       SJ Ex. 38b         Ex. B – Email & payment reminder (Dec. 2015)
 13
 14    SJ Ex. 39         Declaration of Jodie Jones
       SJ Ex. 39a         Ex. A – Certified Doc Prep Services Solicitation Letter (Jan.
 15                       2017)
 16    SJ Ex. 39b         Ex. B – Email & consolidation packet (Feb. 2017)
 17
       SJ Ex. 40         Declaration of James Kenner
 18    SJ Ex. 40a         Ex. A – Forbearance request (2017)
       SJ Ex. 40b         Ex. B – Email re credit score (Jan. 2017)
 19
 20    SJ Ex. 41         Declaration of Jose Marin
 21    SJ Ex. 41a         Ex. A – Docu Prep Center Solicitation Letter (2017)
       SJ Ex. 41b         Ex. B – Agreement
 22    SJ Ex. 41c         Ex. C – Servicer letter re consolidation (Feb. 2017)
 23
       SJ Ex. 42         Declaration of Joshua Martin
 24    SJ Ex. 42a         Ex. A – Consolidation packet (2016)
 25
       SJ Ex. 43         Declaration of Laura O’Neill
 26
       SJ Ex. 43a         Ex. A – Consumer complaint (Jan. 2017)
 27
       SJ Ex. 44         Declaration of Jordan Sowinski
 28
       CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
                                                       8
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          SJ Ex. 44a          Ex. A – Agreement
  1
  2       SJ Ex. 45         Declaration of Thera Storm
  3       SJ Ex. 45a          Ex. A – Email & consolidation documents (Dec. 2015)
          SJ Ex. 45b          Ex. B – Email re cancellation and refund (Jan. 2016)
  4       SJ Ex. 45c         Ex. C – Email re consolidation summary (Jan. 2016)
  5                               Government Records and Websites2
          SJ Ex. 46         California Secretary of State filings
  6       SJ Ex. 47         Federal Student Aid, U.S. Department of Education, “Student
  7                         Loan Consolidation.”
          SJ Ex. 48         Federal Student Aid, U.S. Department of Education,
  8                         “Forbearance.”
  9       SJ Ex. 49         Federal Student Aid, U.S. Department of Education, “Servicers.”
          SJ Ex. 50         Federal Student Aid, U.S. Department of Education, “Repayment
 10
                            Plans.”
 11       SJ Ex. 51         Federal Student Aid, U.S. Department of Education, “Student
                            Loan Repayment.”
 12
                               Documents Produced by Monster Loans3
 13       SJ Ex. 52         Email re Docu Prep Center mailing (June 2015)
 14       SJ Ex. 53         Email re Docu Prep Center voicemail scripts (Oct. 2015)
          SJ Ex. 54         Email re Docu Prep Center mailing (Dec. 2015)
 15       SJ Ex. 55         Email re Docu Prep Center and Certified Doc Prep
 16                         Services priorities (Feb. 2016)
          SJ Ex. 56         Email re communicating with Experian (Sep. 2016)
 17       SJ Ex. 57         Email re pricing of Experian records (Dec. 2016)
 18       SJ Ex. 58         Email re marketing data for SLDR Companies (Feb. 2017)
          SJ Ex. 59         Emails re new Experian account (May 2017)
 19       SJ Ex. 60         Emails re mailing house (June 2017)
 20       SJ Ex. 61         Emails re mailing order (June 2017)
 21
 22   2
        Government records and websites are authenticated in the declaration of Colin
 23   Reardon. SJ Ex. 29. The Bureau’s request for judicial notices of those documents is
      SJ Ex. 31.
 24   3
        Documents produced by Monster Loans to the Bureau (which have Bates numbers
 25   beginning with “ML”) are authenticated in the declaration of Mikael van Loon. SJ
      Ex. 5 at ¶¶ 18-22. In addition to the documents in this section, documents produced
 26   by Monster Loans are included as exhibits to certain declarations and depositions
 27   identified above. In some instances, other witnesses (in addition to van Loon) have
      also authenticated documents produced by Monster Loans, as explained in individual
 28   declarations and in deposition testimony.
          CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
                                                          9
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         SJ Ex. 62         Email re mailing house balance (July 2017)
1
         SJ Ex. 63         Email & Docu Prep Center Solicitation Letter (Aug. 2017)
2                           Documents Produced by Automated Mailers4
3        SJ Ex. 64         Email & Docu Prep Center Solicitation Letter (May 2015)
         SJ Ex. 65         Email & SLDR Companies’ Solicitation Letters (May 2017)
4
5    Exhibits filed with Plaintiff’s Reply in Support of its Motion for Summary
6    Judgment

7                                       Bureau Declarations
8        SJ Ex. 66         Supplemental Declaration of Dani Schneider
         SJ Ex. 67         Supplemental Declaration of Colin Reardon
9
10
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     4
      Documents produced by Automated Mailers to the Bureau are authenticated in the
28   Declaration of Alexander Klarow. SJ Ex. 22.
         CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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1     CONSOLIDATED STATEMENT OF PLAINTIFF’S UNDISPUTED FACTS
2         AND DEFENDANT’S GENUINE DISPUTES OF MATERIAL FACT
3             Prefatory Note by Bureau: Defendant Nesheiwat’s Statement of Genuine
4    Disputes of Material Fact, see ECF No. 201, did not comply with the Court’s
5    standing order governing summary judgment motions in two ways: (1) it omitted
6    numerous facts from the Bureau’s Statement of Undisputed Facts and failed to state
7    whether those facts were disputed or undisputed, and (2) it omitted the “Supporting
8    Evidence” column and edited (and at times omitted information from) the Bureau’s
9    descriptions of its supporting evidence in the course of responding to that evidence in
10   the “Def.’s Response” column. For clarity, consistency with the Court’s standing
11   order, and the Court’s convenience, the Bureau has consolidated the parties’
12   respective statements in the table below. Where Nesheiwat did not dispute a fact, the
13   Bureau has left the “Def.’s Response” column blank.
14
       Pl.’s                 Fact                     Supporting                  Def.’s Response
15
       SUF                                             Evidence
16     No.
17
         I.     OVERVIEW OF DEFENDANTS
18
19
                A.    Corporate Defendants
20
        1.       Chou Team Realty, Inc.           SJ Ex. 5 (Van
21               was a California                 Loon Decl.) at
22               corporation that operated        ¶ 7; SJ Ex. 3
                 between 2014 and 2018.           (Mason Decl.) at
23
                                                  ¶¶ 2, 33
24      2.       Chou Team Realty, Inc.           SJ Ex. 5 (Van
                 did business as Monster          Loon Decl.) at
25
                 Loans (“Monster Loans”).         ¶ 7; SJ Ex. 3
26                                                (Mason Decl.) at
                                                  ¶2
27
28
      CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
                                                      11
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           3.     Monster Loans operated             SJ Ex. 5 (Van
1
                  as a mortgage lender.              Loon Decl.) at ¶
2                                                    7
3          4.     Docu Prep Center, Inc.             SJ Ex. 1 (Hoose
                  was incorporated in                Decl.) at ¶ 2
4                 California in February
5                 2015.
           5.     Document Preparation               SJ Ex. 1 (Hoose
6                 Services, LP was                   Decl.) at ¶ 3
7                 registered as a limited
                  partnership in California
8                 in October 2015.
9          6.     Docu Prep Center, Inc.             SJ Ex. 1 (Hoose
                  was the general partner of         Decl.) at ¶ 3; SJ
10                Document Preparation               Ex. 5 (Van Loon
11                Services, LP (collectively,        Decl.) at ¶ 3
                  “Docu Prep Center”).
12         7.     Docu Prep Center initially         SJ Ex. 1 (Hoose
13                conducted business using           Decl.) at ¶ 4; see
                  the name DocuPrep                  also SJ Ex. 4
14                Center.                            (Sklar Decl.) at ¶
15                                                   11.
           8.     Beginning on or about              SJ Ex. 1 (Hoose
16                March 31, 2016, Docu               Decl.) at ¶ 4; see
17                Prep Center conducted              also SJ Ex. 4
                  business using the name            (Sklar Decl.) at ¶
18                Certified Document                 11
19                Center.5
           9.     Certified Doc Prep, Inc.           SJ Ex. 46 at 3
20                was registered as a
21                corporation in California
                  in October 2015.
22
           10.    Certified Doc Prep                 SJ Ex. 46 at 4
23                Services, LP was
                  registered as a limited
24
25
26   5
      In this Statement of Undisputed Facts, the Bureau has generally referred to “Docu
27   Prep Center,” rather than to its dbas DocuPrep Center and Certified Document
     Center. Some of the exhibits cited in this Statement refer to Docu Prep Center by its
28   dba names.
         CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
                                                         12
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              partnership in California
1
              in October 2015.
2      11.    Certified Doc Prep, Inc.           SJ Ex. 5 (Van
3             was the general partner of         Loon Decl.) at
              Certified Doc Prep                 ¶ 3; SJ Ex. 46 at
4             Services, LP (collectively,        4
5             “Certified Doc Prep
              Services”).
6      12.    Assure Direct Services,            SJ Ex. 46 at 5
7             Inc. was registered as a
              corporation in California
8             in August 2016.
9      13.    Assure Direct Services,            SJ Ex. 46 at 6
              LP was registered as a
10            limited partnership in
11            California in August 2016.
       14.    Between August 2016 and            SJ Ex. 5 (Van
12            around January 2018,               Loon Decl.) at
13            Assure Direct Services,            ¶ 3; SJ Ex. 46 at
              Inc. was the general               6-7; see also SJ
14            partner of Assure Direct           Ex. 4 (Sklar
15            Services, LP.                      Decl.) at ¶¶ 74-75
                                                 (change in Jan.
16                                               2018)
17     15.    Direct Document                    SJ Ex. 46 at 8
              Solutions, Inc. was
18            registered as a corporation
19            in California in January
              2017.
20     16.    Direct Document                    SJ Ex. 46 at 9
21            Solutions, LP was
              registered as a limited
22
              partnership in California
23            in January 2017.
       17.    Between January 2017               SJ Ex. 5 (Van
24
              and around January 2018,           Loon Decl.) at
25            Direct Document                    ¶ 3; SJ Ex. 46 at
              Solutions, Inc. was the            9-10; see also SJ
26
              general partner of Direct          Ex. 4 (Sklar
27            Document Solutions, LP.            Decl.) at ¶¶ 74-75
28
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                                                 (change in Jan.
1
                                                 2018)
2      18.    Secure Preparation                 SJ Ex. 46 at 11
3             Services, Inc. was
              registered as a corporation
4             in California in January
5             2017.
       19.    Secure Preparation                 SJ Ex. 46 at 12
6             Services, LP was
7             registered as a limited
              partnership in California
8             in January 2017.
9      20.    Between January 2017               SJ Ex. 5 (Van
              and around January 2018,           Loon Decl.) at
10            Secure Preparation                 ¶ 3; SJ Ex. 46
11            Services, Inc. was the             (SPS
              general partner of Secure          Registrations);
12            Preparation Services, LP.          see also SJ Ex. 4
13                                               (Sklar Decl.) at
                                                 ¶¶ 74-75 (change
14                                               in Jan. 2018)
15     21.    Docu Prep Center,                  SJ Ex. 5 (Van
              Certified Doc Prep                 Loon Decl.) at
16            Services, Assure Direct            ¶ 2; SJ Ex. 1
17            Services, Direct                   (Hoose Decl.) at
              Document Solutions, and            ¶7
18            Secure Preparation
19            Services (collectively, the
              “SLDR Companies”) each
20            offered services to
21            consumers with student
              loans.
22     22.    Docu Prep Center began      SJ Ex. 1 (Hoose
23            operating in February       Decl.) at ¶ 8-19;
              2015.                       SJ Ex. 4 (Sklar
24                                        Decl.) at ¶ 16).
25     23.    Docu Prep Center enrolled SJ Ex. 25
              new customers between at (Heidari Decl.) at
26
              least June 3, 2015 and      ¶ 37; see also SJ
27            April 17, 2017.             Ex. 4 (Sklar
                                          Decl.) at ¶ 70.
28
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       24.    Certified Doc Prep                 SJ Ex. 25
1
              Services enrolled new              (Heidari Decl.) at
2             customers between at least         ¶ 37
3             January 4, 2016 and
              March 3, 2017.
4      25.    Assure Direct Services     SJ Ex. 25
5             enrolled new customers     (Heidari Decl.) at
              between at least August 9, ¶ 37; see also SJ
6             2016 and September 22,     Ex. 6 (Sebreros
7             2017.                      Dep.) at 13:12-
                                         14:20
8      26.    Direct Document            SJ Ex. 25
9             Solutions enrolled new     (Heidari Decl.) at
              customers between at least ¶ 37; see also SJ
10            April 17, 2017 and         Ex. 4 (Sklar
11            September 22, 2017.        Decl.) at ¶ 70
       27.    Secure Preparation         SJ Ex. 25
12            Services enrolled new      (Heidari Decl.) at
13            customers between at least ¶ 37; see also SJ
              April 3, 2017 and          Ex. 4 (Sklar
14            September 21, 2017.        Decl.) at ¶ 71
15     28.    In September 2017, the     SJ Ex. 29
              Bureau served civil        (Reardon Decl.)
16            investigative demands      at ¶ 60; SJ Ex. 4
17            (“CIDs”) on certain of the (Sklar Decl.) at
              SLDR Companies.            ¶ 73; SJ Ex. 12
18                                       (Cowell IH) at
19                                       230:6-231:8
       29.    Assure Direct Services,    SJ Ex. 4 (Sklar
20            Direct Document            Decl.) at ¶ 73; SJ
21            Solutions, and Secure      Ex. 12 (Cowell
              Preparation Services shut IH) at 230:6-
22            down in September 2017     231:8; SJ Ex. 8
23            in response to receiving   (DDR Dep.) at
              the Bureau’s CIDs.         36:19-24; SJ Ex.
24                                       6 (Sebreros Dep.)
25                                       at 164:15-165:9
       30.    Docs Done Right, Inc.      SJ Ex. 46 at 1
26
              was registered as a
27            corporation in California
              in October 2015.
28
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           31.    Docs Done Right, LP was            SJ Ex. 46 at 2
1
                  registered as a limited
2                 partnership in California
3                 in March 2016.
           32.    Docs Done Right, Inc.              SJ Ex. 46 at 2
4                 was the general partner of
5                 Docs Done Right, LP
                  (collectively “Docs Done
6                 Right”).
7          33.    Lend Tech Loans, Inc.              SJ Ex. 46 at 14
                  (“Lend Tech”) was
8                 registered as a California
9                 corporation on June 15,
                  2017.
10
11               B.      Jawad Nesheiwat

12         34.    Jawad Nesheiwat           SJ Ex. 5 (Van                    DISPUTED: There is no
13                (“Nesheiwat”) was a co-   Loon Decl.) at                   admissible evidence to
                  founder of Monster Loans. ¶ 116                            support this assertion.
14                                                                           Specifically, Nesheiwat
15                                                                           objects to and moves to
                                                                             strike Ex. 5, ¶ 11 of Van
16                                                                           Loon Decl. because it:
17                                                                              (a) misstates the testimony
                                                                             (¶ 11 does not state this);
18                                                                              (b) is based on hearsay
19                                                                           (i.e., documents);
                                                                                (c) lacks personal
20                                                                           knowledge, foundation; and
21                                                                              (d) are legal conclusion.

22                                                                           See Evidentiary Objections
23                                                                           to Van Loon Decl., ¶ 11,
                                                                             which is concurrently filed
24                                                                           herewith (“Van Loon
25                                                                           Objections”).
26
27
28   6
         Bureau note: This fact should have cited ¶ 21 in SJ Ex. 5, rather than ¶ 11.
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       35.    Nesheiwat worked at                SJ Ex. 5 (Van
1
              Monster Loans between              Loon Decl.) at
2             2015 and April 2017.               ¶ 11; see also SJ
3                                                Ex. 3 (Mason
                                                 Decl.) at ¶¶ 2-3;
4                                                SJ Ex. 7
5                                                (Nesheiwat Dep.)
                                                 at 29:18-30:2
6                                                (invoking Fifth
7                                                Amendment)
       36.    Nesheiwat was Monster              SJ Ex. 5 (Van
8             Loans’ chief operating             Loon Decl.) at
9             officer.                           ¶ 11; see also SJ
                                                 Ex. 7 (Nesheiwat
10                                               Dep.) at 29:18-
11                                               30:2 (invoking
                                                 Fifth
12                                               Amendment)
13     37.    Nesheiwat oversaw                  SJ Ex. 5 (Van           DISPUTED: Ex. 129
              Monster Loans’ sales and           Loon Decl.) at          (Lepiscopo Decl. at ¶ 6); Ex.
14            marketing.                         ¶ 11; SJ Ex. 1          130 (Martinez CID at p. 153,
15                                               (Hoose Decl.) at        l. 10 to p. 154, l. 12)
                                                 ¶ 15; SJ Ex. 3          (Disputes that Nesheiwat
16                                               (Mason Decl.) at        oversaw anything as Robert
17                                               ¶ 3; see also SJ        Hoose was in charge.)
                                                 Ex. 7 (Nesheiwat
18                                               Dep.) at 30:18-         Nesheiwat objects to and
19                                               31:14 (invoking         moves to strike:
                                                 Fifth
20                                               Amendment)                  SJ Ex. 5, ¶ 11 of Van
21                                                                       Loon Decl.
                                                                             SJ Ex. 1, ¶ 15 of Hoose
22                                                                       Decl.
23                                                                           SJ Ex. 3, ¶ 3 of Mason
                                                                         Decl. because it:
24                                                                          (a) lack personal
25                                                                       knowledge, foundation; and
                                                                            (b) are based on hearsay
26                                                                       (i.e., documents).
27
28
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                                                                         See Evidentiary Objections:
1
                                                                         Van Loon Objections; Hoose
2                                                                        Objections; and Mason
3                                                                        Objections.

4                                                                             SJ Ex. 7, 30:18-31:14 of
5                                                                        Nesheiwat Dep. because it
                                                                         is:
6                                                                          (a) irrelevant & prejudicial;
7                                                                          (b) violates Griffin v.
                                                                         California, 380 U.S. 609,
8                                                                        612 (1965) (“Griffin”),
9                                                                        which prohibits any “adverse
                                                                         comment” because it creates
10                                                                       a constitutionally prohibited
11                                                                       negative inference—i.e., that
                                                                         the defendant is hiding
12                                                                       something. Thus, the Court
13                                                                       in Griffin held that this
                                                                         assumption amounts to an
14                                                                       unfair penalty on a
15                                                                       defendant’s invocation of a
                                                                         constitutionally protected
16                                                                       right.
17
                                                                         See Nesheiwat Dep.
18                                                                       Objections.
19
       38.    Between 2015 and 2018,             SJ Ex. 1 (Hoose         DISPUTED: There is no
20            Nesheiwat owned limited            Decl.) at ¶¶ 80,        admissible evidence to
21            partnership interests in the       91 98; SJ Ex. 4         support this assertion.
              SLDR Companies.                    (Sklar Decl.) at ¶      Nesheiwat objects to and
22                                               15, 59 61; SJ Ex.       moves to strike:
23                                               3 (Mason Decl.)
                                                 at ¶ 15; SJ Ex. 5          SJ Ex. 1 (Hoose Decl.) at
24                                               (Van Loon Decl.)        ¶¶ 80, 91 98;
25                                               at ¶ 4; see also SJ        SJ Ex. 4 (Sklar Decl.) at ¶
                                                 Ex. 7 (Nesheiwat        15, 59 61;
26                                               Dep.) at 33:19-            SJ Ex. 3 (Mason Decl.) at
27                                               39:22 (invoking         ¶ 15;
                                                 Fifth                      SJ Ex. 5 (Van Loon Decl.)
28                                               Amendment)              at ¶ 4
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1
                                                                         because they:
2                                                                           (a) are based on hearsay
3                                                                        (i.e., documents);
                                                                            (b) lack personal
4                                                                        knowledge, foundation; and
5                                                                           (c) are legal conclusions.

6                                                                        See Evidentiary Objections:
7                                                                        Hoose Objections, Sklar
                                                                         Objections; Mason
8                                                                        Objections; and Van Loon
9                                                                        Objections.

10                                                                           SJ Ex. 7, 33:19-39:22 of
11                                                                       Nesheiwat Dep. because it
                                                                         is:
12                                                                         (a) irrelevant & prejudicial;
13                                                                         (b) violates Griffin.

14                                                                       See Nesheiwat Dep.
15                                                                       Objections.
       39.    Nesheiwat was a limited            SJ Ex. 8 (DDR           DISPUTED: There is no
16            partner in Docs Done               Dep.) at 33:18-         admissible evidence to
17            Right during 2016 and              34:8; SJ Ex. 11         support this assertion.
              2017.                              (Martinez IH) at
18                                               20:2-6                  Nesheiwat objects to and
19                                                                       moves to strike:
20                                                                           SJ Ex. 8 (DDR Dep.) at
21                                                                       33:18-34:8;
                                                                             SJ Ex. 11 (Martinez IH)
22                                                                       at 20:2-6
23
                                                                         because they:
24                                                                          (a) are based on hearsay
25                                                                       (i.e., documents);
                                                                            (b) lack personal
26                                                                       knowledge, foundation; and
27                                                                          (c) are legal conclusions.
28
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                                                                         See Evidentiary Objections:
1
                                                                         DDR Objections, Martinez
2                                                                        IH Objections.
3
                                                                             SJ Ex. 7, 33:19-39:22 of
4                                                                        Nesheiwat Dep. because it
5                                                                        is:
                                                                           (a) irrelevant & prejudicial;
6                                                                          (b) violates Griffin.
7
                                                                         See Nesheiwat Dep.
8                                                                        Objections.
9
       II.   Background on U.S. Department of Education Student Loan Programs
10
11     40.    The U.S. Department of             SJ Ex. 50          DISPUTED: There is no
              Education (“Department             (Repayment         admissible evidence to
12            of Education” or “ED”)             Plans)             support this assertion.
13            offers various repayment           (describing plans)
              plans to eligible                                     Nesheiwat objects to and
14            consumers with federal                                moves to strike:
15            student loans, including
              plans that may result in                                       SJ Ex. 50 (Repayment
16            lower monthly loan                                         Plans) (describing plans)
17            payments and student loan                                          because is:
              forgiveness after a certain                                   (a) is based on hearsay
18            number of payments.                                        (i.e., documents);
19                                                                          (b) lacks personal
                                                                         knowledge, foundation.
20
21                                                                       See Evidentiary Objections
                                                                         to SJ Ex. 50.
22     41.    A Direct Consolidation             SJ Ex. 47               DISPUTED: There is no
23            Loan allows consumers              (Consolidation)         admissible evidence to
              with federal student loans         at 1; SJ Ex. 8          support this assertion.
24            to consolidate (i.e.,              (DDR Dep.) at
25            combine) multiple federal          47:16-48:4              Nesheiwat objects to and
              student loans into one                                     moves to strike:
26            loan.
27                                                                           SJ Ex. 47 (Consolidation)
                                                                         at 1:
28
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1
                                                                         because it:
2                                                                           (a) is based on hearsay
3                                                                        (i.e., documents);
                                                                            (b) lacks personal
4                                                                        knowledge, foundation.
5                                                                        See Evidentiary Objections
                                                                         to SJ Ex. 47.
6
7                                                                           SJ Ex. 8 (DDR Dep.) at
                                                                         47:16-48:4:
8
9                                                                        because it:
                                                                            (a) is an improper opinion
10                                                                       that lacks proper expertise,
11                                                                       foundation, and personal
                                                                         knowledge;
12                                                                          (b) is based on hearsay
13                                                                       (i.e., documents);
                                                                            (c) lacks personal
14                                                                       knowledge, foundation.
15
                                                                         See Evidentiary Objections
16                                                                       to DDR Dep.
17     42.    ED does not charge                 SJ Ex. 47               DISPUTED: There is no
              borrowers any fees to              (Consolidation)         admissible evidence to
18            consolidate their loans or         at 1; SJ Ex. 49         support this assertion.
19            to access any loan                 (Servicers) at 4
              repayment and                                              Nesheiwat objects to and
20            forgiveness programs.                                      moves to strike:
21
                                                                             SJ Ex. 47 (Consolidation)
22                                                                       at 1;
23                                                                           SJ Ex. 49 (Servicers) at 4
24                                                                       because they:
25                                                                          (a) are based on hearsay
                                                                         (i.e., documents);
26                                                                          (b) lack personal
27                                                                       knowledge, foundation.
28
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                                                                         See Evidentiary Objections
1
                                                                         to SJ Exs. 47 & 49.
2      43.    Eligible consumers with            SJ Ex. 48               DISPUTED: There is no
3             federal student loans can          (Forbearance) at        admissible evidence to
              request to place their loans       1 (“With                support this assertion.
4             in forbearance so that they        forbearance, you
5             will not have to make              won’t have to           Nesheiwat objects to and
              monthly payments.                  make a payment,         moves to strike:
6                                                or you can
7                                                temporarily make            SJ Ex. 48 (Forbearance) at
                                                 a smaller               1
8                                                payment.”); SJ             SJ Ex. 8 (DDR Dep.) at
9                                                Ex. 8 (DDR              123:5-9
                                                 Dep.) at 123:5-9        because they:
10                                                                          (a) are based on hearsay
11                                                                       (i.e., documents);
                                                                            (b) lack personal
12                                                                       knowledge, foundation; and
13                                                                          (c) are improper opinions.

14                                                                       See Evidentiary Objections
15                                                                       to SJ Ex. 48 and DDR Dep.
       44.    ED’s federal student loan          SJ Ex. 49               DISPUTED: There is no
16            programs are administered          (Servicers) at 1        admissible evidence to
17            through student-loan               (“A loan servicer       support this assertion.
              servicers that handle the          is a company that
18            billing and other services         we assign to            Nesheiwat objects to and
19            on federal student loans.          handle the billing      moves to strike:
                                                 and other
20                                               services on your          SJ Ex. 49 (Servicers) at 1
21                                               federal student           SJ Ex. 8 (DDR Dep.) at
                                                 loan on our             254:8-23.
22                                               behalf, at no cost      because they:
23                                               to you.”); SJ Ex.
                                                 8 (DDR Dep.) at            (a) are based on hearsay
24                                               254:8-23.               (i.e., documents);
25                                                                          (b) lack personal
                                                                         knowledge, foundation; and
26                                                                          (c) are improper opinions.
27
28
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                                                                         See Evidentiary Objections
1
                                                                         to SJ Ex. 49 and DDR Dep.
2
3    III.    The SLDR Companies’ Process for Marketing, Sale, and Delivery of Debt
             Relief Services
4
5
             A.      The SLDR Companies’ Business Model
6
       45.    Docu Prep Center was the           SJ Ex. 1 (Hoose
7             first of the Student Loan          Decl.) at ¶¶ 18-
8             Companies to be created.           19; SJ Ex. 4
                                                 (Sklar Decl.) at
9
                                                 ¶ 13.
10     46.    Certified Doc Prep                 SJ Ex. 6
              Services, Assure Direct            (Sebreros Dep.)
11
              Services, Direct                   at 14:23-25;
12            Document Solutions, and            26:4-27:20;
              Secure Preparation                 38:16-39:10; see
13
              Services were “cookie-             also SJ Ex. 1
14            cutter” copies of Docu             (Hoose Decl.) at
              Prep Center.                       ¶¶ 97, 100-06; SJ
15
                                                 Ex. 4 (Sklar
16                                               Decl.) at ¶¶ 59-
                                                 68; SJ Ex. 3
17
                                                 (Mason Decl.) at
18                                               ¶¶ 16-17, 21, 25,
                                                 37; SJ Ex. 9
19
                                                 (Martinez Dep.)
20                                               at 203:4-7.
21     47.    Certified Doc Prep                 SJ Ex. 3 (Mason
              Services was closely               Decl.) at ¶ 16.
22            modeled on Docu Prep
23            Center.
       48.    The managers of Assure             SJ Ex. 4 (Sklar
24            Direct Services, Direct            Decl.) at ¶ 70-71;
25            Document Solutions, and            SJ Ex. 1 (Hoose
              Secure Preparation                 Decl.) at ¶ 100;
26            Services were former               SJ Ex. 3 (Mason
27            employees of Docu Prep             Decl.) at ¶ 34.
              Center.
28
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       49.    At Assure Direct Services,         SJ Ex. 6
1
              “[e]verything was the              (Sebreros Dep.)
2             same” as at Docu Prep              at 38:16-39:4.
3             Center, except its location.
       50.    In early 2017, the limited         SJ Ex. 4 (Sklar
4             partners of Docu Prep              Decl.) at ¶ 70
5             Center decided to begin
              operating that business
6             using a new entity, Direct
7             Document Solutions.
       51.    In early 2017, Docu Prep           SJ Ex. 4 (Sklar
8             Center’s employees were            Decl.) ¶ 70
9             transferred to Direct
              Document Solutions.
10     52.    In early 2017, the limited         SJ Ex. 4 (Sklar
11            partners of Certified Doc          Decl.) at ¶ 71; SJ
              Prep Services decided to           Ex. 3 (Mason
12            begin operating that               Decl.) at ¶ 36
13            business using a new
              entity, Secure Preparation
14            Services.
15     53.    In early 2017, Certified           SJ Ex. 4 (Sklar
              Doc Prep Services’                 Decl.) at ¶ 71; SJ
16            employees were                     Ex. 3 (Mason
17            transferred to Secure              Decl.) at ¶ 37
              Preparation Services.
18     54.    Each of the SLDR            SJ Ex. 1 (Hoose
19            Companies offered the       Decl.) at ¶ 101;
              same services to            SJ Ex. 4 (Sklar
20            consumers.                  Decl.) at ¶ 64; SJ
21                                        Ex. 3 (Mason
                                          Decl.) at ¶ 16; SJ
22                                        Ex. 6 (Sebreros
23                                        Dep.) at 38:16-
                                          39:4.
24
       55.    The SLDR Companies’         SJ Ex. 1 (Hoose                DISPUTED: There is no
25            services involved assisting Decl.) at ¶ 101;               admissible evidence to
              consumers with              SJ Ex. 4 (Sklar                support this assertion.
26
              consolidating their federal Decl.) at ¶ 64; SJ
27            student loans and with      Ex. 3 (Mason                   Nesheiwat objects to and
                                          Decl.) at ¶ 16; SJ             moves to strike:
28
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              enrolling in student loan          Ex. 6 (Sebreros
1
              programs offered by ED.            Dep.) at 38:16-             SJ Ex. 1 (Hoose Decl.) at
2                                                40:1, 58:4-14           ¶ 101;
3                                                                            SJ Ex. 4 (Sklar Decl.) at ¶
                                                                         64;
4                                                                            SJ Ex. 3 (Mason Decl.) at
5                                                                        ¶ 16;
                                                                             SJ Ex. 6 (Sebreros Dep.)
6                                                                        at 38:16-40:1, 58:4-14
7
                                                                         because they:
8
9                                                                           (a) are based on hearsay
                                                                         (i.e., documents);
10                                                                          (b) lack personal
11                                                                       knowledge, foundation; and
                                                                            (c) are improper opinions.
12
13                                                                       See Evidentiary Objections
                                                                         to Hoose Decl.; Sklar Decl.;
14                                                                       Mason Decl.; and Sebreros
15                                                                       Dep.
       56.    During 2016, Docu Prep             SJ Ex. 4 (Sklar         DISPUTED: There is no
16            Center’s employee                  Decl.) at ¶ 45; SJ      admissible evidence to
17            handbook included the              Ex. 4i (Sklar           support this assertion.
              following in the                   Decl. Ex. 9) at
18            “Company Background”               CFPB-EM-                Nesheiwat objects to and
19            section:                           0168852; SJ Ex.         moves to strike:
                                                 6 (Sebreros Dep.)
20            “Certified Document                at 68:22-72:7; SJ           SJ Ex. 4 (Sklar Decl.) at ¶
21            Center and its founders            Ex. 6b (Sebreros        45;
              have been in the debt              Dep. Ex. 3) at              SJ Ex. 4i (Sklar Decl. Ex.
22            relief industry since 2007         ML00333037.             9) at CFPB-EM-0168852;
23            and have led the way in                                        SJ Ex. 6 (Sebreros Dep.)
              niche sectors such as Debt                                 at 68:22-72:7;
24            Settlement, Tax Debt                                           SJ Ex. 6b (Sebreros Dep.
25            Relief and even Student                                    Ex. 3) at ML00333037.
              Debt Relief. … In 2015,
26            Certified Document                                                 because they:
27            Center began to assist
              students burdened with
28
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                                                     25
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              debt by helping them                                          (a) are based on hearsay
1
              understand and navigate                                    (i.e., documents);
2             through the maze of                                           (b) lack personal
3             programs and available                                     knowledge, foundation.
              options. Certified
4             Document Center is a                                       See Evidentiary Objections:
5             proud member of the                                        Sklar Decl. Objections; and
              Association for Student                                    Sebreros Dep. Objections.
6             Loan Relief and continues
7             to set the standard for
              student debt relief.”
8      57.    The SLDR Companies         SJ Ex. 1 (Hoose
9             relied on direct mail to   Decl.) at ¶ 102;
              generate interest in their SJ Ex. 4 (Sklar
10            services.                  Decl.) at ¶¶ 22,
11                                       65; SJ Ex. 6
                                         (Sebreros Dep.)
12                                       at 29:25-30:4,
13                                       39:2-6
       58.    The SLDR Companies         SJ Ex. 1 (Hoose
14            sold their services during Decl.) at ¶ 102;
15            sales calls with consumers SJ Ex. 4 (Sklar
              who called in response to Decl.) at ¶¶ 65-
16            the direct mailings.       66; SJ Ex. 3
17                                       (Mason Decl.) at
                                         ¶ 24; SJ Ex. 6
18                                       (Sebreros Dep.)
19                                       at 29:25-30:4
       59.    The SLDR Companies’        SJ Ex. 1 (Hoose                 DISPUTED: There is no
20            revenues were the result   Decl.) at ¶ 105                 admissible evidence to
21            of their telemarketing                                     support this assertion.
              sales to consumers with
22            student loans.                                             Nesheiwat objects to and
23                                                                       moves to strike:
24                                                                          SJ Ex. 1 (Hoose Decl.) at
25                                                                       ¶ 105
26                                                                       because it:
27
28
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                                                                            (a) is based on hearsay
1
                                                                         (i.e., documents);
2                                                                           (b) lacks personal
3                                                                        knowledge, foundation.

4                                                                        See Evidentiary Objections:
5                                                                        Hoose Decl. Objections.
       60.    The SLDR Companies                 SJ Ex. 4 (Sklar         DISPUTED: There is no
6             were each owned by a               Decl.) at ¶ 61; SJ      admissible evidence to
7             group of limited partners,         Ex. 1 (Hoose            support this assertion.
              including Nesheiwat.               Decl.) at ¶ 80, 98.
8                                                                        Nesheiwat objects to and
9                                                                        moves to strike:

10                                                                          SJ Ex. 4 (Sklar Decl.) at ¶
11                                                                       61;
                                                                            SJ Ex. 1 (Hoose Decl.) at
12                                                                       ¶ 80, 98.
13
                                                                         because they:
14                                                                          (a) are based on hearsay
15                                                                       (i.e., documents);
                                                                            (b) lack personal
16                                                                       knowledge, foundation; and
17                                                                          (c) are legal conclusions.

18                                                                       See Evidentiary Objections:
19                                                                       Sklar Decl. Objections,
                                                                         Hoose Decl. Objections.
20     61.    The SLDR Companies’                SJ Ex. 1 (Hoose         DISPUTED: There is no
21            profits were distributed to        Decl.) at ¶¶ 91,        admissible evidence to
              their limited partners,            97; SJ Ex. 4            support this assertion.
22            including Nesheiwat.               (Sklar Decl.) at
23                                               ¶¶ 59, 60               Nesheiwat objects to and
                                                                         moves to strike:
24
25                                                                          SJ Ex. 1 (Hoose Decl.) at
                                                                         ¶¶ 91, 97;
26                                                                          SJ Ex. 4 (Sklar Decl.) at
27                                                                       ¶¶ 59, 60
28
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                                                                         because they:
1
                                                                            (a) are based on hearsay
2                                                                        (i.e., documents);
3                                                                           (b) lack personal
                                                                         knowledge, foundation; and
4                                                                           (c) are legal conclusions.
5
                                                                         See Evidentiary Objections:
6                                                                        Sklar Decl. Objections and
7                                                                        Hoose Decl. Objections.
       62.    The SLDR Companies                 SJ Ex. 1 (Hoose
8             worked with support                Decl.) at ¶¶ 20,
9             companies to provide their         23-25, 57-59, 73,
              services to consumers.             106; SJ Ex. 4
10                                               (Sklar Decl.) at
11                                               ¶¶ 13, 21, 68; SJ
                                                 Ex. 9 (Martinez
12                                               Dep.) at 55:15-
13                                               21; SJ Ex. 8
                                                 (DDR Dep.) at
14                                               37:18-38:3, 16-
15                                               21
       63.    From February 2015 until           SJ Ex. 1 (Hoose
16            October or November                Decl.) at ¶¶ 20,
17            2015, Docu Prep Center             23; SJ Ex. 4
              received support from              (Sklar Decl.) at
18            Student Loan Processing            ¶¶ 13, 21; SJ Ex.
19            Center (“SLPC”).                   9 (Martinez Dep.)
                                                 at 39:5-16, 48:14-
20                                               18
21     64.    After October or                   SJ Ex. 9
              November 2015, Docs                (Martinez Dep.)
22            Done Right provided                at 38:24-39:21,
23            support services to Docu           220:24-221:6; SJ
              Prep Center and the other          Ex. 1 (Hoose
24            SLDR Companies.                    Decl.) at ¶¶ 23,
25                                               106; SJ Ex. 4
                                                 (Sklar Decl.) at
26                                               ¶ 21, 68
27     65.    SLPC and Docs Done                 SJ Ex. 1 (Hoose
              Right provided services to         Decl.) at ¶¶ 19,
28
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              consumers on behalf of      23, 25, 57-59,
1
              the SLDR Companies          106; SJ Ex. 4
2             after a sale was complete.  (Sklar Decl.) at
3                                         ¶¶ 14, 21, 68; SJ
                                          Ex. 9 (Martinez
4                                         Dep.) at 38:6-
5                                         39:4, 39:11-16;
                                          SJ Ex. 8 (DDR
6                                         Dep.) at 31:13-
7                                         16, 21, 24-32:4,
                                          69:24-70:3,
8                                         70:16-71:23,
9                                         72:4-73:15, 74:4-
                                          24
10     66.    The services that SLPC      SJ Ex. 8 (DDR
11            and Docs Done Right         Dep.) at 28:3-9,
              provided to the SLDR        36:11-18; SJ Ex.
12            Companies were referred 9 (Martinez Dep.)
13            to as “back end” services. at 36:7-10, 37:5-
                                          8, 38:3-9
14     67.    Docs Done Right was         SJ Ex. 8 (DDR                  DISPUTED: There is no
15            owned by a group of         Dep.) at 33:18-                admissible evidence to
              limited partners, including 34:23; 42:5-9; SJ              support this assertion.
16            Nesheiwat and other         Ex. 4 (Sklar
17            limited partners of the     Decl.) at ¶ 21                 Nesheiwat objects to and
              SLDR Companies.                                            moves to strike:
18
19                                                                          SJ Ex. 8 (DDR Dep.) at
                                                                         33:18-34:23; 42:5-9;
20                                                                          SJ Ex. 4 (Sklar Decl.) at ¶
21                                                                       21
22                                                                       because they:
23                                                                          (a) are based on hearsay
                                                                         (i.e., documents);
24                                                                          (b) lack personal
25                                                                       knowledge, foundation; and
                                                                            (c) are legal conclusions.
26
27
28
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                                                                         See Evidentiary Objections:
1
                                                                         DDR Dep. Objections and
2                                                                        Sklar Decl. Objections.
3      68.    Docs Done Right’s limited          SJ Ex. 8 (DDR
              partners instructed Docs           Dep.) at 34:17-
4             Done Right’s manager to            36:25
5             work with each of the
              SLDR Companies.
6      69.    At Docs Done Right,                SJ Ex. 8 (DDR
7             “[a]ny big decisions had           Dep.) at 39:15-
              to be approved by” its             40:18; see also SJ
8             limited partners, including        Ex. 4 (Sklar
9             compliance questions and           Decl.) at ¶ 21
              refund policies.
10     70.    At times, Jawad                    SJ Ex. 8 (DDR     DISPUTED: Ex. 129
11            Nesheiwat communicated             Dep.) at 42:10-17 (Lepiscopo Decl. at ¶¶ 6 &
              the limited partners’                                7); Ex. 130 (Martinez CID at
12            decisions to Docs Done                               p. 153, l. 10 to p. 154, l. 12);
13            Right.                                               Ex. 131 (Articles of
                                                                   incorporation and certificate
14                                                                 of limited partners for the
15                                                                 Companies);
                                                                    (Disputes that Nesheiwat
16                                                                 was in control of any entities
17                                                                 as he did not form any of the
                                                                   Companies and that
18                                                                 Nesheiwat oversaw anything
19                                                                 as Robert Hoose was in
                                                                   charge.)
20
21                                                                       Nesheiwat objects to and
                                                                         moves to strike:
22
23                                                                       SJ Ex. 8 (DDR Dep.) at
                                                                         42:10-17
24
25                                                                       because it:
                                                                            (a) lacks personal
26                                                                       knowledge, foundation; and
27                                                                          (b) is based on hearsay
                                                                         (i.e., documents).
28
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1
                                                                         See Evidentiary Objections:
2                                                                        DDR Dep. Objections.
3
             B.      The SLDR Companies’ Direct Mail Marketing
4
       71.    The SLDR Companies                 SJ Ex. 1b (Hoose
5
              marketed their services to         Decl. Ex. 2) at 1
6             consumers nationwide via           (“We are mailing
              direct mail.                       to CA, FL, MO,
7
                                                 NJ, TX, and VA
8                                                states.”); SJ Ex.
                                                 30 (Schneider
9
                                                 Decl.) at ¶ 10
10                                               (complaints from
11                                               35 states); see
                                                 also SJ Ex. 1a
12                                               (Hoose Decl. Ex.
13                                               1); SJ Ex. 4a
                                                 (Sklar Decl. Ex.
14                                               1); SJ Ex. 41a
15                                               (Marin Decl. Ex.
                                                 A); SJ Ex. 3c
16                                               (Mason Decl. Ex.
17                                               3) at CFPB-EM-
                                                 0037418-421; SJ
18                                               Ex. 36a (Davis
19                                               Decl. Ex. A); SJ
                                                 Ex. 39a (Jones
20                                               Decl. Ex. A); SJ
21                                               Ex. 6a (Sebreros
                                                 Dep. Ex. 2); SJ
22                                               Ex. 35a
23                                               (Chekanski Decl.
                                                 Ex. A); SJ Ex. 7a
24                                               (Nesheiwat Dep.
25                                               Ex. 16); SJ Ex.
                                                 7b (Nesheiwat
26                                               Dep. Ex. 17)
27     72.    The SLDR Companies                 SJ Ex. 6
              sometimes jointly placed           (Sebreros Dep.)
28
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              orders for direct mail       at 128:12-17,
1
              through the mailing house    142:21-143:21;
2             they used.                   SJ Ex. 6d
3                                          (Sebreros Dep.
                                           Ex. 8)
4      73.    The SLDR Companies           SJ Ex. 4 (Sklar
5             used the same template for Decl.) ¶ 65; SJ
              their direct mail            Ex. 3 (Mason
6             solicitations (“Solicitation Decl.) ¶ 21; SJ
7             Letters”).                   Ex. 6 (Sebreros
                                           Dep.) 38:22-39:6,
8                                          40:2-6; see also
9                                          SJ Ex. 1b (Hoose
                                           Decl. Ex. 2); SJ
10                                         Ex. 4a (Sklar
11                                         Decl. Ex. 1); SJ
                                           Ex. 41a (Marin
12                                         Decl. Ex. A); SJ
13                                         Ex. 3c (Mason
                                           Decl. Ex. 3) at
14                                         CFPB-EM-
15                                         0037418-421; SJ
                                           Ex. 36a (Davis
16                                         Decl. Ex. A); SJ
17                                         Ex. 39a (Jones
                                           Decl. Ex. A); SJ
18                                         Ex. 6a (Sebreros
19                                         Dep. Ex. 2); SJ
                                           Ex. 35a
20                                         (Chekanski Decl.
21                                         Ex. A)
       74.    In the Solicitation Letters, SJ Ex. 1a (Hoose
22            the SLDR Companies           Decl. Ex. 1) at 4-
23            offered a “Student Loan      6; SJ Ex. 1b
              Consolidation & Payment (Hoose Decl. Ex.
24            Reduction Program            2); SJ Ex. 4a
25            Prepared For” the            (Sklar Decl. Ex.
              consumer to whom the         1); SJ Ex. 41a
26            letter was addressed.        (Marin Decl. Ex.
27                                         A); SJ Ex. 3c
                                           (Mason Decl. Ex.
28
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                                         3) at CFPB-EM-
1
                                         0037418-421; SJ
2                                        Ex. 36a (Davis
3                                        Decl. Ex. A); SJ
                                         Ex. 39a (Jones
4                                        Decl. Ex. A); SJ
5                                        Ex. 6a (Sebreros
                                         Dep. Ex. 2); SJ
6                                        Ex. 35a
7                                        (Chekanski Decl.
                                         Ex. A); SJ Ex. 7a
8                                        (Nesheiwat Dep.
9                                        Ex. 16); SJ Ex.
                                         7b (Nesheiwat
10                                       Dep. Ex. 17)
11     75.    The Solicitation Letters   SJ Ex. 1a (Hoose
              included a header with the Decl. Ex. 1) at 4-
12            phrase “FINAL NOTICE” 6; SJ Ex. 1b
13            in bold.                   (Hoose Decl. Ex.
                                         2); SJ Ex. 4a
14                                       (Sklar Decl. Ex.
15                                       1); SJ Ex. 41a
                                         (Marin Decl. Ex.
16                                       A); SJ Ex. 3c
17                                       (Mason Decl. Ex.
                                         3) at CFPB-EM-
18                                       0037418-421; SJ
19                                       Ex. 36a (Davis
                                         Decl. Ex. A); SJ
20                                       Ex. 39a (Jones
21                                       Decl. Ex. A); SJ
                                         Ex. 6a (Sebreros
22                                       Dep. Ex. 2); SJ
23                                       Ex. 35a
                                         (Chekanski Decl.
24                                       Ex. A); SJ Ex. 7a
25                                       (Nesheiwat Dep.
                                         Ex. 16); SJ Ex.
26                                       7b (Nesheiwat
27                                       Dep. Ex. 17)
28
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       76.    Until about August or              SJ Ex. 1a (Hoose
1
              September 2017, the                Decl. Ex. 1); at 4-
2             Solicitation Letters told          6; SJ Ex. 1b
3             consumers to call the              (Hoose Decl. Ex.
              SLDR Companies by                  2); SJ Ex. 4a
4             specific dates identified in       (Sklar Decl. Ex.
5             the letters or before their        1); SJ Ex. 41a
              next student loan payment          (Marin Decl. Ex.
6             was due.                           A); SJ Ex. 3c
7                                                (Mason Decl. Ex.
                                                 3) at CFPB-EM-
8                                                0037418-421; SJ
9                                                Ex. 36a (Davis
                                                 Decl. Ex. A); SJ
10                                               Ex. 39a (Jones
11                                               Decl. Ex. A); SJ
                                                 Ex. 6a (Sebreros
12                                               Dep. Ex. 2); SJ
13                                               Ex. 35a
                                                 (Chekanski Decl.
14                                               Ex. A); SJ Ex. 7a
15                                               (Nesheiwat Dep.
                                                 Ex. 16); SJ Ex.
16                                               7b (Nesheiwat
17                                               Dep. Ex. 17)
       77.    The Solicitation Letters           SJ Ex. 1a (Hoose
18            included the statement             Decl. Ex. 1) at 4-
19            “CALL TOLL-FREE                    6; SJ Ex. 1b
              TODAY TO REDEEM                    (Hoose Decl. Ex.
20            YOUR FEDERAL                       2); SJ Ex. 4a
21            BENEFITS” in bold.                 (Sklar Decl. Ex.
                                                 1); SJ Ex. 41a
22                                               (Marin Decl. Ex.
23                                               A); SJ Ex. 3c
                                                 (Mason Decl. Ex.
24                                               3) at CFPB-EM-
25                                               0037418-421; SJ
                                                 Ex. 36a (Davis
26                                               Decl. Ex. A); SJ
27                                               Ex. 39a (Jones
                                                 Decl. Ex. A); SJ
28
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                                                 Ex. 6a (Sebreros
1
                                                 Dep. Ex. 2); SJ
2                                                Ex. 35a
3                                                (Chekanski Decl.
                                                 Ex. A); SJ Ex. 7a
4                                                (Nesheiwat Dep.
5                                                Ex. 16); SJ Ex.
                                                 7b (Nesheiwat
6                                                Dep. Ex. 17)
7      78.    During 2015, Docu Prep             SJ Ex. 1 (Hoose
              Center sent Solicitation           Decl.) at ¶¶ 32,
8             Letters that included a            34-35; SJ Ex. 1a
9             table referencing “NEW             (Hoose Decl. Ex.
              FEDERAL STUDENT                    1) at 4-6
10            LOAN LAW
11            BENEFITS,” including
              “Lower Interest Rates,”
12            “Lower Monthly
13            Payments,” and
              “Forgiveness Programs.”
14     79.    In 2016 and 2017, the              SJ Ex. 1 (Hoose
15            Solicitation Letters               Decl.) at ¶¶ 33-
              included the statement             35; SJ Ex. 1b
16            “Benefits of the                   (Hoose Decl. Ex.
17            Consolidation Program              2); SJ Ex. 4
              may include” followed by           (Sklar Decl.) at
18            “No credit check,”                 ¶6 SJ Ex. 4a
19            “Interest rate reduction           (Sklar Decl. Ex.
              regardless of balance or           1); SJ Ex. 41a
20            pay history,” “Lower               (Marin Decl. Ex.
21            monthly payments based             A); SJ Ex. 3c
              on income and family               (Mason Decl. Ex.
22            size,” and “Loan                   3) at CFPB-EM-
23            forgiveness.”                      0037418-421; SJ
                                                 Ex. 36a (Davis
24                                               Decl. Ex. A); SJ
25                                               Ex. 39a (Jones
                                                 Decl. Ex. A); SJ
26                                               Ex. 6a (Sebreros
27                                               Dep. Ex. 2); SJ
                                                 Ex. 35a
28
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                                                 (Chekanski Decl.
1
                                                 Ex. A); SJ Exs.
2                                                7a and 7b
3                                                (Nesheiwat Dep.
                                                 Ex. 16 and 17)
4      80.    The Solicitation Letters           SJ Ex. 9                DISPUTED: There is no
5             were “designed to create           (Martinez Dep.)         admissible evidence to
              urgency and make clients           at 227:3-21             support this assertion.
6             feel that this was
7             something special that                                     Nesheiwat objects to and
              could only be done”                                        moves to strike:
8             through the SLDR
9             Companies.                                                     SJ Ex. 9 (Martinez Dep.)
                                                                         at 227:3-21
10
11                                                                       because it:

12                                                                          (a) calls for speculation;
13                                                                          (b) is based on hearsay
                                                                         (i.e., documents);
14                                                                          (c) lacks personal
15                                                                       knowledge, foundation

16                                                                       See Evidentiary Objections:
17                                                                       Martinez Dep. Objections
       81. Eduardo Martinez testified SJ Ex. 9                           DISPUTED: There is no
18         that the Solicitation      (Martinez Dep.)                    admissible evidence to
19         Letters were               at 229:9-230:1                     support this assertion.
           “exaggerated” and did not
20         accurately represent the                                      Nesheiwat objects to and
21         SLDR Companies’                                               moves to strike:
           services.
22                                                                          SJ Ex. 9 (Martinez Dep.)
23                                                                       at 229:9-230:1
24                                                                       because it:
25
                                                                            (a) is an irrelevant opinion;
26                                                                          (b) is based on hearsay
27                                                                       (i.e., documents);
28
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                                                                          (c) lacks personal
1
                                                                         knowledge, foundation;
2                                                                         (d) is an improper opinion;
3                                                                         (e) is a factual conclusion.

4                                                                        See Evidentiary Objections:
5                                                                        Martinez Dep. Objections

6            C.      The SLDR Companies’ Telemarketing Sales Calls
7
       82.    The SLDR Companies’       SJ Ex. 4 (Sklar
8             sales representatives wereDecl.) at ¶¶ 41,
              directed to use scripts   65; SJ Ex. 1
9
              during sales calls.       (Hoose Decl.) at
10                                      ¶¶ 54, 60-69; SJ
11                                      Ex. 3 (Mason
                                        Decl.) at ¶ 25; SJ
12                                      Ex. 6 (Sebreros
13                                      Dep.) at 38:22-
                                        39:4.
14     83.    At times, sales           SJ Ex. 4 (Sklar
15            representatives deviated  Decl.) at ¶ 41; SJ
              from the scripts.         Ex. 1 (Hoose
16                                      Decl.) at ¶ 62; SJ
17                                      Ex. 6c (Sebreros
                                        Dep. Ex. 5)
18                                      (manager
19                                      criticizing sales
                                        reps for “pitching
20                                      … garbage”); see
21                                      also SJ Ex. 5
                                        (Van Loon Decl.)
22                                      at ¶¶ 22-25, 34
23                                      (authenticating
                                        Sebreros Dep.
24                                      Ex. 5)
25     84.    Sales employees of the    SJ Ex. 1 (Hoose
              SLDR Companies were       Decl.) at ¶ 54; SJ
26            sometimes called “Student Ex. 6 (Sebreros
27            Loan Advisors.”           Dep.) at 28:20-
                                        22; SJ Ex. 9
28
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                                                 (Martinez Dep.)
1
                                                 at 203:12-15.
2
       85.    During sales calls, sales  SJ Ex. 1 (Hoose
3             representatives for the    Decl.) at ¶ 55; SJ
4             SLDR Companies asked       Ex. 1a (Hoose
              consumers for information  Decl. Ex. 13) at
5             about their student loans, HOOSE0000046
6             finances, and family to    0-63; SJ Ex. 1a
              identify an ED program     (Hoose Decl. Ex.
7             for which the consumer     14) at
8             would be eligible.         ML00006178-80;
                                         SJ Ex. 36 (Davis
9                                        Decl.) at ¶ 4; SJ
10                                       Ex. 35
                                         (Chekanski
11                                       Decl.) at ¶ 6; SJ
12                                       Ex. 42 (Martin
                                         Decl.) at ¶ 4; SJ
13                                       Ex. 43 (O’Neill
14                                       Decl.) at ¶ 5
       86.    Sales representatives then Hoose Decl.) at ¶
15            attempted to “sell the     55; SJ Ex. 1a
16            program” by describing its (Hoose Decl. Ex.
              benefits.                  13) at
17                                       HOOSE0000046
18                                       4-65; SJ Ex. 1a
                                         (Hoose Decl. Ex.
19                                       14) at
20                                       ML00006181-82;
                                         see also SJ Ex.
21                                       39 (Jones Decl.)
22                                       at ¶ 4; SJ Ex. 41
                                         (Marin Decl.) at ¶
23                                       5; SJ Ex. 33
24                                       (Blevins Decl.) at
                                         ¶ 4; SJ Ex. 34
25                                       (Capeci Decl.) at
26                                       ¶5
       87.    Sales representatives      SJ Ex. 1 (Hoose
27            typically did not explain  Decl.) at ¶ 55; SJ
28            the SLDR Companies’        Ex. 1a (Hoose
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              fees until the end of the          Decl. Ex. 13) at
1
              sales call.                        HOOSE0000046
2                                                5; SJ Ex. 1a
3                                                (Hoose Decl. Ex.
                                                 14) at
4                                                ML00006183; SJ
5                                                Ex. 43 (O’Neill
                                                 Decl.) at ¶ 7; SJ
6                                                Ex. 44 (Sowinski
7                                                Decl.) at ¶ 8
       88.    If the consumer agreed to          SJ Ex. 1 (Hoose
8             sign up for the SLDR               Decl.) at ¶ 55; SJ
9             Companies’ services, the           Ex. 35
              sales representatives              (Chekanski
10            emailed consumers a set            Decl.) at ¶¶ 7-8;
11            of agreements to sign              SJ Ex. 40
              electronically.                    (Kenner Decl.) at
12                                               ¶ 8; SJ Ex. 41
13                                               (Marin Decl.) at ¶
                                                 8; SJ Ex. 34
14                                               (Capeci Decl.) at
15                                               ¶6
       89.    Sales representatives for          SJ Ex. 34 (Capeci
16            the SLDR Companies                 Decl.) at ¶ 6; SJ
17            sometimes rushed                   Ex. 38 (Hebin
              consumers through the              Decl.) at ¶ 5-6; SJ
18            enrollment process,                Ex. 44 (Sowinski
19            including electronically           Decl.) at ¶ 7; SJ
              signing the agreements.            Ex. 45 (Storm
20                                               Decl.) at ¶ 5; SJ
21                                               Ex. 41 (Marin
                                                 Decl.) at ¶¶ 6-8.
22     90.    Docu Prep Center’s                 SJ Ex. 4i (Sklar        DISPUTED: There is no
23            employee manual directed           Decl. Ex. 9) at         admissible evidence to
              sales representatives to           CFPB-EM-                support this assertion.
24            “[c]reate a sense of               0168868, CFPB-
25            urgency” and “[s]trike             EM-0168881              Nesheiwat objects to and
              while the iron is hot”                                     moves to strike:
26            during sales calls.
27
28
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                                                                            SJ Ex. 4i (Sklar Decl. Ex.
1
                                                                         9) at CFPB-EM-0168868,
2                                                                        CFPB-EM-0168881
3
                                                                         because it:
4
5                                                                           (a) calls for speculation;
                                                                            (b) is based on hearsay
6                                                                        (i.e., documents);
7                                                                           (c) lacks personal
                                                                         knowledge, foundation;
8                                                                           (d) is an irrelevant opinion;
9                                                                           (e) is an improper opinion;
                                                                            (f) is a factual conclusion.
10
11                                                                       See Evidentiary Objections:
                                                                         Sklar Decl. Objections.
12     91.    If a consumer asked to             SJ Ex. 4i (Sklar        DISPUTED: There is no
13            read Docu Prep Center’s            Decl. Ex. 9) at         admissible evidence to
              agreements and then call           CFPB-EM-                support this assertion.
14            Docu Prep Center back,             0168874.
15            Docu Prep Center’s                                         Nesheiwat objects to and
              employee manual directed                                   moves to strike:
16            sales representatives to
17            say: “The documents I am                                      SJ Ex. 4i (Sklar Decl. Ex.
              sending you to sign are a                                  9) at CFPB-EM-0168874.
18            general set of disclosures
19            that allow us to contact the                               because it:
              parties involved to help
20            you consolidate your loans                                    (a) calls for speculation;
21            with the U.S. Department                                      (b) is irrelevant;
              of Education. They are                                        (c) is based on hearsay
22            time sensitive documents                                   (i.e., documents);
23            and if you are not                                            (d) lacks personal
              prepared to move forward                                   knowledge, foundation;
24            they will expire and your                                     (e) is an irrelevant as
25            benefits will be denied.”                                  speculative.
26                                                                       See Evidentiary Objections:
27                                                                       Sklar Decl. Objections.
28
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       92.    The SLDR Companies’                SJ Ex. 41b              DISPUTED: There is no
1
              agreements with                    (Marin Decl. Ex.        admissible evidence to
2             consumers included a               B) at 8; SJ Ex.         support this assertion.
3             “Limited Power of                  36b (Davis Decl.
              Attorney” permitting the           Ex. B) at 9; SJ         Nesheiwat objects to and
4             SLDR Companies to                  Ex. 35b                 moves to strike:
5             communicate on                     (Chekanski Decl.
              consumers’ behalf with             Ex. B) at 7; SJ            SJ Ex. 41b (Marin Decl.
6             student loan servicers.            Ex. 37a                 Ex. B) at 8;
7                                                (Hampton Decl.             SJ Ex. 36b (Davis Decl.
                                                 Ex. A) at 8; SJ         Ex. B) at 9;
8                                                Ex. 38a (Hebin             SJ Ex. 35b (Chekanski
9                                                Decl. Ex. A) at         Decl. Ex. B) at 7;
                                                 14; SJ Ex. 44a             SJ Ex. 37a (Hampton
10                                               (Sowinski Decl.         Decl. Ex. A) at 8;
11                                               Ex. A) at 11               SJ Ex. 38a (Hebin Decl.
                                                                         Ex. A) at 14;
12                                                                          SJ Ex. 44a (Sowinski
13                                                                       Decl. Ex. A) at 11.

14                                                                       because they:
15
                                                                            (a) are improper legal
16                                                                       opinions;
17                                                                          (b) are irrelevant;
                                                                            (c) is based on hearsay
18                                                                       (i.e., documents);
19                                                                          (d) lacks personal
                                                                         knowledge, foundation.
20
21                                                                       See Evidentiary Objections:
                                                                         Marin Decl. Objections;
22                                                                       Davis Decl. Objections;
23                                                                       Chekanski Decl. Objections;
                                                                         Hampton Decl. Objections;
24                                                                       Hebin Decl. Objections;
25                                                                       Sowinski Decl. Objections.
26
27
28
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1
             D.      The SLDR Companies’ Debt Relief Services
2
3      93.    Once the sale was                  SJ Ex. 1 (Hoose
              complete, SLPC or Docs             Decl.) at ¶¶ 19,
4             Done Right provided                23, 25, 57-59,
5             consumers with services            106; SJ Ex. 4
              on behalf of the SLDR              (Sklar Decl.) at
6             Companies.                         ¶¶ 14, 21, 68; SJ
7                                                Ex. 9 (Martinez
                                                 Dep.) at 38:6-
8                                                39:4; SJ Ex. 8
9                                                (DDR Dep.) at
                                                 31:13-32:4,
10                                               37:18-24; 69:24-
11                                               70:3, 70:16-
                                                 71:23, 72:4-
12                                               73:15, 74:4-24
13     94.    When interacting with              SJ Ex. 1 (Hoose
              consumers, SLPC or Docs            Decl.) at ¶ 57; SJ
14            Done Right, as applicable,         Ex. 8 (DDR
15            referred to themselves as          Dep.) at 65:8-
              the SLDR Company that              67:17
16            sold services to the
17            consumer.
18     95.    SLPC or Docs Done Right            SJ Ex. 8 (DDR
19            prepared consolidation             Dep.) at 60:25-
              applications, loan                 62:20, 104:8-
20            repayment plan requests,           105:3, 123:5-12;
21            and forbearance requests           SJ Ex. 1 (Hoose
              based on information               Decl.) at ¶ 19, 23,
22            provided by consumers to           25, 57-59, 106;
23            the SLDR Companies                 SJ Ex. 4 (Sklar
              during sales calls.                Decl.) at ¶¶ 14,
24                                               21, 68
25     96.    After consumers enrolled,          SJ Ex. 1 (Hoose
              they were sent a packet of         Decl.) at ¶ 58;
26
              documents that generally           SJ Ex. 8 (DDR
27            included a welcome letter,         Dep.) at 68:4-7,
              a payment schedule, an             69:1-7, 71:16-
28
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              application to consolidate         72:20; SJ Ex. 42
1
              the consumer’s loans, a            (Martin Decl.) at
2             request to put the                 ¶ 7 and Ex. A; SJ
3             consumer into a new                Ex. 32
              student loan repayment             (Akwensioge
4             plan, and a forbearance            Decl.) at ¶ 5; SJ
5             request.                           Ex. 32a
                                                 (Akwensioge
6                                                Decl. Ex. A); SJ
7                                                Ex. 45 (Storm
                                                 Decl.) at ¶ 6 and
8                                                Ex. A
9
       97.    The packet of documents            SJ Ex. 1 (Hoose
10            included instructions              Decl.) at ¶ 58;
11            directing consumers to             SJ Ex. 8 (DDR
              sign and return the                Dep.) at 72:21-
12            application documents by           73:3; SJ Ex. 36
13            e-mail, fax, or mail.              (Davis Decl.) at ¶
                                                 7 and Ex. C at 2-
14                                               3; SJ Ex. 32
15                                               (Akwensioge
                                                 Decl.) at ¶ 5; SJ
16                                               Ex. 32a
17                                               (Akwensioge
                                                 Decl. Ex. A at 3,
18                                               5; SJ Ex. 45
19                                               (Storm Decl.) at ¶
                                                 6 and Ex. A at 3
20     98.    After consumers returned           SJ Ex. 8 (DDR
21            the documents, SLPC or             Dep.) at 64:6-17;
              Docs Done Right                    SJ Ex. 9
22            submitted them to                  (Martinez Dep.)
23            consumers’ servicers.              at 38:13-23; see
                                                 also SJ Ex. 35
24                                               (Chekanski
25                                               Decl.) at ¶¶ 10,
                                                 12; SJ Ex. 36
26                                               (Davis Decl.) at
27                                               ¶¶ 9, 11; SJ Ex.
                                                 37 (Hampton
28
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                                                 Decl.) at ¶ 13; SJ
1
                                                 Ex. 40 (Kenner
2                                                Decl.) at ¶ 11; SJ
3                                                Ex. 39 (Jones
                                                 Decl.) at ¶ 6; SJ
4                                                Ex. 41 (Marin
5                                                Decl.) at ¶ 10

6     IV.    Nesheiwat Unlawfully Used and Obtained Prescreened Lists to Market
7            Debt Relief Services

8      99.  Experian Information                 SJ Ex. 18 (Glaze
            Solutions, Inc.                      Decl.) at ¶ 4; SJ
9
            (“Experian”) sells                   Ex. 19 (Marple
10          prescreened lists to clients         Decl.) at ¶ 4.
11          to use in making a firm
            offer of credit.
12     100. In around June 2015,                 SJ Ex. 18 (Glaze
13          Monster Loans applied for            Decl.) at ¶ 10; SJ
            an account with Experian             Ex. 3 (Mason
14          to purchase prescreened              Decl.) at ¶ 4
15          lists.
       101. Nesheiwat directed                   SJ Ex. 3 (Mason         DISPUTED: Ex. 129
16          Monster Loans employee               Decl.) at ¶ 2, 4;       (Lepiscopo Decl. at ¶ 6); Ex.
17          Erin Mason (“Mason”) to              see also SJ Ex. 7       130 (Martinez CID at p. 153,
            help him apply for the               (Nesheiwat Dep.)        l. 10 to p. 154, l. 12)
18          Experian account.                    at 70:14-71:4           (Disputes that Nesheiwat
19                                               (invoking Fifth         oversaw anything as Robert
                                                 Amendment)              Hoose was in charge.)
20
21                                                                       Nesheiwat objects to and
                                                                         moves to strike:
22
23                                                                       SJ Ex. 3 (Mason Decl.) at ¶
                                                                         2, 4
24
25                                                                       because it:
                                                                           (a) is irrelevant and vague.
26
27                                                                       See Evidentiary Objections:
                                                                         Mason Objections.
28
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                                                                             SJ Ex. 7, 70:14-71:4 of
1
                                                                         Nesheiwat Dep. because it
2                                                                        is:
3                                                                          (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
4
5                                                                        See Nesheiwat Dep.
                                                                         Objections.
6      102. When it applied, Monster             SJ Ex. 18 (Glaze
7           Loans represented to                 Decl.) at ¶¶ 12,
            Experian that it would use           13
8           Experian’s prescreened
9           lists to make firm offers of
            credit to consumers.
10     103. As part of the application           SJ Ex. 3 (Mason
11          process, Experian                    Decl.) at ¶ 5
            requested an example of
12          the mortgage mailer
13          Monster Loans used.
       104. Nesheiwat told Mason not             SJ Ex. 3 (Mason         DISPUTED: Ex. 129
14          to provide Experian with             Decl.) at ¶ 5; SJ       (Lepiscopo Decl. at ¶¶ 6 &
15          the mailer that Monster              Ex. 3a (Mason           7); Ex. 130 (Martinez CID at
            Loans actually used to               Decl. Ex. 1) at         p. 153, l. 10 to p. 154, l. 12);
16          market mortgage loans.               CFPB-JN-                Ex. 131 (Articles of
17                                               0067461                 incorporation and certificate
                                                                         of limited partners for the
18                                                                       Companies);
19                                                                        (Disputes that Nesheiwat
                                                                         was in control of any entities
20                                                                       as he did not form any of the
21                                                                       Companies and that
                                                                         Nesheiwat oversaw anything
22                                                                       as Robert Hoose was in
23                                                                       charge.)
24                                                                       Nesheiwat objects to and
25                                                                       moves to strike:
26                                                                          SJ Ex. 3 (Mason Decl.) at
27                                                                       ¶ 5;
28
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                                                                            SJ Ex. 3a (Mason Decl.
1
                                                                         Ex. 1) at CFPB-JN-0067461
2
3                                                                        because it:
                                                                            (a) is irrelevant, and vague
4                                                                        and ambiguous as to time;
5                                                                           (b) is based on hearsay
                                                                         (i.e., documents).
6
7                                                                        See Evidentiary Objections:
                                                                         Mason Objections.
8      105. Nesheiwat instead                    SJ Ex. 3 (Mason         DISPUTED: Ex. 129
9           directed Mason to instead            Decl.) at ¶ 5; SJ       (Lepiscopo Decl. at ¶¶ 6 &
            provide Experian with                Ex. 3a (Mason           7); Ex. 130 (Martinez CID at
10          what Nesheiwat called a              Decl. Ex. 1) at         p. 153, l. 10 to p. 154, l. 12);
11          “compliant mailer.”                  CFPB-JN-                Ex. 131 (Articles of
                                                 0067461                 incorporation and certificate
12                                                                       of limited partners for the
13                                                                       Companies);
                                                                          (Disputes that Nesheiwat
14                                                                       was in control of any entities
15                                                                       as he did not form any of the
                                                                         Companies and that
16                                                                       Nesheiwat oversaw anything
17                                                                       as Robert Hoose was in
                                                                         charge.)
18
19                                                                       Nesheiwat objects to and
                                                                         moves to strike:
20
21                                                                          SJ Ex. 3 (Mason Decl.) at
                                                                         ¶ 5;
22                                                                          SJ Ex. 3a (Mason Decl.
23                                                                       Ex. 1) at CFPB-JN-0067461
24                                                                       because it:
25                                                                          (a) is irrelevant, and vague
                                                                         and ambiguous as to time;
26                                                                          (b) is based on hearsay
27                                                                       (i.e., documents).
28
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                                                                         See Evidentiary Objections:
1
                                                                         Mason Objections.
2
       106. Nesheiwat told Mason that            SJ Ex. 3a (Mason        DISPUTED: Ex. 129
3           Monster Loans “can[’]t               Decl. Ex. 1) at         (Lepiscopo Decl. at ¶¶ 6 &
            provide [Experian]                   CFPB-JN-                7); Ex. 130 (Martinez CID at
4
            anything we are currently            0067461                 p. 153, l. 10 to p. 154, l. 12);
5           sending out, they will                                       Ex. 131 (Articles of
            most likely be rejected.”                                    incorporation and certificate
6
                                                                         of limited partners for the
7                                                                        Companies);
8                                                                         (Disputes that Nesheiwat
                                                                         was in control of any entities
9                                                                        as he did not form any of the
10                                                                       Companies and that
                                                                         Nesheiwat oversaw anything
11                                                                       as Robert Hoose was in
12                                                                       charge.)

13                                                                       Nesheiwat objects to and
14                                                                       moves to strike:

15                                                                          SJ Ex. 3a (Mason Decl.
16                                                                       Ex. 1) at CFPB-JN-0067461

17                                                                       because it:
18                                                                          (a) is irrelevant, and vague
                                                                         and ambiguous as to time;
19                                                                          (b) is based on hearsay
20                                                                       (i.e., documents).

21
22                                                                       See Evidentiary Objections:
                                                                         Mason Decl. Objections.
23     107. Experian requires new                SJ Ex. 18 (Glaze
24          clients to attest in their           Decl.) at ¶ 8; SJ
            membership application to            Ex. 19 (Marple
25          their permissible purpose            Decl.) at ¶ 7
26          to obtain consumer credit
            information under the Fair
27          Credit Reporting Act
28          (“FCRA”) by describing
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            their intended use of
1
            Experian’s consumer data
2           and the nature of their
3           business interactions with
            consumers.
4      108. Monster Loans’            SJ Ex. 18 (Glaze
5           membership application    Decl.) at ¶ 13; SJ
            identified Monster Loans  Ex. 18a (Glaze
6           as a mortgage lender.     Decl. Ex. 1) at
7                                     CFPB-JN-
                                      0055517
8      109. The “Permissible          SJ Ex. 18 (Glaze                   DISPUTED: There is no
9           Purpose/Appropriate Use” Decl.) at ¶ 13; SJ                  admissible evidence to
            section of Monster Loans’ Ex. 18a (Glaze                     support this assertion.
10          membership application    Decl. Ex. 1) at
11          stated that “Monster      CFPB-JN-                           Nesheiwat objects to and
            Loans will be using       0055517                            moves to strike:
12          Experian products and                                           SJ Ex. 18 (Glaze Decl.) at
13          consumer data to select                                      ¶ 13;
            specific demographic                                            SJ Ex. 18a (Glaze Decl.
14          information that will be                                     Ex. 1) at CFPB-JN-0055517
15          used for marketing
            purposes” and “to                                            because it:
16          prescreen consumers to
17          make a firm offer of                                            (a) lacks foundation as to
            credit.”                                                     authentication of
18                                                                       Nesheiwat’s signature or
19                                                                       whether he completed the
                                                                         application;
20                                                                          (b) calls for speculation;
21                                                                          (c) is irrelevant;
                                                                            (d) is based on hearsay
22                                                                       (i.e., documents);
23                                                                          (e) lacks personal
                                                                         knowledge, foundation;
24                                                                          (f) is irrelevant as
25                                                                       speculative.
26                                                                       See Evidentiary Objections:
27                                                                       Glaze Decl. Objections.
28
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       110. Nesheiwat told Mason      SJ Ex. 3 (Mason                    DISPUTED: Ex. 129
1
            what to write in the      Decl.) at ¶ 7                      (Lepiscopo Decl. at ¶¶ 6 &
2           “Permissible                                                 7); Ex. 130 (Martinez CID at
3           Purpose/Appropriate Use”                                     p. 153, l. 10 to p. 154, l. 12);
            section of the membership                                    Ex. 131 (Articles of
4           application.                                                 incorporation and certificate
5                                                                        of limited partners for the
                                                                         Companies);
6                                                                         (Disputes that Nesheiwat
7                                                                        was in control of any entities
                                                                         as he did not form any of the
8                                                                        Companies and that
9                                                                        Nesheiwat oversaw anything
                                                                         as Robert Hoose was in
10                                                                       charge.)
11
                                                                         Nesheiwat objects to and
12                                                                       moves to strike:
13
                                                                            SJ Ex. 3 (Mason Decl.) at
14                                                                       ¶ 7 and Ex. 2 to Mason Decl.
15
                                                                         because it:
16
17                                                                          (a) is irrelevant, and vague
                                                                         and ambiguous as to time;
18                                                                          (b) is based on hearsay
19                                                                       (i.e., documents).

20                                                                       See Evidentiary Objections:
21                                                                       Mason Decl. Objections.
       111. Nesheiwat signed the                 SJ Ex. 3 (Mason         DISPUTED: There is no
22          membership application               Decl.) at ¶ 7; SJ       admissible evidence to
23          on behalf of Monster                 Ex. 18 (Glaze           support this assertion.
            Loans.                               Decl.) at ¶ 13; SJ
24                                               Ex. 18a (Glaze     Nesheiwat objects to and
25                                               Decl. Ex. 1)       moves to strike:
                                                 (membership
26                                               application) see      SJ Ex. 3 (Mason Decl.) at
27                                               also SJ Ex. 7      ¶ 7;
                                                 (Nesheiwat Dep.)
28
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                                                 at 71:11-14                SJ Ex. 18 (Glaze Decl.) at
1
                                                 (invoking Fifth         ¶ 13;
2                                                Amendment)                 SJ Ex. 18a (Glaze Decl.
3                                                                        Ex. 1) (membership
                                                                         application)
4
5                                                                        because they:

6                                                                           (a) lack foundation as to
7                                                                        authentication of
                                                                         Nesheiwat’s signature or
8                                                                        whether he completed the
9                                                                        application;
                                                                            (b) call for speculation;
10                                                                          (c) are irrelevant;
11                                                                          (d) are based on hearsay
                                                                         (i.e., documents);
12                                                                          (e) lack personal
13                                                                       knowledge, foundation;
                                                                            (f) are irrelevant as
14                                                                       speculative.
15
                                                                         See Evidentiary Objections:
16                                                                       Mason Decl. Objections and
17                                                                       Glaze Decl. Objections.

18                                                                          SJ Ex. 7 (Nesheiwat
19                                                                       Dep.) at 71:11-14

20                                                                       because it is:
21
                                                                           (a) irrelevant & prejudicial;
22                                                                         (b) violates Griffin.
23
                                                                         See Nesheiwat Dep.
24                                                                       Objections.
25     112. Nesheiwat certified in the           SJ Ex. 18 (Glaze        DISPUTED: There is no
            membership application               Decl.) at ¶ 13; SJ      admissible evidence to
26          that he would “use the               Ex. 18a (Glaze          support this assertion.
27          Experian product                     Decl. Ex. 1) at
            information for no other
28
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              purpose other than what is         CFPB-JN-                Nesheiwat objects to and
1
              stated on this application         0055518                 moves to strike:
2             and for the type of
3             business listed on this                                       SJ Ex. 18 (Glaze Decl.) at
              application.”                                              ¶ 13;
4                                                                           SJ Ex. 18a (Glaze Decl.
5                                                                        Ex. 1) at CFPB-JN-0055518

6                                                                        because they:
7
                                                                            (a) lack foundation as to
8                                                                        authentication of
9                                                                        Nesheiwat’s signature or
                                                                         whether he completed the
10                                                                       application;
11                                                                          (b) call for speculation;
                                                                            (c) is irrelevant;
12                                                                          (d) are based on hearsay
13                                                                       (i.e., documents);
                                                                            (e) lack personal
14                                                                       knowledge, foundation;
15                                                                          (f) are irrelevant as
                                                                         speculative.
16
17                                                                       See Evidentiary Objections:
                                                                         Glaze Decl. Objections.
18     113. Experian requires new                SJ Ex. 18 (Glaze
19          clients to certify that they         Decl.) at ¶ 8; SJ
            will comply with FCRA in             Ex. 19 (Marple
20          its Standard Terms and               Decl.) at ¶ 7
21          Conditions agreement and
            in other applicable
22          agreements, such as its
23          Prescreening Services
            Schedule.
24     114. Nesheiwat signed                     SJ Ex. 18 (Glaze        DISPUTED: There is no
25          Experian’s Standard                  Decl.) at ¶ 14; SJ      admissible evidence to
            Terms and Conditions                 Ex. 18b (Glaze          support this assertion.
26          agreement on behalf of               Decl. Ex. 2); see
27          Monster Loans.                       also SJ Ex. 7           Nesheiwat objects to and
                                                 (Nesheiwat Dep.)        moves to strike:
28
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                                                 at 71:21-72:9
1
                                                 (invoking Fifth            SJ Ex. 18 (Glaze Decl.) at
2                                                Amendment).             ¶ 14;
3                                                                           SJ Ex. 18b (Glaze Decl.
                                                                         Ex. 2)
4
5                                                                        because they:

6                                                                           (a) lack foundation as to
7                                                                        authentication of
                                                                         Nesheiwat’s signature or
8                                                                        whether he completed the
9                                                                        application;
                                                                            (b) call for speculation;
10                                                                          (c) are irrelevant;
11                                                                          (d) are based on hearsay
                                                                         (i.e., documents);
12                                                                          (e) lack personal
13                                                                       knowledge, foundation;
                                                                            (f) are irrelevant as
14                                                                       speculative.
15
                                                                         See Evidentiary Objections:
16                                                                       Mason Decl. Objections and
17                                                                       Glaze Decl. Objections.

18                                                                         SJ Ex. 7 (Nesheiwat
19                                                                       Dep.) at 71:21-72:9

20                                                                               because it is:
21
                                                                           (a) irrelevant & prejudicial;
22                                                                         (b) violates Griffin.
23
                                                                         See Nesheiwat Dep.
24                                                                       Objections.
25     115. Nesheiwat signed                     SJ Ex. 3 (Mason         DISPUTED: There is no
            Experian’s Prescreening              Decl.) at ¶ 7; SJ       admissible evidence to
26          Services Schedule                    Ex. 18 (Glaze           support this assertion.
27          agreement on behalf of               Decl.) at ¶ 15; SJ
            Monster Loans.                       Ex. 18b (Glaze
28
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                                                 Ex. 3; see also SJ      Nesheiwat objects to and
1
                                                 Ex. 7 (Nesheiwat        moves to strike:
2                                                Dep.) at 72:11-
3                                                72:15 (invoking            SJ Ex. 3 (Mason Decl.) at
                                                 Fifth                   ¶ 7;
4                                                Amendment)                 SJ Ex. 18 (Glaze Decl.) at
5                                                                        ¶ 15;
                                                                            SJ Ex. 18b (Glaze Ex. 3)
6
7                                                                        because they:

8                                                                           (a) lack foundation as to
9                                                                        authentication of
                                                                         Nesheiwat’s signature or
10                                                                       whether he completed the
11                                                                       application;
                                                                            (b) call for speculation;
12                                                                          (c) are irrelevant;
13                                                                          (d) are based on hearsay
                                                                         (i.e., documents);
14                                                                          (e) lack personal
15                                                                       knowledge, foundation;
                                                                            (f) are irrelevant as
16                                                                       speculative.
17
                                                                         See Evidentiary Objections:
18                                                                       Mason Decl. Objections and
19                                                                       Glaze Decl. Objections.

20                                                                         SJ Ex. 7 (Nesheiwat
21                                                                       Dep.) at 72:11-72:15

22                                                                       because it is:
23
                                                                           (a) irrelevant & prejudicial;
24                                                                         (b) violates Griffin.
25
                                                                         See Nesheiwat Dep.
26                                                                       Objections.
27     116. In the Prescreening                  SJ Ex. 18 (Glaze
            Services Schedule,                   Decl.) at ¶ 15; SJ
28
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            Monster Loans certified              Ex. 18c (Glaze
1
            that it would “extend a              Decl. Ex. 3) at
2           ‘firm offer of credit or             CFPB-JN-
3           insurance,’ as defined in            0055531
            the Fair Credit Reporting
4           Act, 15 U.S.C. 1681 et
5           seq. (“FCRA”) to every
            Consumer” whose name
6           appears on a prescreened
7           list or (if applicable)
            whose name appeared on
8           a final list produced after
9           additional processing of a
            prescreened list.
10     117. On or about August 10,               SJ Ex. 18 (Glaze
11          2015, Experian approved              Decl.) at ¶ 16
            Monster Loans’
12          application for an account
13          to purchase prescreened
            lists.
14     118. At the time, Nesheiwat               SJ Ex. 4 (Sklar         DISPUTED: There is no
15          intended to use the                  Decl.) at ¶¶ 30-        admissible evidence to
            Experian account to buy              32; SJ Ex. 4c           support this assertion.
16          prescreened lists for Docu           (Sklar Decl. Ex.
17          Prep Center to use to send           3); see also SJ         Nesheiwat objects to and
            its direct mail.                     Ex. 7 (Nesheiwat        moves to strike:
18                                               Dep.) at 70:14-
19                                               71:9, 75:4-76:25           SJ Ex. 4 (Sklar Decl.) at
                                                 (invoking Fifth         ¶¶ 30-32;
20                                               Amendment)                 SJ Ex. 4c (Sklar Decl. Ex.
21                                                                       3)
22                                                                       because they:
23
                                                                            (a) call for speculation;
24                                                                          (b) are speculative as to
25                                                                       time;
                                                                            (c) are irrelevant;
26                                                                          (d) are based on hearsay
27                                                                       (i.e., documents);
28
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                                                                           (e) lack personal
1
                                                                         knowledge, foundation;
2                                                                          (f) are irrelevant as
3                                                                        speculative.

4                                                                        See Evidentiary Objections:
5                                                                        Mason Decl. Objections and
                                                                         Glaze Decl. Objections.
6
7                                                                           SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 70:14-71:9, 75:4-
8                                                                        76:25
9
                                                                         because it is:
10
11                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
12
13                                                                       See Nesheiwat Dep.
                                                                         Objections.
14     119. Monster Loans began to               SJ Ex. 16
15          purchase prescreened lists           (Experian Rog.
            through the Experian                 Resp.); SJ Ex. 1
16          account in around                    (Hoose Decl.) at
17          December 2015.                       ¶ 41; SJ Ex. 5
                                                 (Van Loon Decl.)
18                                               at ¶ 14; SJ Ex. 54
19                                               (December 2015
                                                 email for
20                                               “DocuPrep
21                                               Order” using
                                                 “Experian data”);
22                                               see also SJ Ex. 5
23                                               (Van Loon Decl.)
                                                 at ¶¶ 22-25
24                                               (authenticating SJ
25                                               Ex. 54); SJ Ex.
                                                 26 (Ramirez-
26                                               Velazquez XPN
27                                               Decl.) at ¶¶ 6, 7
28
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       120. Monster Loans used its               SJ Ex. 1 (Hoose
1
            Experian account to obtain           Decl.) at ¶¶ 41-
2           prescreened lists for the            53, 103; SJ Exs.
3           SLDR Companies.                      1f, 1g, 1h, 1i, 1j
                                                 (Hoose Decl.
4                                                Exs. 6, 7, 9, 10,
5                                                11); SJ Ex. 4
                                                 (Sklar Decl.) at
6                                                ¶¶ 30-37, 67 and
7                                                Ex. 4, 5, 6; SJ Ex.
                                                 5 (Van Loon
8                                                Decl.) at ¶¶ 13-
9                                                15; SJ Ex. 6
                                                 (Sebreros Dep.)
10                                               at 130:25-131:14,
11                                               136:10-12; see
                                                 also SJ Ex. 7
12                                               (Nesheiwat Dep.)
13                                               at 75:4-75:16
                                                 (invoking Fifth
14                                               Amendment)
15     121. The prescreened lists that           SJ Ex. 1 (Hoose
            Monster Loans obtained               Decl.) at ¶¶ 41,
16          from Experian for the                43, 103; SJ Ex. 4
17          SLDR Companies                       (Sklar. Decl.) at
            included consumers’                  ¶¶ 30, 67; SJ Ex.
18          names, addresses, and                6 (Sebreros Dep.)
19          student loan balances.               at 130:25-131:14;
                                                 SJ Ex. 26
20                                               (Ramirez-
21                                               Velazquez XPN
                                                 Decl.) at ¶ 7; SJ
22                                               Ex. 26a
23                                               (Ramirez-
                                                 Velazquez XPN
24                                               Decl. Ex. 1); see
25                                               also SJ Ex. 7
                                                 (Nesheiwat Dep.)
26                                               at 74:11-75:16
27                                               (invoking Fifth
                                                 Amendment)
28
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       122. The SLDR Companies            SJ Ex. 1 (Hoose
1
            used the prescreened lists    Decl.) at ¶¶ 41-
2           to market their services      44, 103; SJ Ex. 1f
3           through direct mail.          (Hoose Decl. Ex.
                                          6); SJ Ex. 4
4                                         (Sklar Decl.) at
5                                         ¶¶ 30, 33, 36, 67
                                          & Ex. 6; SJ Ex. 5
6                                         (Van Loon Decl.)
7                                         at ¶ 13
       123.   The SLDR Companies did SJ Ex. 5 (Van
8             not offer or extend credit  Loon Decl.) at ¶
9             to consumers.               16; SJ Ex. 6
                                          (Sebreros Dep.)
10                                        at 39:11-20; SJ
11                                        Ex. 12 (Cowell
                                          IH) at 66:6-9,
12                                        256:1-3
13     124.   At times, Monster Loans     SJ Ex. 9
              also sold the prescreened   (Martinez Dep.)
14            lists to Eduardo Martinez. at 66:19-67:23;
15                                        SJ Ex. 11
                                          (Martinez IH) at
16                                        39:23-41:5,
17                                        41:23-43:23
       125.   Martinez used a company SJ Ex. 9
18            he controlled to resell the (Martinez Dep.)
19            prescreened lists to other  at 66:19-67:18;
              student loan debt relief    SJ Ex. 11
20            companies that were         (Martinez IH) at
21            affiliates of Docs Done     39:23-41:5.
              Right.
22     126.   Nesheiwat participated in SJ Ex. 11            DISPUTED: Ex. 129
23            those sales to Martinez.    (Martinez IH) at (Lepiscopo Decl. at ¶¶ 6 &
                                          41:23-43:23        7); Ex. 130 (Martinez CID at
24                                                           p. 153, l. 10 to p. 154, l. 12);
25                                                           Ex. 131 (Articles of
                                                             incorporation and certificate
26                                                           of limited partners for the
27                                                           Companies);
28
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                                                                          (Disputes that Nesheiwat
1
                                                                         was in control of any entities
2                                                                        as he did not form any of the
3                                                                        Companies and that
                                                                         Nesheiwat oversaw anything
4                                                                        as Robert Hoose was in
5                                                                        charge.)

6                                                                        Nesheiwat objects to and
7                                                                        moves to strike:

8                                                                            SJ Ex. 11 (Martinez IH)
9                                                                        at 41:23-43:23

10                                                                       because it:
11
                                                                            (a) is irrelevant, and vague
12                                                                       and ambiguous as to time;
13                                                                          (b) is based on hearsay
                                                                         (i.e., documents).
14
15                                                                       See Evidentiary Objections:
                                                                         Martinez IH Objections.
16
17     127. From around December                 SJ Ex. 5 (Van           DISPUTED: Ex. 129
            2015 until around April              Loon Decl.) at          (Lepiscopo Decl. at ¶¶ 6 &
18          2017, Nesheiwat oversaw              ¶¶ 14-15; SJ Ex.        7); Ex. 130 (Martinez CID at
19          purchases of prescreened             5a (Van Loon Ex.        p. 153, l. 10 to p. 154, l. 12);
            lists through Monster                1; SJ Ex. 1             Ex. 131 (Articles of
20          Loans’ Experian account.             (Hoose Decl.) at        incorporation and certificate
21                                               ¶¶ 42, 43, 49; SJ       of limited partners for the
                                                 Ex. 4 (Sklar            Companies); and the
22                                               Decl.) at ¶¶ 30-        following exhibits show that
23                                               34); SJ Ex. 4d          Nesheiwat did not order
                                                 (Sklar Decl. Ex.        prescreened lists from
24                                               4); see also            Experian but rather Max
25                                               Nesheiwat Dep.)         Chou, Bill Abdel, and
                                                 at 73:15-19             David Sklar worked with
26                                               (invoking Fifth         and directed Experian and
27                                               Amendment)              ordered pre-screened lists
                                                                         from Experian: Ex. 129
28
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                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
1
                                                                         and Exs. 132 through 140.
2
3                                                                        Nesheiwat objects to and
                                                                         moves to strike:
4
5                                                                        SJ Ex. 5 (Van Loon Decl.) at
                                                                         ¶¶ 14-15; SJ Ex. 5a (Van
6                                                                        Loon Ex. 1); SJ Ex. 1
7                                                                        (Hoose Decl.) at ¶¶ 42, 43,
                                                                         49; SJ Ex. 4 (Sklar Decl.) at
8                                                                        ¶¶ 30-34); SJ Ex. 4d (Sklar
9                                                                        Decl. Ex. 4)

10                                                                       because they:
11
                                                                            (a) are irrelevant, and
12                                                                       vague and ambiguous as to
13                                                                       time;
                                                                            (b) call for speculation;
14                                                                          (c) are irrelevant;
15                                                                          (d) are based on hearsay
                                                                         (i.e., documents);
16                                                                          (e) lack personal
17                                                                       knowledge, foundation;
                                                                            (f) are irrelevant as
18                                                                       speculative.
19
                                                                         See Evidentiary Objections:
20                                                                       Van Loon Decl. Objections;
21                                                                       Sklar Decl. Objections; and
                                                                         Hoose Decl. Objections.
22
23                                                                         SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 73:15-19
24
25                                                                       because it is:
26                                                                         (a) irrelevant & prejudicial;
27                                                                         (b) violates Griffin.
28
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                                                                         See Nesheiwat Dep.
1
                                                                         Objections.
2
       128. From around December                 SJ Ex. 5 (Van           DISPUTED: Ex. 129
3           2015 until around April              Loon Decl.) at          (Lepiscopo Decl. at ¶¶ 6 &
4           2017, Nesheiwat directed             ¶¶ 14, 15; SJ Ex.       7); Ex. 130 (Martinez CID at
            the efforts to obtain                5a (Van Loon Ex.        p. 153, l. 10 to p. 154, l. 12);
5           prescreened lists through            1; SJ Ex. 1             Ex. 131 (Articles of
6           the Experian account for             (Hoose Decl.) at        incorporation and certificate
            the SLDR Companies.                  ¶¶ 41-47, 49, 51,       of limited partners for the
7                                                103; SJ Ex. 4           Companies); and the
8                                                (Sklar Decl.) at        following exhibits show that
                                                 ¶¶ 33, 34; SJ Ex.       Nesheiwat did not order
9                                                54; SJ Ex. 55; SJ       prescreened lists from
10                                               Ex. 56; see also        Experian but rather Max
                                                 SJ Ex. 5 (Van           Chou, Bill Abdel, and
11                                               Loon Decl.) at ¶¶       David Sklar worked with
12                                               22-25, 27               and directed Experian and
                                                 (authenticating SJ      ordered pre-screened lists
13                                               Exs. 54, 55, 56);       from Experian: Ex. 129
14                                               SJ Ex. 7                (Lepiscopo Decl. at ¶¶ 8-16)
                                                 (Nesheiwat Dep.)        and Exs. 132 through 140.
15                                               at 76:13-77:24
16                                               (invoking Fifth         Nesheiwat objects to and
                                                 Amendment)              moves to strike:
17
18                                                                          SJ Ex. 5 (Van Loon
                                                                         Decl.) at ¶¶ 14, 15, 22-25,
19                                                                       27; SJ Ex. 5a (Van Loon Ex.
20                                                                       1; SJ Ex. 1 (Hoose Decl.) at
                                                                         ¶¶ 41-47, 49, 51, 103; SJ Ex.
21                                                                       4 (Sklar Decl.) at ¶¶ 33, 34;
22                                                                       SJ Ex. 54; SJ Ex. 55.
23                                                                       because they:
24
                                                                           (a) are irrelevant, and
25                                                                       vague and ambiguous as to
26                                                                       time;
                                                                           (b) call for speculation;
27                                                                         (c) are irrelevant;
28
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                                                                            (d) are based on hearsay
1
                                                                         (i.e., documents);
2                                                                           (e) lack personal
3                                                                        knowledge, foundation;
                                                                            (f) are irrelevant as
4                                                                        speculative.
5
                                                                         See Evidentiary Objections:
6                                                                        Van Loon Decl. Objections;
7                                                                        Sklar Decl. Objections; and
                                                                         Hoose Decl. Objections.
8
9                                                                          SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 76:13-77:24
10
11                                                                       because it is:

12                                                                         (a) irrelevant & prejudicial;
13                                                                         (b) violates Griffin.

14                                                                       See Nesheiwat Dep.
15                                                                       Objections.
       129. Nesheiwat was the                    SJ Ex. 5 (Van           DISPUTED: Ex. 129
16          “architect of the program            Loon Decl.) at          (Lepiscopo Decl. at ¶¶ 6 &
17          to provide the Experian              ¶ 14; see also SJ       7); Ex. 130 (Martinez CID at
            prescreened lists to the             Ex. 7 (Nesheiwat        p. 153, l. 10 to p. 154, l. 12);
18          [SLDR] Companies.”                   Dep.) at 76:13-         Ex. 131 (Articles of
19                                               77:24 (invoking         incorporation and certificate
                                                 Fifth                   of limited partners for the
20                                               Amendment)              Companies); and the
21                                                                       following exhibits show that
                                                                         Nesheiwat did not order
22                                                                       prescreened lists from
23                                                                       Experian but rather Max
                                                                         Chou, Bill Abdel, and
24                                                                       David Sklar worked with
25                                                                       and directed Experian and
                                                                         ordered pre-screened lists
26                                                                       from Experian: Ex. 129
27                                                                       (Lepiscopo Decl. at ¶¶ 8-16)
                                                                         and Exs. 132 through 140.
28
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1
                                                                         Nesheiwat objects to and
2                                                                        moves to strike:
3
                                                                         SJ Ex. 5 (Van Loon Decl.) at
4                                                                        ¶ 14.
5
                                                                         because it:
6
7                                                                           (a) is irrelevant, and vague
                                                                         and ambiguous as to time;
8                                                                           (b) calls for speculation;
9                                                                           (c) is irrelevant;
                                                                            (d) is based on hearsay
10                                                                       (i.e., documents);
11                                                                          (e) lacks personal
                                                                         knowledge, foundation;
12                                                                          (f) is irrelevant as
13                                                                       speculative.

14                                                                       See Evidentiary Objections:
15                                                                       Van Loon Decl. Objections.

16                                                                         SJ Ex. 7 (Nesheiwat
17                                                                       Dep.) at 76:13-77:24

18                                                                       because it is:
19
                                                                           (a) irrelevant & prejudicial;
20                                                                         (b) violates Griffin.
21
                                                                         See Nesheiwat Dep.
22                                                                       Objections.
23     130. Between January 11, 2016             SJ Ex. 26               DISPUTED: There is no
            and April 10, 2017,                  (Ramirez                admissible evidence to
24          Monster Loans ordered                Velazquez XPN           support this assertion.
25          prescreened lists                    Decl.) at ¶ 6; see
            containing prescreened               also Nesheiwat          Nesheiwat objects to and
26          consumer reports for                 Dep.) at 81:3-8         moves to strike:
27          6,789,777 consumers with             (invoking Fifth
            student loans.                       Amendment).
28
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                                                                           SJ Ex. 26 (Ramirez
1
                                                                         Velazquez XPN Decl.) at ¶ 6
2
3                                                                        because it:

4                                                                           (a) is irrelevant and
5                                                                        improper non-designated
                                                                         expert witness and expert
6                                                                        testimony;
7                                                                           (b) is irrelevant and
                                                                         improper opinion;
8                                                                           (c) is irrelevant;
9                                                                           (d) is based on hearsay
                                                                         (i.e., documents);
10                                                                          (e) lacks personal
11                                                                       knowledge, foundation.

12                                                                       See Evidentiary Objections:
13                                                                       Ramirez Velazquez XPN
                                                                         Decl. Objections.
14
15                                                                         SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 81:3-8
16
17                                                                       because it is:

18                                                                         (a) irrelevant & prejudicial;
19                                                                         (b) violates Griffin.

20                                                                       See Nesheiwat Dep.
21                                                                       Objections.

22     131. During most of 2016,                 SJ Ex. 1 (Hoose         DISPUTED: Ex. 129
23          Nesheiwat directed                   Decl.) at ¶¶ 43-        (Lepiscopo Decl. at ¶¶ 6 &
            Monster Loans’ marketing             44; SJ Ex. 4            7); Ex. 130 (Martinez CID at
24          manager Bill Abdel to use            (Sklar Decl.) at        p. 153, l. 10 to p. 154, l. 12);
25          the Experian account to              ¶¶ 33, 34; SJ Ex.       Ex. 131 (Articles of
            order prescreened lists for          4d (Sklar Decl.         incorporation and certificate
26          Docu Prep Center.                    Ex. 4); see also        of limited partners for the
27                                               SJ Ex. 1f (Hoose        Companies); and the
                                                 Decl. Ex. 6)            following exhibits show that
28                                               (Abdel email re         Nesheiwat did not order
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                                                 mailing using           prescreened lists from
1
                                                 Experian                Experian but rather Max
2                                                records); SJ Ex. 7      Chou, Bill Abdel, and
3                                                (Nesheiwat Dep.)        David Sklar worked with
                                                 at 77:8-12              and directed Experian and
4                                                (invoking Fifth         ordered pre-screened lists
5                                                Amendment)              from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
6                                                                        and Exs. 132 through 140.
7
                                                                         Nesheiwat objects to and
8                                                                        moves to strike:
9
                                                                            SJ Ex. 1 (Hoose Decl.) at
10                                                                       ¶¶ 43-44; SJ Ex. 4 (Sklar
11                                                                       Decl.) at ¶¶ 33, 34; SJ Ex. 4d
                                                                         (Sklar Decl. Ex. 4);
12                                                                          SJ Ex. 1f (Hoose Decl.
13                                                                       Ex. 6)

14                                                                       because they:
15
                                                                            (a) are irrelevant, and
16                                                                       vague and ambiguous as to
17                                                                       time;
                                                                            (b) call for speculation;
18                                                                          (c) are irrelevant;
19                                                                          (d) are based on hearsay
                                                                         (i.e., documents);
20                                                                          (e) lack personal
21                                                                       knowledge, foundation;
                                                                            (f) are irrelevant as
22                                                                       speculative.
23
                                                                         See Evidentiary Objections:
24                                                                       Sklar Decl. Objections; and
25                                                                       Hoose Decl. Objections.
26                                                                         SJ Ex. 7 (Nesheiwat
27                                                                       Dep.) at 77:8-12.
28
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                                                                         because it is:
1
2                                                                          (a) irrelevant & prejudicial;
3                                                                          (b) violates Griffin.

4                                                                   See Nesheiwat Dep.
5                                                                   Objections.
       132. In around September                  SJ Ex. 1 (Hoose    DISPUTED: Ex. 129
6           2016, Nesheiwat directed             Decl.) at ¶¶ 49-   (Lepiscopo Decl. at ¶¶ 6 &
7           Max Chou to take over                50; SJ Ex. 1h      7); Ex. 130 (Martinez CID at
            using the Monster Loans              (Hoose Decl. Ex. p. 153, l. 10 to p. 154, l. 12);
8           Experian account for                 9); SJ Ex. 4       Ex. 131 (Articles of
9           ordering prescreened lists           (Sklar Decl.) at ¶ incorporation and certificate
            for the SLDR Companies.              33; see also SJ    of limited partners for the
10                                               Ex. 7 (Nesheiwat Companies); and the
11                                               Dep.) at 77:14-18 following exhibits show that
                                                 (invoking Fifth    Nesheiwat did not order
12                                               Amendment)         prescreened lists from
13                                                                  Experian but rather Max
                                                                    Chou, Bill Abdel, and
14                                                                  David Sklar worked with
15                                                                  and directed Experian and
                                                                    ordered pre-screened lists
16                                                                  from Experian: Ex. 129
17                                                                  (Lepiscopo Decl. at ¶¶ 8-16)
                                                                    and Exs. 132 through 140.
18
19                                                                       Nesheiwat objects to and
                                                                         moves to strike:
20
21                                                                          SJ Ex. 1 (Hoose Decl.) at
                                                                         ¶¶ 49-50; SJ Ex. 1h (Hoose
22                                                                       Decl. Ex. 9); SJ Ex. 4 (Sklar
23                                                                       Decl.) at ¶ 33;
24                                                                       because they:
25
                                                                           (a) are irrelevant, and
26                                                                       vague and ambiguous as to
27                                                                       time;
                                                                           (b) call for speculation;
28
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                                                                            (c) are irrelevant;
1
                                                                            (d) are based on hearsay
2                                                                        (i.e., documents);
3                                                                           (e) lack personal
                                                                         knowledge, foundation;
4                                                                           (f) are irrelevant as
5                                                                        speculative.

6                                                                        See Evidentiary Objections:
7                                                                        Sklar Decl. Objections; and
                                                                         Hoose Decl. Objections.
8
9                                                                          SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 77:14-18
10
11                                                                       because it is:

12                                                                         (a) irrelevant & prejudicial;
13                                                                         (b) violates Griffin.

14                                                                       See Nesheiwat Dep.
15                                                                       Objections.
       133. At the time, Max Chou                SJ Ex. 56; SJ Ex.
16          was not an employee of               (Hoose Decl.) at
17          Monster Loans.                       ¶ 49; see also SJ
                                                 Ex. 5 (Van Loon
18                                               Decl.) at ¶¶ 22-
19                                               25, 27
                                                 (authenticating SJ
20                                               Ex. 56); SJ Ex. 7
21                                               (Nesheiwat Dep.)
                                                 at 79:5-8
22                                               (invoking Fifth
23                                               Amendment)
       134. At that time, Max Chou               SJ Ex. 56; SJ Ex.
24          worked for a debt-relief             1 (Hoose Decl.)
25          company called Monster               at ¶ 49; see also
            Tax Relief.                          SJ Ex. 5 (Van
26                                               Loon Decl.) at ¶¶
27                                               22-25, 27
28
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                                                 (authenticating SJ
1
                                                 Ex. 56)
2
       135. Nesheiwat directed Max               SJ Ex. 56; see          DISPUTED: Ex. 129
3           Chou to create a “generic”           also SJ Ex. 5           (Lepiscopo Decl. at ¶¶ 6 &
4           Monster Loans email                  (Van Loon Decl.)        7); Ex. 130 (Martinez CID at
            account to use when                  at ¶¶ 22-25, 27         p. 153, l. 10 to p. 154, l. 12);
5           communicating with                   (authenticating SJ      Ex. 131 (Articles of
6           Experian.                            Ex. 56);                incorporation and certificate
                                                 Nesheiwat Dep.)         of limited partners for the
7                                                at 79:10-20             Companies); and the
8                                                (invoking Fifth         following exhibits show that
                                                 Amendment)              Nesheiwat did not order
9                                                                        prescreened lists from
10                                                                       Experian but rather Max
                                                                         Chou, Bill Abdel, and
11                                                                       David Sklar worked with
12                                                                       and directed Experian and
                                                                         ordered pre-screened lists
13                                                                       from Experian: Ex. 129
14                                                                       (Lepiscopo Decl. at ¶¶ 8-16)
                                                                         and Exs. 132 through 140.
15
16                                                                       Nesheiwat objects to and
                                                                         moves to strike:
17
18                                                                         SJ Ex. 56;
                                                                           SJ Ex. 5 (Van Loon
19                                                                       Decl.) at ¶¶ 22-25, 27
20
                                                                         because they:
21
22                                                                          (a) are irrelevant, and
                                                                         vague and ambiguous as to
23                                                                       time;
24                                                                          (b) call for speculation;
                                                                            (c) are irrelevant;
25                                                                          (d) are based on hearsay
26                                                                       (i.e., documents);
                                                                            (e) lack personal
27                                                                       knowledge, foundation;
28
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                                                     67
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                                                                           (f) are irrelevant as
1
                                                                         speculative.
2
3                                                                        See Evidentiary Objections:
                                                                         Ex. 5 Objection and Van
4                                                                        Loon Decl. Objections.
5
                                                                           SJ Ex. 7 (Nesheiwat
6                                                                        Dep.) at 79:10-20
7
                                                                         because it is:
8
9                                                                          (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
10
11                                                                       See Nesheiwat Dep.
                                                                         Objections.
12     136. Nesheiwat directed Abdel             SJ Ex. 4 (Sklar         DISPUTED: Ex. 129
13          and Chou to send the                 Decl.) at ¶¶ 27,        (Lepiscopo Decl. at ¶¶ 6 &
            prescreened lists to the             33; SJ Ex. 1            7); Ex. 130 (Martinez CID at
14          mailing house that the               (Hoose Decl.) at        p. 153, l. 10 to p. 154, l. 12);
15          SLDR Companies used.                 ¶¶ 43-44                Ex. 131 (Articles of
                                                                         incorporation and certificate
16                                                                       of limited partners for the
17                                                                       Companies); and the
                                                                         following exhibits show that
18                                                                       Nesheiwat did not order
19                                                                       prescreened lists from
                                                                         Experian but rather Max
20                                                                       Chou, Bill Abdel, and
21                                                                       David Sklar worked with
                                                                         and directed Experian and
22                                                                       ordered pre-screened lists
23                                                                       from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
24                                                                       and Exs. 132 through 140.
25
                                                                         Nesheiwat objects to and
26                                                                       moves to strike:
27
28
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                                                                            SJ Ex. 4 (Sklar Decl.) at
1
                                                                         ¶¶ 27, 33;
2                                                                           SJ Ex. 1 (Hoose Decl.) at
3                                                                        ¶¶ 43-44

4                                                                        because they:
5
                                                                            (a) are irrelevant, and
6                                                                        vague and ambiguous as to
7                                                                        time;
                                                                            (b) call for speculation;
8                                                                           (c) are irrelevant;
9                                                                           (d) are based on hearsay
                                                                         (i.e., documents);
10                                                                          (e) lack personal
11                                                                       knowledge, foundation;
                                                                            (f) are irrelevant as
12                                                                       speculative.
13
                                                          See Evidentiary Objections:
14                                                        Sklar Decl. Objections; and
15                                                        Hoose Decl. Objections.
       137. To reduce expenses and     SJ Ex. 1 (Hoose    DISPUTED: Ex. 129
16          benefit Docu Prep Center, Decl.) at ¶¶ 45-    (Lepiscopo Decl. at ¶¶ 6 &
17          Nesheiwat negotiated with 47; SJ Ex. 1g       7); Ex. 130 (Martinez CID at
            Experian to obtain lower   (Hoose Decl. Ex. p. 153, l. 10 to p. 154, l. 12);
18          prices for the prescreened 7); SJ Ex. 4       Ex. 131 (Articles of
19          lists purchased through    (Sklar Decl.) at   incorporation and certificate
            Monster Loans’ Experian ¶¶ 35-36; SJ Ex. of limited partners for the
20          account.                   4e (Sklar Decl.    Companies); and the
21                                     Ex. 5; see also    following exhibits show that
                                       Nesheiwat Dep.) Nesheiwat did not order
22                                     at 80:9-19         prescreened lists from
23                                     (invoking Fifth    Experian but rather Max
                                       Amendment); SJ Chou, Bill Abdel, and
24                                     Ex. 57; see also   David Sklar worked with
25                                     SJ Ex. 5 (Van      and directed Experian and
                                       Loon Decl.) at ¶¶ ordered pre-screened lists
26                                     22-25, 27          from Experian: Ex. 129
27                                     (authenticating SJ (Lepiscopo Decl. at ¶¶ 8-16)
                                       Ex. 57);           and Exs. 132 through 140.
28
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1
                                                                         Nesheiwat objects to and
2                                                                        moves to strike:
3
                                                                         SJ Ex. 1 (Hoose Decl.) at ¶¶
4                                                                        45-47; SJ Ex. 1g (Hoose
5                                                                        Decl. Ex. 7); SJ Ex. 4 (Sklar
                                                                         Decl.) at ¶¶ 35-36; SJ Ex. 4e
6                                                                        (Sklar Decl. Ex. 5) SJ Ex.
7                                                                        57; SJ Ex. 5 (Van Loon
                                                                         Decl.) at ¶¶ 22-25, 27.
8
9                                                                        because they:

10                                                                          (a) are irrelevant, and
11                                                                       vague and ambiguous as to
                                                                         time;
12                                                                          (b) call for speculation;
13                                                                          (c) are irrelevant;
                                                                            (d) are based on hearsay
14                                                                       (i.e., documents);
15                                                                          (e) lack personal
                                                                         knowledge, foundation;
16                                                                          (f) are irrelevant as
17                                                                       speculative.

18                                                                       See Evidentiary Objections:
19                                                                       Sklar Decl. Objections;
                                                                         Hoose Decl. Objections;
20                                                                       Van Loon Decl. Objections.
21
                                                                           SJ Ex. 7 (Nesheiwat
22                                                                       Dep.) at 80:9-19
23
                                                                         because it is:
24
25                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
26
27                                                                       See Nesheiwat Dep.
                                                                         Objections.
28
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       138. At times, the SLDR                   SJ Ex. 1 (Hoose
1
            Companies used the                   Decl.) at ¶ 40; SJ
2           consumer information                 Ex. 6 (Sebreros
3           contained in the                     Dep.) at 154:20-
            prescreened lists to send            155:12
4           more than one direct mail
5           solicitation to the same
            consumer.
6      139. In 2016, Monster Loans               SJ Ex. 1 (Hoose
7           received complaints from             Decl.) at ¶ 53; SJ
            consumers whose                      Ex. 1a (Hoose
8           information was in the               Decl. Ex. 11) at ¶
9           prescreened lists that               53.
            Monster Loans ordered for
10          the SLDR Companies.
11     140. Between June 2015 and                SJ Ex. 18 (Glaze        DISPUTED: Ex. 129
            August 2017, those                   Decl.) at ¶¶ 10,        (Lepiscopo Decl. at ¶¶ 6 &
12          associated with Monster              17.                     7); Ex. 130 (Martinez CID at
13          Loans, including                                             p. 153, l. 10 to p. 154, l. 12);
            Nesheiwat, consistently                                      Ex. 131 (Articles of
14          represented to Experian                                      incorporation and certificate
15          that Monster Loans was                                       of limited partners for the
            purchasing prescreened                                       Companies); and the
16          lists to make firm offers of                                 following exhibits show that
17          credit to potential                                          Nesheiwat did not order
            mortgage customers.                                          prescreened lists from
18                                                                       Experian but rather Max
19                                                                       Chou, Bill Abdel, and
                                                                         David Sklar worked with
20                                                                       and directed Experian and
21                                                                       ordered pre-screened lists
                                                                         from Experian: Ex. 129
22                                                                       (Lepiscopo Decl. at ¶¶ 8-16)
23                                                                       and Exs. 132 through 140.
24                                                                       Nesheiwat objects to and
25                                                                       moves to strike:
26                                                                          SJ Ex. 18 (Glaze Decl.) at
27                                                                       ¶¶ 10, 17.
28
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                                                                         because it:
1
2                                                                           (a) is vague and
3                                                                        ambiguous as to time;
                                                                            (b) is irrelevant;
4                                                                           (c) is based on hearsay
5                                                                        (i.e., documents);
                                                                            (d) lacks personal
6                                                                        knowledge, foundation.
7
                                                         See Evidentiary Objections:
8                                                        Glaze Decl. Objections.
9      141. No one associated with     SJ Ex. 18 (Glaze DISPUTED: Ex. 129
            Monster Loans, including Decl.) at ¶ 18; see (Lepiscopo Decl. at ¶¶ 6 &
10          Nesheiwat, ever disclosed also SJ Ex. 7      7); Ex. 130 (Martinez CID at
11          to Experian that Monster   (Nesheiwat Dep.) p. 153, l. 10 to p. 154, l. 12);
            Loans intended to use or   at 81:10-14       Ex. 131 (Articles of
12          was using the prescreened (invoking Fifth    incorporation and certificate
13          lists it purchased for any Amendment).       of limited partners for the
            purpose other than making                    Companies); and the
14          a firm offer of credit to                    following exhibits show that
15          potential mortgage                           Nesheiwat did not order
            customers.                                   prescreened lists from
16                                                       Experian but rather Max
17                                                       Chou, Bill Abdel, and
                                                         David Sklar worked with
18                                                       and directed Experian and
19                                                       ordered pre-screened lists
                                                         from Experian: Ex. 129
20                                                       (Lepiscopo Decl. at ¶¶ 8-16)
21                                                       and Exs. 132 through 140.
22                                                                       Nesheiwat objects to and
23                                                                       moves to strike:
24                                                                          SJ Ex. 18 (Glaze Dec.) at
25                                                                       ¶ 18
                                                                         because it:
26
27                                                                        (a) is vague and
                                                                         ambiguous as to time;
28
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                                                                            (b) is irrelevant;
1
                                                                            (c) is based on hearsay
2                                                                        (i.e., documents);
3                                                                           (d) lacks personal
                                                                         knowledge, foundation.
4
                                                                         See Evidentiary Objections:
5
                                                                         Glaze Decl. Objections.
6
                                                                           SJ Ex. 7 (Nesheiwat
7
                                                                         Dep.) at 81:10-14
8
                                                                         because it is:
9
10                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
11
12                                                                       See Nesheiwat Dep.
                                                                         Objections.
13
14     142. No one associated with               SJ Ex. 18 (Glaze        DISPUTED: Ex. 129
            Monster Loans, including             Decl.) at ¶ 18; see     (Lepiscopo Decl. at ¶¶ 6 &
15          Nesheiwat, ever disclosed            also SJ Ex. 7           7); Ex. 130 (Martinez CID at
16          to Experian that Monster             (Nesheiwat Dep.)        p. 153, l. 10 to p. 154, l. 12);
            Loans intended to provide            at 81:10-14             Ex. 131 (Articles of
17
            or was providing                     (invoking Fifth         incorporation and certificate
18          prescreened lists to other           Amendment).             of limited partners for the
            companies offering debt                                      Companies); and the
19
            relief services.                                             following exhibits show that
20                                                                       Nesheiwat did not order
                                                                         prescreened lists from
21
                                                                         Experian but rather Max
22                                                                       Chou, Bill Abdel, and
                                                                         David Sklar worked with
23
                                                                         and directed Experian and
24                                                                       ordered pre-screened lists
                                                                         from Experian: Ex. 129
25
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
26                                                                       and Exs. 132 through 140.
27
                                                                         Nesheiwat objects to and
28                                                                       moves to strike:
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1
                                                                            SJ Ex. 18 (Glaze Decl.) at
2                                                                        ¶ 18
3                                                                        because it:

4                                                                           (a) is vague and
5                                                                        ambiguous as to time;
                                                                            (b) is irrelevant;
6                                                                           (c) is based on hearsay
7                                                                        (i.e., documents);
                                                                            (d) lacks personal
8                                                                        knowledge, foundation.
9
                                                                         See Evidentiary Objections:
10                                                                       Glaze Decl. Objections.
11
                                                                           SJ Ex. 7 (Nesheiwat
12                                                                       Dep.) at 81:10-14
13
                                                                         because it is:
14
                                                                           (a) irrelevant & prejudicial;
15
                                                                           (b) violates Griffin.
16
                                                                         See Nesheiwat Dep.
17
                                                                         Objections.
18     143. In around May 2017,         SJ Ex. 10 (Van
19          Monster Loans stopped       Loon IH) at 62:4-
            using its Experian account  23, 69:16-70:11;
20          to buy prescreened lists    see also SJ Ex. 1a
21          for the SLDR Companies      (Hoose Decl. Ex.
            because of concerns about   11) (Oct. 2016
22          violating FCRA              email discussing
23                                      “freqent
                                        complaints …
24                                      now w written
25                                      threat of
                                        lawsuits”)
26     144. In a series of emails in    SJ Ex. 59; SJ Ex. DISPUTED: Ex. 129
27          May 2017, Nesheiwat         5 (Van Loon        (Lepiscopo Decl. at ¶¶ 6 &
            discussed using a different Decl.) at ¶¶ 22-26 7); Ex. 130 (Martinez CID at
28
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              mortgage company to                (authenticating SJ      p. 153, l. 10 to p. 154, l. 12);
1
              obtain Experian                    Ex. 59); SJ Ex.         Ex. 131 (Articles of
2             prescreened lists for the          14 (Nesheiwat           incorporation and certificate
3             SLDR Companies.                    RFA Resp. No.           of limited partners for the
                                                 16) at 27               Companies); and the
4                                                (invoking Fifth         following exhibits show that
5                                                Amendment               Nesheiwat did not order
                                                 regarding email)        prescreened lists from
6                                                                        Experian but rather Max
7                                                                        Chou, Bill Abdel, and
                                                                         David Sklar worked with
8                                                                        and directed Experian and
9                                                                        ordered pre-screened lists
                                                                         from Experian: Ex. 129
10                                                                       (Lepiscopo Decl. at ¶¶ 8-16)
11                                                                       and Exs. 132 through 140.

12                                                                       Nesheiwat objects to and
13                                                                       moves to strike:

14                                                                         SJ Ex. 59;
15                                                                         SJ Ex. 5 (Van Loon
                                                                         Decl.) at ¶¶ 22-26
16
17                                                                       because they:

18                                                                          (a) are vague and
19                                                                       ambiguous as to time;
                                                                            (b) are irrelevant;
20                                                                          (c) are based on hearsay
21                                                                       (i.e., documents);
                                                                            (d) lack personal
22                                                                       knowledge, foundation.
23                                                                          See Evidentiary
                                                                         Objections: Ex. 59
24                                                                       Objections and Van Loon
25                                                                       Decl. Objections.
26                                                                         SJ Ex. 14 (Nesheiwat
27                                                                       RFA Resp. No. 16) at 27
28
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                                                                         because it is:
1
2                                                                          (a) irrelevant & prejudicial;
3                                                                          (b) violates Griffin.

4                                                          See Nesheiwat RFA
5                                                          Objections.
       145. In a May 10, 2017 email     SJ Ex. 59; see     DISPUTED: Ex. 129
6           to Thomas Chou,             also SJ Ex. 5      (Lepiscopo Decl. at ¶¶ 6 &
7           Nesheiwat described his     (Van Loon Decl.) 7); Ex. 130 (Martinez CID at
            efforts to find a “physical at ¶¶ 22-26        p. 153, l. 10 to p. 154, l. 12);
8           commercial space” for a     (authenticating SJ Ex. 131 (Articles of
9           mortgage company and        Ex. 59); SJ Ex.    incorporation and certificate
            said that “[t]he good news 14 (Nesheiwat       of limited partners for the
10          is we are less than 30 days RFA Resp. No.      Companies); and the
11          away from buying data”      16) at 27          following exhibits show that
            from Experian.              (invoking Fifth    Nesheiwat did not order
12                                      Amendment          prescreened lists from
13                                      regarding email) Experian but rather Max
                                                           Chou, Bill Abdel, and
14                                                         David Sklar worked with
15                                                         and directed Experian and
                                                           ordered pre-screened lists
16                                                         from Experian: Ex. 129
17                                                         (Lepiscopo Decl. at ¶¶ 8-16)
                                                           and Exs. 132 through 140.
18
19                                                                       Nesheiwat objects to and
                                                                         moves to strike:
20
21                                                                         SJ Ex. 59;
                                                                           SJ Ex. 5 (Van Loon
22                                                                       Decl.) at ¶¶ 22-26
23
                                                                         because they:
24
25                                                                          (a) are multiple hearsay;
                                                                            (b) are irrelevant;
26                                                                          (c) are based on hearsay
27                                                                       (i.e., documents);
28
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                                                                          (d) lack personal
1
                                                                         knowledge, foundation.
2
3                                                                         See Evidentiary
                                                                         Objections: Ex. 59
4                                                                        Objections and Van Loon
5                                                                        Decl. Objections.

6                                                                          SJ Ex. 14 (Nesheiwat
7                                                                        RFA Resp. No. 16) at 27

8                                                                        because it is:
9
                                                                           (a) irrelevant & prejudicial;
10                                                                         (b) violates Griffin.
11
                                                           See Nesheiwat RFA
12                                                         Objections.
13     146. In a subsequent email to    SJ Ex. 59; see     DISPUTED: Ex. 129
            Thomas Chou on May 10, also SJ Ex. 5           (Lepiscopo Decl. at ¶¶ 6 &
14          2017, Nesheiwat wrote       (Van Loon Decl.) 7); Ex. 130 (Martinez CID at
15          that Experian “ask[s] a ton at ¶¶ 22-26        p. 153, l. 10 to p. 154, l. 12);
            of questions!”              (authenticating SJ Ex. 131 (Articles of
16                                      Ex. 59); SJ Ex.    incorporation and certificate
17                                      14 (Nesheiwat      of limited partners for the
                                        RFA Resp. No.      Companies); and the
18                                      16) at 27          following exhibits show that
19                                      (invoking Fifth    Nesheiwat did not order
                                        Amendment          prescreened lists from
20                                      regarding email) Experian but rather Max
21                                                         Chou, Bill Abdel, and
                                                           David Sklar worked with
22                                                         and directed Experian and
23                                                         ordered pre-screened lists
                                                           from Experian: Ex. 129
24                                                         (Lepiscopo Decl. at ¶¶ 8-16)
25                                                         and Exs. 132 through 140.
26                                                                       Nesheiwat objects to and
27                                                                       moves to strike:
28
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                                                                           SJ Ex. 59;
1
                                                                           SJ Ex. 5 (Van Loon
2                                                                        Decl.) at ¶¶ 22-26
3
                                                                         because they:
4
5                                                                           (a) are multiple hearsay;
                                                                            (b) are irrelevant;
6                                                                           (c) are based on hearsay
7                                                                        (i.e., documents);
                                                                            (d) lack personal
8                                                                        knowledge, foundation.
9
                                                                          See Evidentiary
10                                                                       Objections: Ex. 59
11                                                                       Objections and Van Loon
                                                                         Decl. Objections.
12
13                                                                         SJ Ex. 14 (Nesheiwat
                                                                         RFA Resp. No. 16) at 27
14
15                                                                       because it is:

16                                                                         (a) irrelevant & prejudicial;
17                                                                         (b) violates Griffin.

18                                                                  See Nesheiwat RFA
19                                                                  Objections.
       147. In an email to Thomas                SJ Ex. 59; see     DISPUTED: Ex. 129
20          Chou on May 11, 2017,                also SJ Ex. 5      (Lepiscopo Decl. at ¶¶ 6 &
21          Nesheiwat wrote:                     (Van Loon Decl.) 7); Ex. 130 (Martinez CID at
            “Experian or any other               at ¶¶ 22-26        p. 153, l. 10 to p. 154, l. 12);
22          bureau will require a                (authenticating SJ Ex. 131 (Articles of
23          permanent commercial                 Ex. 59); SJ Ex.    incorporation and certificate
            location where they will             14 (Nesheiwat      of limited partners for the
24          need to pass an initial              RFA Resp. No.      Companies); and the
25          inspection and possibly              16 (invoking       following exhibits show that
            annual. Understanding                Fifth Amendment Nesheiwat did not order
26          how easy it is to put                regarding email) prescreened lists from
27          together any office space                               Experian but rather Max
            and call it ‘ladera ranch                               Chou, Bill Abdel, and
28
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              home loans’ I need to                                      David Sklar worked with
1
              have a story behind it to                                  and directed Experian and
2             make sense for the volume                                  ordered pre-screened lists
3             of data. Its very important                                from Experian: Ex. 129
              to me personally with the                                  (Lepiscopo Decl. at ¶¶ 8-16)
4             risk involved to cover my                                  and Exs. 132 through 140.
5             butt. I would feel best
              building the story of                                      Nesheiwat objects to and
6             ladera ranch home loans                                    moves to strike:
7             and providing data as
              needed to our businesses                                     SJ Ex. 59;
8             and keep it separate in                                      SJ Ex. 5 (Van Loon
9             every way possible.”                                       Decl.) at ¶¶ 22-26

10                                                                       because they:
11
                                                                            (a) are multiple hearsay;
12                                                                          (b) are irrelevant;
13                                                                          (c) are based on hearsay
                                                                         (i.e., documents);
14                                                                          (d) lack personal
15                                                                       knowledge, foundation.

16                                                                        See Evidentiary
17                                                                       Objections: Ex. 59
                                                                         Objections and Van Loon
18                                                                       Decl. Objections.
19
                                                                           SJ Ex. 14 (Nesheiwat
20                                                                       RFA Resp. No. 16)
21
                                                                         because it is:
22
23                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
24
25                                                                       See Nesheiwat RFA
                                                                         Objections.
26     148. Between 2015 and 2018,               SJ Ex. 5 (Van
27          Thomas Chou was the                  Loon Decl.) at ¶
            owner of Monster Loans.              7
28
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       149. Between 2015 and 2018,               SJ Ex. 5 (Van
1
            Chou was a limited                   Loon Decl.) at
2           partner in the SLDR                  ¶ 4; SJ Ex. 1
3           Companies.                           (Hoose Decl.) at
                                                 ¶¶ 80, 98
4      150. Lend Tech was created in             SJ Ex. 6
5           June 2017 to provide a               (Sebreros Dep.)
            new source of Experian               at 22:21-23:8,
6           prescreened lists for the            144:17-145:2,
7           SLDR Companies.                      146:22-147:10,
                                                 148:8-12; SJ Ex.
8                                                46 at 14 (LT Art.
9                                                of Inc.); see also
                                                 SJ Ex. 7
10                                               (Nesheiwat Dep.)
11                                               at 88:13-17
                                                 (invoking Fifth
12                                               Amendment)
13     151. Lend Tech was registered             SJ Ex. 46 at 14
            by Sean Cowell with the              (LT Art. of Inc.)
14          California Secretary of
15          State.
       152. Between 2015 and 2018,      SJ Ex. 5 (Van
16          Cowell was a limited        Loon Decl.) at
17          partner in the SLDR         ¶ 4; SJ Ex. 1
            Companies.                  (Hoose Decl.) at
18                                      ¶¶ 80, 98
19     153. Lend Tech told Experian     SJ Ex. 19
            that it would use           (Marple Decl.) at
20          prescreened lists to extend ¶¶ 10-11; SJ Ex.
21          firm offers of credit to    19a (Marple
            potential mortgage          Decl. Ex. 1).
22          customers.
23     154. During 2016 and 2017,       SJ Ex. 6
            Frank Anthony Sebreros      (Sebreros Dep.)
24          (“Sebreros”) was the        at 13:12-14:7
25          manager of Assure Direct
            Services.
26
       155. Nesheiwat and other         SJ Ex. 6                         DISPUTED: Ex. 129
27          limited partners in the     (Sebreros Dep.)                  (Lepiscopo Decl. at ¶¶ 6 &
            SLDR Companies              at 22:21-23:8,                   7); Ex. 130 (Martinez CID at
28
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              instructed Sebreros to use         144:17-145:7,           p. 153, l. 10 to p. 154, l. 12);
1
              Lend Tech to “obtain an            146:22-147:14,          Ex. 131 (Articles of
2             Experian license so the            147:22-148:12;          incorporation and certificate
3             student loan locations             see also SJ Ex. 7       of limited partners for the
              could survive … and pull           (Nesheiwat Dep.)        Companies); and the
4             leads.”                            at 88:19-89:8           following exhibits show that
5                                                (invoking Fifth         Nesheiwat did not order
                                                 Amendment).             prescreened lists from
6                                                                        Experian but rather Max
7                                                                        Chou, Bill Abdel, and
                                                                         David Sklar worked with
8                                                                        and directed Experian and
9                                                                        ordered pre-screened lists
                                                                         from Experian: Ex. 129
10                                                                       (Lepiscopo Decl. at ¶¶ 8-16)
11                                                                       and Exs. 132 through 140.

12                                                                       Nesheiwat objects to and
13                                                                       moves to strike:

14                                                                           SJ Ex. 6 (Sebreros Dep.)
15                                                                       at 22:21-23:8, 144:17-145:7,
                                                                         146:22-147:14, 147:22-
16                                                                       148:12
17
                                                                         because they:
18
19                                                                          (a) are multiple hearsay;
                                                                            (b) are irrelevant;
20                                                                          (c) are based on hearsay
21                                                                       (i.e., documents);
                                                                            (d) lack personal
22                                                                       knowledge, foundation.
23
                                                                          See Evidentiary
24                                                                       Objections: Sebreros Decl.
25                                                                       Objections.
26                                                                           SJ Ex. 7 at 88:19-89:8
27
                                                                         because it is:
28
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1
                                                                           (a) irrelevant & prejudicial;
2                                                                          (b) violates Griffin.
3
                                                                         See Nesheiwat Dep.
4                                                                        Objections.
5      156. Lend Tech has never        SJ Ex. 9
            brokered or originated any (Martinez Dep.)
6           mortgage loans.            at 64:20-65:2,
7                                      93:20-94:10; SJ
                                       Ex. 6 (Sebreros
8                                      Dep.) 147:15-21;
9                                      SJ Ex. 15 (Lend
                                       Tech Rog Resp.
10                                     Nos. 3 & 4).
11     157. Sebreros testified that    SJ Ex. 6
            Lend Tech “wasn’t a real (Sebreros Dep.)
12          company.”                  at 149:11-13 see
13                                     also SJ Ex. 11
                                       (Martinez IH) at
14                                     233:8-234:2.
15     158. Between August and         SJ Ex. 26
            October 2017, Lend Tech (Ramirez-
16          purchased from Experian Velazquez XPN
17          prescreened lists          Decl.) at ¶ 6
            containing prescreened
18          consumer reports for
19          1,503,964 consumers.
       159. Lend Tech provided the     SJ Ex. 6
20          prescreened lists to the   (Sebreros Dep.)
21          SLDR Companies for use at 146:22-147:10,
            in the SLDR Companies’ 162:24-163:5; see
22          marketing.                 also SJ Ex. 7
23                                     (Nesheiwat Dep.)
                                       at 88:19-89:8
24                                     (invoking Fifth
25                                     Amendment)
26
27
28
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1
       V.    The SLDR Companies Made False Promises to Consumers About the
2            Benefits of Their Services in Marketing Materials and Sales Calls
3
4            A.      The SLDR Companies Falsely Promised that Consumers Would
                     Receive Lower Interest Rates By Consolidating
5
6      160. During 2015, Docu Prep               SJ Ex. 1a (Hoose
            Center’s Solicitation                Decl. Ex. 1) at 4-
7           Letters listed a “Lower              6; SJ Ex. 1
8           Interest Rate” as a benefit          (Hoose Decl.) at
            of the company’s “Student            ¶¶ 32, 34-35
9           Loan Consolidation &
10          Payment Reduction
            Program.”
11
       161. During 2016 and 2017, the            SJ Ex. 1 (Hoose
12          SLDR Companies’                      Decl.) at ¶¶ 33-35
            Solicitation letters stated:         & Ex. 2; SJ Ex.
13
            “Our records indicate that           4a (Sklar Decl.
14          your federal student loans           Ex. 1); SJ Ex.
            may be eligible for a                41a (Marin Decl.
15
            consolidation with the               Ex. A); SJ Ex. 3c
16          U.S. Department of                   (Mason Decl. Ex.
            Education. As a federal              3) at CFPB-JN-
17
            student loan holder, you             0037419-21; SJ
18          may be eligible to convert           Ex. 36a (Davis
            your existing high-interest          Decl. Ex. A) SJ
19
            loan into a federally-               Ex. 39a (Jones
20          backed consolidation with            Decl. Ex. A); SJ
            a lower rate.*”                      Ex. 6a (Sebreros
21
                                                 Dep. Ex. 2); SJ
22                                               Ex. 35a
23                                               (Chekanski Decl.
                                                 Ex. A); SJ Ex. 7a
24                                               and 7b
25                                               (Nesheiwat Dep.
                                                 Ex. 16 and 17)
26
27
28
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       162. During 2016 and 2017, the   SJ Ex. 1 (Hoose
1
            SLDR Companies’             Decl.) at ¶¶ 33-35
2           Solicitation Letters        & Ex. 2; SJ Ex.
3           included the following      4a (Sklar Decl.
            statement in smaller print  Ex. 1); SJ Ex.
4           at the bottom of the        41a (Marin Decl.
5           Letters: “*The              Ex. A); SJ Ex. 3c
            Department of Education     (Mason Decl. Ex.
6           may offer an interest rate  3) at CFPB-JN-
7           reduction with set-up of    0037419-21; SJ
            automatic payments.”        Ex. 36a (Davis
8                                       Decl. Ex. A) SJ
9                                       Ex. 39a (Jones
                                        Decl. Ex. A); SJ
10                                      Ex. 6a (Sebreros
11                                      Dep. Ex. 2); SJ
                                        Ex. 35a
12                                      (Chekanski Decl.
13                                      Ex. A); SJ Ex. 7a
                                        and 7b
14                                      (Nesheiwat Dep.
15                                      Ex. 16 and 17)
       163. During 2016 and 2017, the SJ Ex. 1 (Hoose
16          SLDR Companies’ direct Decl.) at ¶¶ 33-35
17          mail solicitations stated   & Ex. 2; SJ Ex.
            that the “[b]enefits of the 4a (Sklar Decl.
18          Consolidation Program       Ex. 1); SJ Ex.
19          may include” an             41a (Marin Decl.
            “[i]nterest rate reduction  Ex. A); SJ Ex. 3c
20          regardless of balance or    (Mason Decl. Ex.
21          pay history.”               3) at CFPB-JN-
                                        0037419-21; SJ
22                                      Ex. 36a (Davis
23                                      Decl. Ex. A) SJ
                                        Ex. 39a (Jones
24                                      Decl. Ex. A); SJ
25                                      Ex. 6a (Sebreros
                                        Dep. Ex. 2); SJ
26                                      Ex. 35a
27                                      (Chekanski Decl.
                                        Ex. A); SJ Ex. 7a
28
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                                                 and 7b
1
                                                 (Nesheiwat Dep.
2                                                Ex. 16 and 17)
3
4
5      164. In numerous instances, the           SJ Ex. 32
            SLDR Companies                       (Akwensioge
6
            represented to consumers             Decl.) at ¶ 3; SJ
7           during sales calls that              Ex. 34 (Capeci
8           consolidating would lower            Decl.) at ¶ 5; SJ
            the interest rate on                 Ex. 35
9           consumers’ federal                   (Chekanski
10          student loans.                       Decl.) at ¶¶ 5-7;
                                                 SJ Ex. 36 (Davis
11                                               Decl.) at ¶ 4-5; SJ
12                                               Ex. 37 (Hampton
                                                 Decl.) at ¶¶ 5, 8;
13                                               SJ Ex. 38 (Hebin
14                                               Decl.) at ¶ 4; SJ
                                                 Ex. 39 (Jones
15                                               Decl.) at ¶ 4; SJ
16                                               Ex. 42 (Martin
                                                 Decl.) at ¶ 4; SJ
17                                               Ex. 41 (Marin
18                                               Decl.) at ¶¶ 5, 7,
                                                 12-13; SJ Ex. 43
19                                               (O’Neill Decl.) at
20                                               ¶ 7; SJ Ex. 44
                                                 (Sowinski Decl.)
21                                               at ¶¶ 6-7; SJ Ex.
22                                               45 (Storm Decl.)
                                                 at ¶¶ 3-5; SJ Ex.
23                                               27 (Ramirez-
24                                               Velazquez DPP
                                                 Decl.) at ¶ 9; SJ
25                                               Ex. 30 (Schneider
26                                               Decl.) at ¶ 12; SJ
                                                 Ex. 6c (Sebreros
27                                               Dep. Ex. 5); see
28                                               also SJ Ex. 5
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                                       (Van Loon Decl.)
1
                                       at ¶¶ 22-25, 34
2                                      (authenticating
3                                      Sebreros Dep.
                                       Ex. 5)
4      165. For example, in one call   SJ Ex. 41 (Marin
5           with a consumer in around Decl.) at ¶ 5.
            January 2017, Docu Prep
6           Center promised the
7           consumer that his interest
            rate would be lowered by
8           at least 2% to 2.5%.
9      166. Numerous consumers         SJ Ex. 32
            understood from the        (Akwensioge
10          SLDR Companies’            Decl.) at ¶ 3; SJ
11          representations that       Ex. 34 (Capeci
            consolidating would lower Decl.) at ¶ 5; SJ
12          the interest rate on their Ex. 35
13          student loans.             (Chekanski
                                       Decl.) at ¶¶ 5-7;
14                                     SJ Ex. 36 (Davis
15                                     Decl.) at ¶ 4-5; SJ
                                       Ex. 37 (Hampton
16                                     Decl.) at ¶¶ 8, 12;
17                                     SJ Ex. 38 (Hebin
                                       Decl.) at ¶ 4;
18                                     Jones Decl.) at ¶
19                                     4; SJ Ex. 42
                                       (Martin Decl.) at
20                                     ¶ 4; SJ Ex. 41
21                                     (Marin Decl.) at
                                       ¶¶ 5, 7, 12-13; SJ
22                                     Ex. 43 (O’Neill
23                                     Decl.) at ¶ 7;
                                       Sowinski Decl.)
24                                     at ¶¶ 6-7; SJ Ex.
25                                     45 (Storm Decl.)
                                       at ¶¶ 3-5; SJ Ex.
26                                     27 (Ramirez-
27                                     Velazquez DPP
                                       Decl.) at ¶ 9; SJ
28
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                                        Ex. 30 (Schneider
1
                                        Decl.) at ¶ 12.
2      167. Numerous consumers          SJ Ex. 32
3           enrolled with the SLDR      (Akwensioge
            Companies because they      Decl.) at ¶ 3; SJ
4           believed that               Ex. 44 (Sowinski
5           consolidating would lower Decl.) at ¶¶ 6-8;
            the interest rate on their  SJ Ex. 36 (Davis
6           student loans.              Decl.) at ¶ 5; SJ
7                                       Ex. 35
                                        (Chekanski
8                                       Decl.) at ¶ 6; SJ
9                                       Ex. 42 (Martin
                                        Decl.) at ¶ 4; SJ
10                                      Ex. 43 (O’Neill
11                                      Decl.) at ¶ 7; SJ
                                        Ex. 45 (Storm
12                                      Decl.) at ¶¶ 3-4;
13                                      SJ Ex. 37
                                        (Hampton Decl.)
14                                      at ¶ 8;
15                                      SJ Ex. 27
                                        (Ramirez-
16                                      Velazquez DPP
17                                      Decl.) at ¶ 9; SJ
                                        Ex. 30 (Schneider
18
                                        Decl.) at ¶ 12
19     168. For example, during sales SJ Ex. 44
            calls in October 2015,      (Sowinski Decl.)
20
            Docu Prep Center            at ¶ 6
21          “guaranteed” one
            consumer that “the interest
22
            rates … on [his] loans
23          would be lowered through
            the consolidation.”
24
       169. That consumer “agreed to SJ Ex. 44
25          pay the fee and sign Docu (Sowinski Decl.)
26          Prep Center’s contract,     at ¶ 8
            because [he] believed that
27          the interest savings [he]
28
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            would receive were going
1
            to be more than $700.”
2      170. When federal student                 SJ Ex. 47
3           loans are consolidated, the          (Consolidation);
            resulting loan has a fixed           34 C.F.R. § 685.
4           interest rate equal to the           202(a)(10)(i)(F);
5           weighted average of the              see also SJ Ex.
            interest rates on the                35 (Chekanski
6           consolidated loans,                  Decl.) at ¶ 15; SJ
7           rounded up to the nearest            Ex. 41 (Marin
            one-eighth of one percent.           Decl.) at ¶ 11; SJ
8                                                Ex. 8 (DDR
9                                                Dep.) at 185:17-
                                                 186:6; SJ Ex. 11
10                                               (Martinez IH) at
11                                               168:11-24
12     171. After consolidation, the             SJ Ex. 47
13          consumer’s consolidated              (Consolidation);
            loan has the same                    34 C.F.R. § 685.
14
            effective interest rate as           202(a)(10)(i)(F);
15          the prior loans or a higher          see also SJ Ex.
            interest rate.                       35 (Chekanski
16
                                                 Decl.) at ¶ 15; SJ
17                                               Ex. 41 (Marin
                                                 Decl.) at ¶ 11; SJ
18
                                                 Ex. 8 (DDR
19                                               Dep.) at 185:17-
                                                 186:6; SJ Ex. 11
20
                                                 (Martinez IH) at
21                                               168:11-24; SJ Ex.
                                                 36 (Davis Decl.)
22
                                                 at ¶ 19
23     172. Consolidating “doesn’t               SJ Ex. 11
24          lower your interest” rate.           (Martinez IH) at
                                                 168:11-20.
25     173. For example,                         SJ Ex. 45 (Storm
26          consolidating increased              Decl.) at ¶¶ 4-5, 9
            one Docu Prep Center
27          customer’s interest rate
28          from 6.8% to 6.875%.
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       174. Consumers with federal               SJ Ex. 51
1
            student loans can                    (Student Loan
2           generally receive an                 Repayment Plan)
3           interest rate deduction by           at 3-4 (“If you
            setting up automatic                 schedule an
4           monthly payments.                    automatic
5                                                monthly
                                                 electronic debit
6                                                of your loan
7                                                payment from
                                                 your checking or
8                                                savings account,
9                                                you receive a
                                                 0.25% interest
10                                               rate deduction on
11                                               Direct Loans.”);
                                                 SJ Ex. 8 (DDR
12                                               Dep.) at 186:13-
13                                               187:19.
       175. Consumers with federal               SJ Ex. 51
14          student loans generally do           (Student Loan
15          not need to consolidate to           Repayment Plan)
            receive the interest rate            at 3-4; SJ Ex. 8
16          reduction associated with            (DDR Dep.) at
17          setting up automatic                 186:13-187:19;
            monthly payments.                    SJ Ex. 9
18                                               (Martinez Dep.)
19                                               at 226:2-15
                                                 (reduction is
20                                               “automatic”)
21     176. The manager of Docs                  SJ Ex. 9
            Done Right testified that            (Martinez Dep.)
22          the statement in certain             at 226:2-15
23          Solicitation Letters that
            “the Department of
24          Education may offer an
25          interest rate reduction with
            set-up of automatic
26          payments” was “trying to
27          take credit” for the
28
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            reduction and was “very
1
            misleading.”
2      177. The SLDR Companies did               SJ Ex. 1 (Hoose
3           not disclose to consumers            Decl.) at ¶¶ 33-
            that consumers with                  35), SJ Ex. 1b
4           federal student loans                (Hoose Decl. Ex.
5           generally do not need to             2) at 3-14; SJ Ex.
            consolidate to receive the           4a (Sklar Decl.
6           interest rate reduction              Ex. 1) at 2-4; SJ
7           associated with setting up           Ex. 41a (Marin
            automatic monthly                    Decl. Ex. A); SJ
8           payments.                            Ex. 3c (Mason
9                                                Decl. Ex. 3) at
                                                 CFPB-JN-
10                                               0037419-21; SJ
11                                               Ex. 36a (Davis
                                                 Decl. Ex. A) SJ
12                                               Ex. 39a (Jones
13                                               Decl. Ex. A); SJ
                                                 Ex. 6 (Sebreros
14                                               Dep.) at Ex. 2; SJ
15                                               Ex. 35a
                                                 (Chekanski Decl.
16                                               Ex. A); SJ Ex. 7
17                                               (Nesheiwat Dep.)
                                                 at Ex. 16 and 17;
18
                                                 see also SJ Ex. 1a
19                                               (Hoose Decl. Ex.
                                                 13) at
20
                                                 HOOSE0000046
21                                               4; SJ Ex. 1a
                                                 (Hoose Decl. Ex.
22
                                                 14) at
23                                               ML00006181
       178. The SLDR Companies’                  SJ Ex. 32
24
            services did not lower the           (Akwensioge
25          interest rates on                    Decl.) at ¶ 10; SJ
            consumers’ student loans             Ex. 33 (Blevins
26
            as they promised.                    Decl.) at ¶¶ 4, 10;
27                                               SJ Ex. 35
28                                               (Chekanski
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                                                 Decl.) at ¶ 15; SJ
1
                                                 Ex. 36 (Davis
2                                                Decl.) at ¶ 19; SJ
3                                                Ex. 39 (Jones
                                                 Decl.) at ¶ 12; SJ
4                                                Ex. 42 (Martin
5                                                Decl.) at ¶ 12; SJ
                                                 Ex. 41 (Marin
6                                                Decl.) at ¶¶ 11-
7                                                14; SJ Ex. 44
                                                 (Sowinski Decl.)
8                                                at ¶ 10; Storm
9                                                Decl.) at ¶¶ 9, 12,
                                                 16; SJ Ex. 27
10                                               (Ramirez-
11                                               Velazquez DPP
                                                 Decl.) at ¶ 9; SJ
12                                               Ex. 30 (Schneider
13                                               Decl.) at ¶ 12.

14           B.      The SLDR Companies Falsely Promised that Consolidating Would
15                   Improve Consumers’ Credit Scores

16     179. The SLDR Companies                   SJ Ex. 1 (Hoose
17          told consumers in                    Decl.) at ¶¶ 67-
            numerous sales calls that            68; SJ Ex. 1a
18          consolidating would                  (Hoose Decl. Ex.
19          improve the consumers’               13) at
            credit scores.                       HOOSE0000046
20                                               4-65; SJ Ex. 1a
21                                               (Hoose Decl. Ex.
                                                 14) at
22                                               ML00006181; SJ
23                                               Ex. 4i (Sklar
                                                 Decl. Ex. 9) at
24                                               CFPB-EM-
25                                               0168864; SJ Ex.
                                                 3d (Mason Ex. 4)
26                                               at CFPB-EM-
27                                               0052152; SJ Ex.
                                                 6 (Sebreros Dep.)
28
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                                                 at 68:22-72:7; SJ
1
                                                 Ex. 6b (Sebreros
2                                                Dep. Ex. 3) at
3                                                ML00333049; SJ
                                                 Ex. 42 (Martin
4                                                Decl.) at ¶¶ 5, 6,
5                                                12; SJ Ex. 34
                                                 (Capeci Decl.) at
6                                                ¶ 5; SJ Ex. 40
7                                                (Kenner Decl.) at
                                                 ¶ 6, 11; SJ Ex. 37
8                                                (Hampton Decl.)
9                                                at ¶¶ 7- 8; SJ Ex.
                                                 27 (Ramirez-
10                                               Velazquez Decl.)
11                                               at ¶ 11; SJ Ex. 6c
                                                 (Sebreros Dep.
12                                               Ex. 5); see also
13                                               SJ Ex. 5 (Van
                                                 Loon Decl.) at ¶¶
14                                               22-25, 34
15                                               (authenticating
                                                 Sebreros Dep.
16                                               Ex. 5)
17     180. During 2015 and 2016,                SJ Ex. 1 (Hoose
            Docu Prep Center’s sales             Decl.) at ¶¶ 67-
18          scripts instructed sales             68; SJ Ex. 1a
19          representatives to tell              (Hoose Decl. Ex.
            consumers about the                  13) at
20          following benefit of                 HOOSE0000046
21          consolidating: “Improved             5; SJ Ex. 1a
            Credit. According to the             (Hoose Decl. Ex.
22          Fair Credit Report Act               14) at
23          (FCRA) the rules and law             ML00006182; SJ
            that govern how credit               Ex. 4 (Sklar
24          reporting companies                  Decl.) at ¶ 45;
25          report and generate your             Sklar Decl. Ex. 9
            three digit credit score,            at CFPB-EM-
26          having multiple trade line           0168864; SJ Ex.
27          items will impact your               6 (Sebreros Dep.)
            credit score negatively              at 68:22-72:7; SJ
28
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            when compared to a                   Ex. 6b (Sebreros
1
            profile with fewer trade             Dep. Ex. 3) at
2           lines. Therefore, through            ML00333049
3           this consolidation process,
            we will be reducing your
4           trade lines and you will
5           not appear over
            extended.”
6      181. During 2015, Docu Prep               SJ Ex. 1a (Hoose
7           Center’s sales scripts also          Decl. Ex. 12) at
            instructed sales                     HOOSE0000011
8           representatives to tell              5; SJ Ex 1a
9           consumers that by                    (Hoose Decl. Ex.
            consolidating “[t]he                 13) at
10          Department of Education              HOOSE0000046
11          will pay off all your                4; SJ Ex 1a
            existing Federal loans for           (Hoose Decl. Ex.
12          you in full!” and “[t]his            14) at
13          will have the benefit of             ML00006181
            improving your credit.”
14     182. During 2016, Docu Prep      SJ Ex. 4 (Sklar
15          Center’s employee           Decl.) at ¶ 45; SJ
            handbook told sales         Ex. 4i (Sklar
16          representatives that during Decl. Ex. 9) at
17          “[t]he [c]lose” of a sales  CFPB-EM-
            call they should “[r]ecap   0168868; SJ Ex.
18          to the client … all the     6 (Sebreros Dep.)
19          benefits of the program,”   at 68:22-72:7; SJ
            including “improved         Ex. 6b (Sebreros
20          credit.”                    Dep. Ex. 3 at
21                                      ML0033053
       183. The section of Docu Prep SJ Ex. 4 (Sklar
22          Center’s employee           Decl.) at ¶ 45; SJ
23          handbook on “How to         Ex. 4i (Sklar
            Upsell” told sales          Decl. Ex. 9) at
24          representatives that “[y]ou CFPB-EM-
25          have to get back to the     016882; SJ Ex. 6
            benefits,” including        (Sebreros Dep.)
26          “improving the client’s     at 68:22-72:7; SJ
27          credit.”                    Ex. 6b (Sebreros
28
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                                                 Dep. Ex. 3) at
1
                                                 ML00333067.
2      184. Certified Doc Prep                   SJ Ex. 3 (Mason
3           Services used Docu Prep              Decl.) at ¶¶ 14,
            Center’s sales script when           25.
4           it began operating in late
5           2015.
       185. Thereafter, Certified Doc            SJ Ex. 3 (Mason
6           Prep Services and Docu               Decl.) at ¶ 25.
7           Prep Center shares sales
            scripts with each other.
8      186. In 2016, Certified Doc               SJ Ex. 3 (Mason
9           Prep Services’ sales script          Decl.) at ¶¶ 26,
            instructed sales                     28; SJ Ex 3d
10
            representatives to tell              (Mason Ex. 4) at
11          consumers: “Right now                CFPB-EM-
            you have (X Amt) open                0052152
12
            trade lines for every loan
13          you have and this can put
            a very negative impact on
14
            your credit. When they get
15          reduced down to one this
            should really help to
16
            improve your credit
17          score.”
       187. The same Certified Doc               SJ Ex 3d (Mason
18
            Prep Services sales script           Ex. 4) at CFPB-
19          instruct sales                       EM-0052152
            representatives to tell
20
            consumers that by
21          consolidating “[i]nstead of
22          having (Their # of Loans),
            you’re just going to have 1
23          with the same balance you
24          currently have but we[’]re
            going to place you directly
25          with the US Department
26          of Education for the
            program. When this
27          happens, this will help to
28          improve your credit.”
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       188. Assure Direct Services,              SJ Ex. 4 (Sklar
1
            Direct Document                      Decl.) at ¶¶ 65,
2           Solutions, and Secure                69-71; SJ Ex. 6
3           Preparation Services used            (Sebreros Dep.)
            the same scripts as Docu             at 38:16-39:4.
4           Prep Center.
5      189. It is the expert opinion of          SJ Ex. 17a              DISPUTED: There is no
            Dr. David Skanderson that            (Skanderson             admissible evidence to
6           the representations the              Rep.) at ¶ 12; see      support this assertion.
7           SLDR Companies made                  also SJ Ex. 17
            regarding improved credit            (Skanderson             Nesheiwat objects to and
8           scores “cannot be                    Decl.),                 moves to strike:
9           supported.”
                                                                           SJ Ex. 17a (Skanderson
10                                                                       Rep.) at ¶ 12;
11                                                                         SJ Ex. 17 (Skanderson
                                                                         Decl.)
12
13                                                                       because they:

14                                                                         (a) are inadmissible as the
15                                                                       requirements of F.R.E., Rule
                                                                         702 have not been satisfied,
16                                                                       see, also Daubert v. Merrell
17                                                                       Dow Pharmaceuticals, 509
                                                                         U.S. 579, 589-91 (1993) and
18                                                                       Kumho Tire Co., Ltd. V.
19                                                                       Carmichael, 526 U.S. 137,
                                                                         149 (1999)—Nesheiwat
20                                                                       hereby moves for a Daubert
21                                                                       Hearing before the court
                                                                         prior to any ruling on the
22                                                                       merits of the Bureau’s MSJ;
23
                                                                           (b) are inadmissible and
24                                                                       should be excluded, Stilwell
25                                                                       v. Smith & Nephew, Inc.,
                                                                         482 F.3d 1187, 1192 (9th
26                                                                       Cir. 2007), and FRE 702,
27                                                                       Adv. Comm. Notes (2000);
28
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                                                                          (c) are inadmissible
1
                                                                         because the proposed
2                                                                        testimony and information
3                                                                        are not within the scope of
                                                                         the expert witness
4                                                                        designation;
5                                                                          (d) are inadmissible
                                                                         because the proposed
6                                                                        testimony and information
7                                                                        are outside the witness’
                                                                         areas of knowledge and
8                                                                        expertise;
9                                                                          (e) are hearsay and
                                                                         multiple hearsay;
10                                                                         (f) lack proper foundation;
11                                                                         (g) lack personal
                                                                         knowledge;
12                                                                         (h) are irrelevant and
13                                                                       improper expert witness and
                                                                         expert testimony;
14                                                                         (i) are irrelevant and
15                                                                       improper opinions;
                                                                           (j) are based on hearsay
16                                                                       and multiple hearsay (i.e.,
17                                                                       documents).

18                                                                       See Evidentiary Objections:
19                                                                       Skanderson Objections and
                                                                         Request for Dauber hearing.
20     190. It is the expert opinion of SJ Ex. 17a                       DISPUTED: There is no
21          Dr. David Skanderson that (Skanderson                        admissible evidence to
            the representations the     Rep.) at ¶ 15.                   support this assertion.
22          SLDR Companies made
23          regarding improved credit                                    Nesheiwat objects to and
            scores “likely were false                                    moves to strike:
24          for many borrowers.”
25                                                                         SJ Ex. 17a (Skanderson
                                                                         Rep.) at ¶ 15.
26
27                                                                       because it:
28
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                                                                           (a) is inadmissible as the
1
                                                                         requirements of F.R.E., Rule
2                                                                        702 have not been satisfied,
3                                                                        see, also Daubert v. Merrell
                                                                         Dow Pharmaceuticals, 509
4                                                                        U.S. 579, 589-91 (1993) and
5                                                                        Kumho Tire Co., Ltd. V.
                                                                         Carmichael, 526 U.S. 137,
6                                                                        149 (1999)—Nesheiwat
7                                                                        hereby moves for a Daubert
                                                                         Hearing before the court
8                                                                        prior to any ruling on the
9                                                                        merits of the Bureau’s MSJ;

10                                                                         (b) is inadmissible and
11                                                                       should be excluded, Stilwell
                                                                         v. Smith & Nephew, Inc.,
12                                                                       482 F.3d 1187, 1192 (9th
13                                                                       Cir. 2007), and FRE 702,
                                                                         Adv. Comm. Notes (2000);
14
15                                                                        (c) is inadmissible because
                                                                         the proposed testimony and
16                                                                       information are not within
17                                                                       the scope of the expert
                                                                         witness designation;
18                                                                        (d) is inadmissible because
19                                                                       the proposed testimony and
                                                                         information are outside the
20                                                                       witness’ areas of knowledge
21                                                                       and expertise;
                                                                          (e) is hearsay and multiple
22                                                                       hearsay;
23                                                                        (f) lacks proper foundation;
                                                                          (g) lacks personal
24                                                                       knowledge;
25                                                                        (h) is irrelevant and
                                                                         improper expert witness and
26                                                                       expert testimony;
27                                                                        (i) is irrelevant and
                                                                         improper opinions;
28
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                                                                          (j) is based on hearsay and
1
                                                                         multiple hearsay (i.e.,
2                                                                        documents).
3
                                                                         See Evidentiary Objections:
4                                                                        Skanderson Objections and
5                                                                        Request for Dauber hearing.

6      191. It is the expert opinion of SJ Ex. 17a                       DISPUTED: There is no
            Dr. David Skanderson that (Skanderson                        admissible evidence to
7
            “[t]here is no basis for a  Rep.) at ¶ 12                    support this assertion.
8           blanket assertion that
            consolidating a borrower’s                                   Nesheiwat objects to and
9
            federal student loans will                                   moves to strike:
10          have a favorable impact
            on the borrower’s credit                                       SJ Ex. 17a (Skanderson
11
            score, or that having                                        Rep.) at ¶ 12
12          multiple student loans
            outstanding will                                             because it:
13
            negatively affect a
14          borrower’s credit score                                        (a) is inadmissible as the
15          compared to having the                                       requirements of F.R.E., Rule
            same amount of debt in                                       702 have not been satisfied,
16          fewer trade lines.”                                          see, also Daubert v. Merrell
17                                                                       Dow Pharmaceuticals, 509
                                                                         U.S. 579, 589-91 (1993) and
18                                                                       Kumho Tire Co., Ltd. V.
19                                                                       Carmichael, 526 U.S. 137,
                                                                         149 (1999)—Nesheiwat
20                                                                       hereby moves for a Daubert
21                                                                       Hearing before the court
                                                                         prior to any ruling on the
22                                                                       merits of the Bureau’s MSJ;
23
                                                                           (b) is inadmissible and
24                                                                       should be excluded, Stilwell
25                                                                       v. Smith & Nephew, Inc.,
                                                                         482 F.3d 1187, 1192 (9th
26                                                                       Cir. 2007), and FRE 702,
27                                                                       Adv. Comm. Notes (2000);

28
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                                                                           (c) is inadmissible because
1
                                                                         the proposed testimony and
2                                                                        information are not within
3                                                                        the scope of the expert
                                                                         witness designation;
4                                                                          (d) is inadmissible
5                                                                        because the proposed
                                                                         testimony and information
6                                                                        are outside the witness’
7                                                                        areas of knowledge and
                                                                         expertise;
8                                                                          (e) is hearsay and multiple
9                                                                        hearsay;
                                                                           (f) lacks proper
10                                                                       foundation;
11                                                                         (g) lacks personal
                                                                         knowledge;
12                                                                         (h) is irrelevant and
13                                                                       improper expert witness and
                                                                         expert testimony;
14                                                                         (i) is irrelevant and
15                                                                       improper opinions;
                                                                           (j) is based on hearsay and
16                                                                       multiple hearsay (i.e.,
17                                                                       documents).

18                                                                       See Evidentiary Objections:
19                                                                       Skanderson Objections and
                                                                         Request for Dauber hearing.
20
21     192. It is the expert opinion of SJ Ex. 17a                       DISPUTED: There is no
            Dr. Skanderson that the      (Skanderson                     admissible evidence to
22          SLDR Companies’              Rep.) at ¶ 34                   support this assertion.
23          “representations cannot be
            supported, because loan                                      Nesheiwat objects to and
24          consolidation could                                          moves to strike:
25          increase, decrease, or have
            no material impact on a                                         SJ Ex. 17a (Skanderson
26          consumer’s credit score                                      Rep.) at ¶ 34 because it:
27          depending upon the                                             (a) is inadmissible as the
            individual’s specific credit                                 requirements of F.R.E., Rule
28          situation and history. My                                    702 have not been satisfied,
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              analysis also supports the                                 see, also Daubert v. Merrell
1
              conclusion that                                            Dow Pharmaceuticals, 509
2             Defendants’                                                U.S. 579, 589-91 (1993) and
3             representations likely                                     Kumho Tire Co., Ltd. V.
              were false for many                                        Carmichael, 526 U.S. 137,
4             consumers.”                                                149 (1999)—Nesheiwat
5                                                                        hereby moves for a Daubert
                                                                         Hearing before the court
6                                                                        prior to any ruling on the
7                                                                        merits of the Bureau’s MSJ;

8                                                                          (b) is inadmissible and
9                                                                        should be excluded, Stilwell
                                                                         v. Smith & Nephew, Inc.,
10                                                                       482 F.3d 1187, 1192 (9th
11                                                                       Cir. 2007), and FRE 702,
                                                                         Adv. Comm. Notes (2000);
12
13                                                                         (c) is inadmissible because
                                                                         the proposed testimony and
14                                                                       information are not within
15                                                                       the scope of the expert
                                                                         witness designation;
16                                                                         (d) is inadmissible
17                                                                       because the proposed
                                                                         testimony and information
18                                                                       are outside the witness’
19                                                                       areas of knowledge and
                                                                         expertise;
20                                                                         (e) is hearsay and multiple
21                                                                       hearsay;
                                                                           (f) lacks proper
22                                                                       foundation;
23                                                                         (g) lacks personal
                                                                         knowledge;
24                                                                         (h) is irrelevant and
25                                                                       improper expert witness and
                                                                         expert testimony;
26                                                                         (i) is irrelevant and
27                                                                       improper opinions;
28
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                                                                          (j) is based on hearsay and
1
                                                                         multiple hearsay (i.e.,
2                                                                        documents).
3
                                                                         See Evidentiary Objections:
4                                                                        Skanderson Objections and
5                                                                        Request for Dauber hearing.
       193. It is the expert opinion of SJ Ex. 17a                       DISPUTED: There is no
6           Dr. David Skanderson that (Skanderson                        admissible evidence to
7           “[w]ithout reviewing each Rep.) at ¶ 15                      support this assertion.
            borrower’s full credit
8           report and having access                                     Nesheiwat objects to and
9           to the proprietary credit                                    moves to strike:
            scoring models used by
10          credit reporting agencies,                                     SJ Ex. 17a (Skanderson
11          there would have been no                                     Rep.) at ¶ 15
            way for Defendants to
12          determine with confidence                                    because it:
13          whether the impact would
            be favorable, unfavorable,                                     (a) is inadmissible as the
14          or neutral for any given                                     requirements of F.R.E., Rule
15          borrower.”                                                   702 have not been satisfied,
                                                                         see, also Daubert v. Merrell
16                                                                       Dow Pharmaceuticals, 509
17                                                                       U.S. 579, 589-91 (1993) and
                                                                         Kumho Tire Co., Ltd. V.
18                                                                       Carmichael, 526 U.S. 137,
19                                                                       149 (1999)—Nesheiwat
                                                                         hereby moves for a Daubert
20                                                                       Hearing before the court
21                                                                       prior to any ruling on the
                                                                         merits of the Bureau’s MSJ;
22
23                                                                         (b) is inadmissible and
                                                                         should be excluded, Stilwell
24                                                                       v. Smith & Nephew, Inc.,
25                                                                       482 F.3d 1187, 1192 (9th
                                                                         Cir. 2007), and FRE 702,
26                                                                       Adv. Comm. Notes (2000);
27
28
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                                                                           (c) is inadmissible because
1
                                                                         the proposed testimony and
2                                                                        information are not within
3                                                                        the scope of the expert
                                                                         witness designation;
4                                                                          (d) is inadmissible
5                                                                        because the proposed
                                                                         testimony and information
6                                                                        are outside the witness’
7                                                                        areas of knowledge and
                                                                         expertise;
8                                                                          (e) is hearsay and multiple
9                                                                        hearsay;
                                                                           (f) lacks proper
10                                                                       foundation;
11                                                                         (g) lacks personal
                                                                         knowledge;
12                                                                         (h) is irrelevant and
13                                                                       improper expert witness and
                                                                         expert testimony;
14                                                                         (i) is irrelevant and
15                                                                       improper opinions;
                                                                           (j) is based on hearsay and
16                                                                       multiple hearsay (i.e.,
17                                                                       documents).

18                                                                       See Evidentiary Objections:
19                                                                       Skanderson Objections and
                                                                         Request for Dauber hearing.
20     194. It is the expert opinion of SJ Ex. 17a                       DISPUTED: There is no
21          Dr. David Skanderson that (Skanderson                        admissible evidence to
            “[t]here is no reason to    Rep.) at ¶ 15                    support this assertion.
22          believe that an increased
23          credit score was a likely                                    Nesheiwat objects to and
            result of federal student                                    moves to strike:
24          loan consolidation[.]”
25                                                                         SJ Ex. 17a (Skanderson
                                                                         Rep.) at ¶ 15
26
27                                                                       because it:
28
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                                                                           (a) is inadmissible as the
1
                                                                         requirements of F.R.E., Rule
2                                                                        702 have not been satisfied,
3                                                                        see, also Daubert v. Merrell
                                                                         Dow Pharmaceuticals, 509
4                                                                        U.S. 579, 589-91 (1993) and
5                                                                        Kumho Tire Co., Ltd. V.
                                                                         Carmichael, 526 U.S. 137,
6                                                                        149 (1999)—Nesheiwat
7                                                                        hereby moves for a Daubert
                                                                         Hearing before the court
8                                                                        prior to any ruling on the
9                                                                        merits of the Bureau’s MSJ;

10                                                                         (b) is inadmissible and
11                                                                       should be excluded, Stilwell
                                                                         v. Smith & Nephew, Inc.,
12                                                                       482 F.3d 1187, 1192 (9th
13                                                                       Cir. 2007), and FRE 702,
                                                                         Adv. Comm. Notes (2000);
14
15                                                                         (c) is inadmissible because
                                                                         the proposed testimony and
16                                                                       information are not within
17                                                                       the scope of the expert
                                                                         witness designation;
18                                                                         (d) is inadmissible
19                                                                       because the proposed
                                                                         testimony and information
20                                                                       are outside the witness’
21                                                                       areas of knowledge and
                                                                         expertise;
22                                                                         (e) is hearsay and multiple
23                                                                       hearsay;
                                                                           (f) lacks proper
24                                                                       foundation;
25                                                                         (g) lacks personal
                                                                         knowledge;
26                                                                         (h) is irrelevant and
27                                                                       improper expert witness and
                                                                         expert testimony;
28
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                                                                           (i) is irrelevant and
1
                                                                         improper opinions;
2                                                                          (j) is based on hearsay and
3                                                                        multiple hearsay (i.e.,
                                                                         documents).
4
5                                                                        See Evidentiary Objections:
                                                                         Skanderson Objections and
6                                                                        Request for Dauber hearing.
7      195. It is the expert opinion of          SJ Ex. 17a              DISPUTED: There is no
            Dr. David Skanderson that            (Skanderson             admissible evidence to
8           “the Fair Credit Reporting           Rep.) at ¶ 17; see      support this assertion.
9           Act has no bearing on how            also SJ Ex. 8
            the number of student loan           (DDR Dep.) at           Nesheiwat objects to and
10          trade lines will affect a            238:22-239:24           moves to strike:
11          consumer’s credit score.”
                                                                            SJ Ex. 17a (Skanderson
12                                                                       Rep.) at ¶ 17; see also SJ Ex.
13                                                                       8 (DDR Dep.) at 238:22-
                                                                         239:24
14
15                                                                       because they:

16                                                                         (a) are inadmissible as the
17                                                                       requirements of F.R.E., Rule
                                                                         702 have not been satisfied,
18                                                                       see, also Daubert v. Merrell
19                                                                       Dow Pharmaceuticals, 509
                                                                         U.S. 579, 589-91 (1993) and
20                                                                       Kumho Tire Co., Ltd. V.
21                                                                       Carmichael, 526 U.S. 137,
                                                                         149 (1999)—Nesheiwat
22                                                                       hereby moves for a Daubert
23                                                                       Hearing before the court
                                                                         prior to any ruling on the
24                                                                       merits of the Bureau’s MSJ;
25
                                                                           (b) are inadmissible and
26                                                                       should be excluded, Stilwell
27                                                                       v. Smith & Nephew, Inc.,
                                                                         482 F.3d 1187, 1192 (9th
28
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                                                                         Cir. 2007), and FRE 702,
1
                                                                         Adv. Comm. Notes (2000);
2
3                                                                          (c) are inadmissible
                                                                         because the proposed
4                                                                        testimony and information
5                                                                        are not within the scope of
                                                                         the expert witness
6                                                                        designation;
7                                                                          (d) are inadmissible
                                                                         because the proposed
8                                                                        testimony and information
9                                                                        are outside the witness’
                                                                         areas of knowledge and
10                                                                       expertise;
11                                                                         (e) are hearsay and
                                                                         multiple hearsay;
12                                                                         (f) lack proper foundation;
13                                                                         (g) lack personal
                                                                         knowledge;
14                                                                         (h) are irrelevant and
15                                                                       improper expert witness and
                                                                         expert testimony;
16                                                                         (i) are irrelevant and
17                                                                       improper opinions;
                                                                           (j) are based on hearsay
18                                                                       and multiple hearsay (i.e.,
19                                                                       documents).

20                                                                       See Evidentiary Objections:
21                                                                       Skanderson Objections and
                                                                         Request for Dauber hearing.
22     196. At times, the SLDR                   SJ Ex. 6c
23          Companies’ sales                     (Sebreros Dep.
            representatives “ma[d]e              Ex. 5); see also
24          up fake numbers about                SJ Ex. 5 (Van
25          credit scores going up.”             Loon Decl.) at ¶¶
                                                 22-25, 34
26                                               (authenticating
27                                               Sebreros Dep.
                                                 Ex. 5); SJ Ex. 40
28
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                                                 (Kenner Decl.) at
1
                                                 ¶ 6.
2
3
4
       197. For example, during sales            SJ Ex. 40
5           calls in October 2016,               (Kenner Decl.) at
            Certified Doc Prep                   ¶¶ 4, 6.
6
            Services promised one
7           consumer that
            consolidating would
8
            increase his credit score
9           by 50 to 100 points.
10     198. Some consumers decided   SJ Ex. 40
            to enroll with the SLDR  (Kenner Decl.) at
11          Companies based on their ¶ 6; SJ Ex. 41
12          representations that     (Martin Decl.) at
            consumers’ credit scores ¶ 6; SJ Ex. 27
13          would improve.           (Ramirez
14                                   Velazquez DPP
                                     Decl.) at ¶ 11
15     199. Some consumers who       SJ Ex. 37
16          purchased the SLDR       (Hampton Decl.)
            Companies’ services did  at ¶ 22; SJ Ex. 40
17          not experience improved  (Kenner Decl.) at
18          credit scores.           ¶ 16; SJ Ex. 42
                                     (Martin Decl.) at
19                                   ¶ 12
20     200. Those involved with Docu SJ Ex. 1 (Hoose                     DISPUTED: Ex. 129
            Prep Center,             Decl.) at ¶ 69; see                 (Lepiscopo Decl. at ¶¶ 6 &
21          including Nesheiwat,     also SJ Ex. 7                       7); Ex. 130 (Martinez CID at
22          never attempted to       (Nesheiwat Dep.)                    p. 153, l. 10 to p. 154, l. 12);
            determine whether Docu   at 106:6-107:24                     Ex. 131 (Articles of
23          Prep Center’s statements (invoking Fifth                     incorporation and certificate
24          regarding loan           Amendment)                          of limited partners for the
            consolidation improving                                      Companies); and the
25          consumers’ credit scores                                     following exhibits show that
26          were true.                                                   Nesheiwat did not order
                                                                         prescreened lists from
27                                                                       Experian but rather Max
28                                                                       Chou, Bill Abdel, and
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                                                                         David Sklar worked with
1
                                                                         and directed Experian and
2                                                                        ordered pre-screened lists
3                                                                        from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
4                                                                        and Exs. 132 through 140.
5
                                                                         Nesheiwat objects to and
6                                                                        moves to strike:
7
                                                                            SJ Ex. 1 (Hoose Decl.) at
8                                                                        ¶ 69
9
                                                                         because it:
10
11                                                                          (a) is multiple hearsay;
                                                                            (b) is irrelevant;
12                                                                          (c) it based on hearsay
13                                                                       (i.e., documents);
                                                                            (d) lacks personal
14                                                                       knowledge, foundation.
15
                                                                          See Evidentiary
16                                                                       Objections: Sebreros Decl.
17                                                                       Objections.

18                                                                           SJ Ex. 7 at 106:6-107:24
19
                                                                         because it is:
20
21                                                                        (a) irrelevant & prejudicial;
                                                                          (b) violates Griffin.
22                                                                       See Nesheiwat Dep.
23                                                                       Objections.
24           C.      The SLDR Companies Falsely Promised that the Department of
25                   Education Would Become Consumers’ “New Servicer”
26     201. Between 2015 and 2017,               SJ Ex. 4 (Sklar
27          Docu Prep Center told                Decl.) at ¶¶ 44-
            consumers in numerous                45; SJ Ex. 4h
28
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              sales calls that ED would          (Sklar Decl. Ex. 8
1
              become the servicer on             at CFPB-EM-
2             their federal student loans        0072299; SJ Ex.
3             after they consolidated.           4i (Sklar Decl.
                                                 Ex. 9) at CFPB-
4                                                EM-0168863; SJ
5                                                Ex. 1 (Hoose
                                                 Decl ¶¶ 65-66; SJ
6                                                Ex. 1a (Hoose
7                                                Decl. Ex. 13) at
                                                 HOOSE0000046
8                                                0, 464; SJ Ex. 1a
9                                                (Hoose Decl. Ex.
                                                 14) at
10                                               ML00006181; SJ
11                                               Ex. 11 (Martinez
                                                 IH) at 195:20-
12                                               196:8, 199:1-9
13     202. During 2015, Docu Prep               SJ Ex. 4 (Sklar
            Center’s sales script                Decl.) at ¶ 44; SJ
14          instructed sales                     Ex. 4h (Sklar
15          representatives to tell              Decl. Ex. 8) at
            consumers: “Many of my               CFPB-EM-
16          other clients with (NAME             0072299; SJ Ex.
17          OF SERVICER) have                    1 (Hoose Decl.)
            expressed to me some                 at ¶ 65; SJ Ex. 1a
18          displeasure working with             (Hoose Decl. Ex.
19          (NAME OF SERVICER)                   13 DPC Sales
            and relayed some horror              Script 1) at
20          stories working with                 HOOSE0000046
21          (NAME OF SERVICER).                  0
            If this has NOT happened
22          to you yet then good for
23          you. But before it does,
            we have a perfect solution
24          for you. Through this
25          consolidation process, the
            U.S. Department of
26          Education will be your
27          new servicer and you will
            be making your new
28
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            single student loan
1
            payment to the U.S.
2           Department of
3           Education.”
       203. The same Docu Prep                   SJ Ex. 4h (Sklar
4           Center script directed               Decl. Ex. 8) at
5           sales representatives to tell        CFPB-EM-
            consumers that by                    0072303; SJ Ex.
6           consolidating “[t]he                 1a (Hoose Decl.
7           Department of Education              Ex. 13) at
            will pay off all your                HOOSE0000046
8           existing Federal loans for           4
9           you in full! … Once
            approved and processed,
10          you will only have one
11          monthly payment with this
            program payable to the
12          U.S. Department of
13          Education.”
       204. The same Docu Prep                   SJ Ex. 1a (Hoose
14          Center script directed               Decl. Ex. 13 DPC
15          sales representatives to tell        Sales Script 1) at
            consumers that, after the            HOOSE0000046
16          consumers consolidated,              5; SJ Ex. 4h
17          “[i]nstead of multiple               (Sklar Decl. Ex.
            payments to different                8) at CFPB-EM-
18          servicers with different             0072304
19          payment dates, you will
            have the convenience of
20          making only a single
21          payment to the U.S.
            Department of
22          Education.”
23     205. During 2015, another                 SJ Ex. 1 (Hoose
            Docu Prep Center sales               Decl.) at ¶ 66; SJ
24          script instructed sales              Ex. 1a (Hoose
25          representatives to tell              Decl. Ex. 14) at
            consumers: “Through this             ML00006178
26          consolidation process, the
27          U.S. Department of
            Education will be your
28
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            new servicer and you will
1
            be making your new
2           single student loan
3           payment to the U.S.
            Department of Education.
4           It’s because of this main
5           reason that servicers such
            as (NAME OF
6           SERVICER) do not go out
7           of their way to assist
            borrowers with this
8           consolidation process.
9           They do not want to lose
            your business and lose the
10          revenue they earn
11          servicing your (TOTAL
            NUMBER OF LOANS).”
12     206. During 2016, Docu Prep               SJ Ex. 4 (Sklar
13          Center’s sales scripts               Decl.) at ¶ 45; SJ
            directed sales                       Ex 4i (Sklar
14          representatives to tell              Decl. Ex. 9) at
15          consumers: “From now                 CFPB-EM-
            until (Estimated Month),             0168863; SJ Ex.
16          your loans are going to go           6 (Sebreros Dep.)
17          through a processing                 at 68:22-72:7; SJ
            period in which they will            Ex. 6b (Sebreros
18          be paid off in full by the           Dep. Ex. 3) at
19          Department of Education,             ML00333048
            and replaced with a new
20          one for the program.
21          Instead of having (Their #
            of Loans), you’re just
22          going to have 1 loan with
23          the same balance you
            currently have, but we’re
24          going to place you directly
25          with the US Department
            of Education for the
26          program.”
27
28
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       207. The same scripts directed            SJ Ex. 4 (Sklar
1
            sales representatives to tell        Decl.) at ¶ 45; SJ
2           consumers that after their           Ex 4i (Sklar
3           forbearance request was              Decl. Ex. 9) at
            approved “you’re not                 CFPB-EM-
4           going to have to make any            0168863; SJ Ex.
5           more monthly payments to             6 (Sebreros Dep.)
            your current servicer.”              at 68:22-72:7; SJ
6                                                Ex. 6b (Sebreros
7                                                Dep. Ex. 3 at
                                                 ML00333048)
8      208. The same scripts directed            SJ Ex. 4 (Sklar
9           sales representatives to tell        Decl.) at ¶ 45; SJ
            consumers that “[y]our               Ex. 4i (Sklar
10          new monthly payment due              Decl. Ex. 9) at
11          to the US Department of              CFPB-EM-
            Education was approved”              0168863; SJ Ex.
12                                               6 (Sebreros Dep.)
13                                               at 68:22-72:7; SJ
                                                 Ex. 6b (Sebreros
14                                               Dep. Ex. 3 at
15                                               ML00333048
       209. After federal student loans          SJ Ex. 47
16          are consolidated, the                (Consolidation);
17          consolidate loans continue           SJ Ex. 49
            to be handled by ED’s                (Servicers); SJ
18          student loan servicers.              Ex. 8 (DDR
19                                               Dep.) at 256:9-23
       210. ED does not become                   SJ Ex. 47
20          consumers’ “new                      (Consolidation);
21          servicer” after                      SJ Ex. 49
            consolidation.                       (Servicers); DDR
22                                               Dep.) at 256:9-23
23     211. Consolidating does not               SJ Ex. 47
            enable a consumer to                 (Consolidation);
24          avoid having their student           SJ Ex. 49
25          loans handled by a student           (Servicers); SJ
            loan servicer.                       Ex. 8 (DDR
26                                               Dep.) at 256:9-23
27
28
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       212. Eduardo Martinez testified           SJ Ex. 11
1
            that Docu Prep Center’s              (Martinez IH) at
2           statement in its sale script         173:12-174:4
3           telling consumers that ED
            would be their new
4           servicer was “ridiculously
5           bad.”
       213. One reason consumers                 SJ Ex. 11
6           cancelled services with the          (Martinez IH) at
7           SLDR Companies “that                 195:16-196:8
            came up quite a bit was
8           that they thought they
9           were getting a loan with
            the Department of
10          Education directly.”
11     214. When those consumers                 SJ Ex. 11
            found out there was                  (Martinez IH) at
12          “going to be a servicer,”            196:4-19; see
13          they complained that                 also SJ Ex. 7
            “that’s not what I was               (Nesheiwat Dep.)
14          told.”                               at 112:25-113:19
15                                               (invoking Fifth
                                                 Amendment)
16
17       VI.     The SLDR Companies Charged Advance Fees in Violation of the TSR
18     215. The SLDR Companies’                  SJ Ex. 1 (Hoose
19          fees for their services              Decl.) at ¶ 70; SJ
            ranged between $599 and              Ex. 4 (Sklar
20          $999.                                Decl.) at ¶ 49; SJ
21                                               Ex. 6 (Sebreros
                                                 Dep.) 36:13-18,
22                                               112:8-15; SJ Ex.
23                                               32 (Akwensioge
                                                 Decl.) at ¶ 3; SJ
24                                               Ex. 35
25                                               (Chekanski
                                                 Decl.) at ¶ 8; SJ
26                                               Ex. 34 (Capeci
27                                               Decl.) at ¶ 6; SJ
                                                 Ex. 38 (Hebin
28
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                                                 Decl.) at ¶ 11; SJ
1
                                                 Ex. 43 (O’Neill
2                                                Decl.) at ¶ 7
3
4
       216. The SLDR Companies’                  SJ Ex. 1a (Hoose
5           sales representatives                Decl. Ex. 13 DPC
6           collected consumers’                 Sales Script 1) at
            payment information                  HOOSE0000046
7           during sales calls.                  5-66; SJ Ex. 1a
8                                                (Hoose Decl. Ex.
                                                 14) at
9                                                ML00006181,
10                                               83; SJ Ex. 36
                                                 Davis Decl.) at ¶
11                                               5; SJ Ex. 33
12                                               Blevins Decl.) at
                                                 ¶ 4; SJ Ex. 34
13                                               (Capeci Decl.) at
14                                               ¶ 6 ; SJ Ex. 38
                                                 (Hebin Decl.) at ¶
15                                               5
16     217. Consumers varied in how              SJ Ex. 8 (DDR
            quickly they returned                Dep.) at 120:5-16
17          signed loan consolidation
18          and repayment plan
            application documents to
19          the SLDR Companies and
20          Docs Done Right.
       218. After Docs Done Right                SJ Ex. 8 (DDR
21
            submitted consumers’                 Dep.) at 121:12-
22          loan consolidation and               24; SJ Ex. 9
            repayment plan                       (Martinez Dep.)
23
            applications to consumers’           at 235:6-24; see
24          servicers, it typically took         also SJ Ex. 1
            45 to 90 days for the                (Hoose Decl.) at
25
            application documents to             ¶ 72.
26          be approved by those
            servicers.
27
       219. The SLDR Companies did               SJ Ex. 8 (DDR
28          not wait for the loan                Dep.) at 92:7-
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              consolidation and                  94:14 (“Once the
1
              repayment plan                     forms are filled
2             applications prepared for          out … our fees
3             consumers to be approved           are completed”
              to charge consumers fees.          and customer is
4                                                charged); see
5                                                also SJ Ex. 36
                                                 (Davis Decl.) at
6                                                ¶¶ 8-10; SJ Ex.
7                                                35 (Chekanski
                                                 Decl.) at ¶¶ 9, 11;
8                                                SJ Ex. 37
9                                                (Hampton Decl.)
                                                 at ¶¶ 10, 13-15;
10                                               SJ Ex. 39 (Jones
11                                               Decl.) at ¶¶ 6-7;
                                                 SJ Ex. 33
12                                               (Blevins Decl.) at
13                                               ¶¶ 4, 8; SJ Ex. 45
                                                 (Storm Decl.) at
14                                               ¶¶ 6-8
15
       220. The SLDR Companies                   SJ Ex. 8 (DDR
16          charged consumers fees               Dep.) at 92:14-
17          without regard to whether            94:13, 136:8-15;
            the loan consolidation and           SJ Ex. 8a (DDR
18          repayment plan                       Dep. Ex. 20)
19          applications prepared for
            consumers were actually
20          approved.
21     221. The SLDR Companies did               SJ Ex. 8 (DDR
            not track whether the loan           Dep.) at 137:18-
22          consolidation and                    139:1
23          repayment plan
            applications prepared for
24          consumers were actually
25          approved.
       222. The forbearance requests             SJ Ex. 28
26          that the SLDR Companies              (Ramirez-
27          and Docs Done Right                  Velazquez Forb.
            prepared typically sought            Decl.) at ¶¶ 8, 11;
28
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              to place consumers into  SJ Ex. 37
1
              forbearance for 90 days. (Hampton Decl.)
2                                      at ¶ 10; SJ Ex.
3                                      40a (Kenner
                                       Decl. Ex. A) at 2;
4                                      SJ Ex. 39 (Jones
5                                      Decl.) at ¶ 5; SJ
                                       Ex. 33 (Blevins
6                                      Decl.) at ¶ 6
7      223. The SLDR Companies         SJ Ex. 8 (DDR
            prepared forbearance       Dep.) at 123:25-
8           requests so that consumers 124:10; SJ Ex. 4i
9           would not have to make a (Sklar Decl. Ex.
            payment on their student   9) at CFPB-EM-
10          loans until after the      0168863; SJ Ex.
11          consumers’ consolidation 1a (Hoose Decl.
            and repayment plan         Ex. 13) at
12          requests were approved     HOOSE0000046
13          and the consumers had a    6; SJ Ex. 1a
            new payment amount on      (Hoose Decl. Ex.
14          their student loans.       14) at
15                                     ML00006183.
       224. When a consumer’s          SJ Ex. 28
16          federal student loans are  (Ramirez-
17          in forbearance, their next Velazquez Forb.
            monthly payment is due     Decl.) at ¶ 10 &
18          the month following the    Ex. 1.
19          end of the forbearance.
       225. Consumers using the        SJ Ex. 1 (Hoose
20          SLDR Companies’            Decl.) at ¶ 59; SJ
21          services would begin       Ex. 8 (DDR
            repayment under the new Dep.) at 123:25-
22          payment program for        124:10
23          which the consumers had
            signed up only after
24          (1) the consumers’
25          consolidation and
            repayment plan
26          applications had been
27          approved and (2) the
28
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            consumers’ forbearance
1
            period had ended.
2      226. The SLDR Companies                   SJ Ex. 1 (Hoose
3           charged consumers fees               Decl.) at ¶¶ 71-
            for their services before            72; Sklar Decl.)
4           consumers’ consolidation             at ¶ 54; SJ Ex. 12
5           and repayment plan                   (Cowell IH) at
            applications were                    76:7-19; SJ Ex.
6           approved.                            11 (Martinez IH)
7                                                at 175:13-178:8;
                                                 SJ Ex. 32
8                                                (Akwensioge
9                                                Decl.) at ¶¶ 3-9;
                                                 SJ Ex. 36 (Davis
10                                               Decl.) at ¶¶ 10-
11                                               11; SJ Ex. 35
                                                 (Chekanski
12                                               Decl.) ¶¶ 10-15;
13                                               SJ Ex. 37
                                                 (Hampton Decl.)
14                                               ¶¶ 9, 13-16; SJ
15                                               Ex. 40 (Kenner
                                                 Decl.) ¶¶ 9-10,
16                                               14, 16; SJ Ex. 33
17                                               (Blevins Decl.)
                                                 ¶¶ 8-9, 12; SJ Ex.
18                                               39 (Jones Decl.)
19                                               at ¶¶ 7, 9; SJ Ex.
                                                 38 (Hebin Decl.)
20                                               at ¶¶ 8-9; SJ Ex.
21                                               42 (Martin Decl.)
                                                 at ¶¶ 10-11; see
22                                               also SJ Ex. 7
23                                               (Nesheiwat Dep.)
                                                 at 116:12-117:13
24                                               (invoking Fifth
25                                               Amendment)
       227. The SLDR Companies                   SJ Ex. 1 (Hoose
26
            charged consumers fees               Decl.) at ¶ 72; SJ
27          for their services before            Ex. 8 (DDR
                                                 Dep.) at 139:7-
28
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              consumers’ period of     15; SJ Ex. 37
1
              forbearance ended.       (Hampton Decl.)
2                                      at ¶¶ 10, 13-15;
3                                      SJ Ex. 40a
                                       (Kenner Decl.
4                                      Ex. A) at ¶¶ 9,
5                                      11; SJ Ex. 39
                                       (Jones Decl.) at
6                                      ¶ 4-6, 7; SJ Ex.
7                                      33 (Blevins
                                       Decl.) at ¶ 4, 6-9;
8                                      SJ Ex. 36 (Davis
9                                      Decl.) at ¶¶ 10-
                                       13; SJ Ex. 42
10                                     (Martin Decl.) at
11                                     ¶ 10; see also SJ
                                       Ex. 7 (Nesheiwat
12                                     Dep.) at 119:25-
13                                     120:12 (invoking
                                       Fifth
14                                     Amendment)
15     228. Consumers paid the SLDR SJ Ex. 1 (Hoose
            Companies’ fees either in Decl.) at ¶ 71; SJ
16          a single lump sum or in    Ex. 8 (DDR
17          installments.              Dep.) at 133:8-
                                       134:12; SJ Ex. 25
18                                     (Heidari Decl.) at
19                                     ¶ 21
       229. The SLDR Companies         SJ Ex. 1 (Hoose
20          collected their fees by    Decl.) at ¶ 73; SJ
21          either debiting consumers’ Ex. 4 (Sklar
            bank accounts through an Decl.) at ¶¶ 50-
22          ACH transaction or by      52; SJ Ex. 6
23          charging consumers’        (Sebreros Dep.)
            credit cards.              at 36:25-37:6,
24                                     106:25-107:6,
25                                     111:1-15; SJ Ex.
                                       8 (DDR Dep.) at
26                                     89:17-90:19,
27                                     116:20-117:7
28
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           230. In 2015, Docu Prep Center            SJ Ex. 4 (Sklar
1
                initially used the ACH               Decl.) at ¶ 51; SJ
2               payment processor                    Ex. 1 (Hoose
3               Trans2Pay, LLC                       Decl.) at ¶ 73
                (“Trans2Pay”) to charge
4               its fees to consumers.
5          231. In April 2015, one of                SJ Ex. 1 (Hoose         DISPUTED: Ex. 129
                Docu Prep Center’s co-               Decl.) at ¶ 74; SJ      (Lepiscopo Decl. at ¶¶ 6 &
6               managers forwarded to                Ex. 1a (Hoose           7); Ex. 130 (Martinez CID at
7               Nesheiwat an email from              Decl. Ex. 15)7;         p. 153, l. 10 to p. 154, l. 12);
                Trans2Pay with the                   see also SJ Ex.         Ex. 131 (Articles of
8               subject line “Important              14 (Nesheiwat           incorporation and certificate
9               Notice from Trans2pay,               RFA Resp. No.           of limited partners for the
                LLC.”                                49) at pp. 57-58        Companies); and the
10                                                   (invoking Fifth         following exhibits show that
11                                                   Amendment               Nesheiwat did not order
                                                     regarding email)        prescreened lists from
12                                                                           Experian but rather Max
13                                                                           Chou, Bill Abdel, and
                                                                             David Sklar worked with
14                                                                           and directed Experian and
15                                                                           ordered pre-screened lists
                                                                             from Experian: Ex. 129
16                                                                           (Lepiscopo Decl. at ¶¶ 8-16)
17                                                                           and Exs. 132 through 140.

18                                                                           Nesheiwat objects to and
19                                                                           moves to strike:
20                                                                              SJ Ex. 1 (Hoose Decl.) at
21                                                                           ¶ 74;
                                                                                SJ Ex. 1a (Hoose Decl.
22                                                                           Ex. 15)
23
                                                                             because they:
24
25
26
27
     7
      Bureau note: This citation and the identical citations in UF ¶¶ 232 and 233 should
28   have been to SJ Ex. 1n, which contains exhibit 15 to Hoose’s declaration.
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                                                                            (a) are hearsay and
1
                                                                         multiple hearsay;
2                                                                           (b) are irrelevant;
3                                                                           (c) are based on hearsay
                                                                         (i.e., documents);
4                                                                           (d) lack personal
5                                                                        knowledge, foundation.

6                                                                         See Evidentiary
7                                                                        Objections: Hoose Decl.
                                                                         Objections.
8
9                                                                          SJ Ex. 14 (Nesheiwat
                                                                         RFA Resp. No. 49)
10
11                                                                       because it is:

12                                                                         (a) irrelevant & prejudicial;
13                                                                         (b) violates Griffin.

14                                                                       See Nesheiwat RFA
15                                                                       Objections.
       232. The email from Trans2Pay             SJ Ex. 1a (Hoose
16          stated that “[i]n light of           Decl. Ex. 15); see
17          the recent order between             also SJ Ex. 14
            the Consumer Financial               (Nesheiwat RFA
18          Protection Bureau                    Resp. No. 49) at
19          (‘CFPB’), the Office of              pp. 57-58
            the Attorney General,                (invoking Fifth
20          State of Florida,                    Amendment
21          Department of Legal                  regarding email)
            Affairs and College
22          Education Services,
23          whereby student-loan debt
            relief services are
24          considered to be subject to
25          the FTC’s Telemarketing
            Sales Rule - Debt Relief
26          Rule (‘TSR’), Trans2pay
27          has made the decision to
            assign its responsibility
28
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            for the services currently
1
            being provided to you and
2           to your clients to its
3           affiliate company, Global
            Client Solutions, LLC
4           (‘GCS’).”
5      233. The email from Trans2Pay             SJ Ex. 1a (Hoose
            stated that, “effective as of        Decl. Ex. 15); see
6           June 1, 2015, all services           also SJ Ex. 14
7           provided by GCS will be              (Nesheiwat RFA
            subject to the policies and          Resp. No. 49) pp.
8           procedures currently in              57-58 (invoking
9           place with respect to debt           Fifth Amendment
            relief services offered by           regarding email)
10          for-profit debt relief
11          service providers.
            Therefore, per GCS’s
12          compliance with the TSR,
13          program fees will not be
            disbursed from a client's
14          dedicated account until (i)
15          the client has accepted a
            modification/ adjustment
16          to a debt and a subsequent
17          payment has been made
            towards such debt, or (ii)
18          Global receives sufficient
19          documentation evidencing
            the approval of
20          consolidation and/or direct
21          confirmation/authorization
            from the client attesting to
22          such occurrence.”
23     234. In May 2015, Thomas                  SJ Ex. 4 (Sklar         DISPUTED: Ex. 129
            Chou sent an email to                Decl.) at ¶ 56; SJ      (Lepiscopo Decl. at ¶¶ 6 &
24          several of Docu Prep                 Ex. 4j (Sklar           7); Ex. 130 (Martinez CID at
25          Center’s owners and                  Decl. Ex. 10); see      p. 153, l. 10 to p. 154, l. 12);
            managers, including                  also SJ Ex. 1           Ex. 131 (Articles of
26          Nesheiwat, with the                  (Hoose Decl.) at        incorporation and certificate
27          subject line “Re:                    ¶ 82                    of limited partners for the
            DocuPrep Center Update.”             (authenticating         Companies); and the
28
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                                                 same email); SJ         following exhibits show that
1
                                                 Ex. 1a (Hoose           Nesheiwat did not order
2                                                Decl. Ex. 19); see      prescreened lists from
3                                                also SJ Ex. 3           Experian but rather Max
                                                 (Lawson Decl.) at       Chou, Bill Abdel, and
4                                                ¶¶ 6-7, 9               David Sklar worked with
5                                                (authenticating         and directed Experian and
                                                 same email); SJ         ordered pre-screened lists
6                                                Ex. 3b (Lawson          from Experian: Ex. 129
7                                                Decl. Ex. 2); SJ        (Lepiscopo Decl. at ¶¶ 8-16)
                                                 Ex. 14                  and Exs. 132 through 140.
8                                                (Nesheiwat RFA
9                                                Resp. No. 50) at        Nesheiwat objects to and
                                                 pp. 58-59               moves to strike:
10                                               (invoking Fifth
11                                               Amendment                  SJ Ex. 4 (Sklar Decl.) at ¶
                                                 regarding email)        56;
12                                                                          SJ Ex. 4j (Sklar Decl. Ex.
13                                                                       10);
                                                                            SJ Ex. 1 (Hoose Decl.) at
14                                                                       ¶ 82;
15                                                                          SJ Ex. 1a (Hoose Decl.
                                                                         Ex. 19);
16                                                                          SJ Ex. 3 (Lawson Decl.)
17                                                                       at ¶¶ 6-7, 9;
                                                                            SJ Ex. 3b (Lawson Decl.
18                                                                       Ex. 2)
19
                                                                         because they:
20
21                                                                          (a) are hearsay and
                                                                         multiple hearsay;
22                                                                          (b) are irrelevant;
23                                                                          (c) are based on hearsay
                                                                         (i.e., documents);
24                                                                          (d) lack personal
25                                                                       knowledge, foundation.
26                                                                        See Evidentiary
27                                                                       Objections: Hoose Decl.
28
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                                                                         Objections and Lawson
1
                                                                         Decl. Objections.
2
3                                                                           SJ Ex. 14 (Nesheiwat
                                                                         RFA Resp. No. 50) at pp.
4                                                                        58-59
5
                                                                         because it is:
6
7                                                                          (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
8
9                                                                        See Nesheiwat RFA
                                                                         Objections.
10     235. In the May 2015 email,               SJ Ex. 4j (Sklar
11          Thomas Chou asked one                Decl. Ex. 10); SJ
            of Docu Prep Center’s co-            Ex. 14
12          managers: “Do you have               (Nesheiwat RFA
13          any additional information           Resp. No. 50) at
            about the potential ban on           pp. 58-59
14          advance fees that might              (invoking Fifth
15          extend the time frame that           Amendment
            we get payment? If there             regarding email)
16          is a delay in being paid,
17          how do you anticipate it
            slowing growth toward
18          that 1000 deal/mo mark?
19          I’m concerned, because I
            really want to go to
20          Vegas. :-)”
21     236. At the time, several of              SJ Ex. 4 (Sklar
            those involved with Docu             Decl.) at ¶ 56; see
22          Prep Center planned to               also SJ Ex. 14
23          celebrate reaching the goal          (Nesheiwat RFA
            of closing 1,000 deals               Resp. No. 50) at
24          each month with a trip to            pp. 58-59
25          Las Vegas.                           (invoking Fifth
                                                 Amendment
26                                               regarding email)
27     237. After Thomas Chou’s                  SJ Ex. 4 (Sklar
            May 2015 email, “Docu                Decl.) at ¶ 57
28
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            Prep Center did not
1
            change its practices to
2           extend how long it took to
3           receive consumers’ fees or
            make other efforts to
4           comply with the TSR’s
5           requirements regarding
            the timing of charging
6           fees.”
7      238. In around June 2015,                 SJ Ex. 4 (Sklar
            Docu Prep Center                     Decl.) at ¶ 58; SJ
8           switched to using the                Ex. 4k (Sklar
9           payment processor Reliant            Decl. Ex. 11)
            Account Management                   (“With regard to
10          (“RAM”) to charge fees to            the potential
11          consumers who paid via               billing issues we
            ACH.                                 identified last
12                                               month, we’ve
13                                               moved to RAM,
                                                 a new payment
14                                               processor. RAM
15                                               maakes our funds
                                                 available between
16                                               7 to 9 days after
17                                               the client has
                                                 made their ACH
18                                               payment, which
19                                               is much
                                                 improved over
20                                               the 45 day turn
21                                               time we were
                                                 initially
22                                               anticipating.”);
23                                               see also Heidari
                                                 Decl.) at ¶ 6.a; SJ
24                                               Ex. 5 (Van Loon
25                                               Decl.) at ¶¶ 22-
                                                 25, 32
26                                               (authenticating
27                                               Sklar Decl. Ex.
                                                 11)
28
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       239. The switch to RAM meant              SJ Ex. 4 (Sklar
1
            that Docu Prep Center                Decl.) at ¶ 58
2           generally received
3           consumers’ first payments
            within about three weeks
4           and received all of the
5           consumers’ payments
            within 60 days.
6      240. On July 1, 2015, one of              SJ Ex. 4 (Sklar         DISPUTED: Ex. 129
7           Docu Prep Center’s co-               Decl.) at ¶ 58; SJ      (Lepiscopo Decl. at ¶¶ 6 &
            managers sent an email to            Ex. 4k (Sklar           7); Ex. 130 (Martinez CID at
8           Docu Prep Center’s                   Decl. Ex. 11); see      p. 153, l. 10 to p. 154, l. 12);
9           investors, including                 also SJ Ex. 3           Ex. 131 (Articles of
            Nesheiwat.                           (Lawson Decl.) at       incorporation and certificate
10                                               ¶¶ 6-7, 9; SJ Ex.       of limited partners for the
11                                               3c (Lawson Decl.        Companies); and the
                                                 Ex. 3) (same            following exhibits show that
12                                               email); SJ Ex. 14       Nesheiwat did not order
13                                               (Nesheiwat RFA          prescreened lists from
                                                 Resp. No. 52) at        Experian but rather Max
14                                               60 (invoking            Chou, Bill Abdel, and
15                                               Fifth Amendment         David Sklar worked with
                                                 regarding email)        and directed Experian and
16                                                                       ordered pre-screened lists
17                                                                       from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
18                                                                       and Exs. 132 through 140.
19
                                                                         Nesheiwat objects to and
20                                                                       moves to strike:
21
                                                                            SJ Ex. 4 (Sklar Decl.) at ¶
22                                                                       58;
23                                                                          SJ Ex. 4k (Sklar Decl. Ex.
                                                                         11);
24                                                                          SJ Ex. 3 (Lawson Decl.)
25                                                                       at ¶¶ 6-7, 9; SJ Ex. 3c
                                                                         (Lawson Decl. Ex. 3).
26
27                                                                       because they:
28
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                                                                            (a) are hearsay and
1
                                                                         multiple hearsay;
2                                                                           (b) are irrelevant;
3                                                                           (c) are based on hearsay
                                                                         (i.e., documents);
4                                                                           (d) lack personal
5                                                                        knowledge, foundation.

6                                                                         See Evidentiary
7                                                                        Objections: Sklar Decl.
                                                                         Objections and Lawson
8                                                                        Decl. Objections.
9
                                                                           SJ Ex. 14 (Nesheiwat
10                                                                       RFA Resp. No. 52) at 60.
11
                                                                         because it is:
12
13                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
14
15                                                                       See Nesheiwat RFA
                                                                         Objections.
16     241. The July 1, 2015 email      SJ Ex. 4 (Sklar
17          stated that “RAM makes      Decl.) at ¶ 58; SJ
            our funds available         Ex. 4k (Sklar
18          between 7 to 9 days after   Decl. Ex. 11); see
19          the client has made their   also SJ Ex. 14
            ACH payment.”               (Nesheiwat RFA
20                                      Resp. No. 52) at
21                                      60 (invoking
                                        Fifth Amendment
22                                      regarding email)
23     242. Between 2015 and 2017,      SJ Ex. 1 (Hoose                  DISPUTED: Ex. 129
            Nesheiwat was familiar      Decl.) at ¶ 74 &                 (Lepiscopo Decl. at ¶¶ 6 &
24          with the TSR’s provisions Ex. 15; SJ Ex. 4j                  7); Ex. 130 (Martinez CID at
25          regarding the collection of (Sklar Decl. Ex.                 p. 153, l. 10 to p. 154, l. 12);
            advanced fees for debt      10; see also SJ                  Ex. 131 (Articles of
26          relief services.            Ex. 7 (Nesheiwat                 incorporation and certificate
27                                      Dep.) at 122:19-                 of limited partners for the
                                        123:16                           Companies); and the
28
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                                                                         following exhibits show that
1
                                                                         Nesheiwat did not order
2                                                                        prescreened lists from
3                                                                        Experian but rather Max
                                                                         Chou, Bill Abdel, and
4                                                                        David Sklar worked with
5                                                                        and directed Experian and
                                                                         ordered pre-screened lists
6                                                                        from Experian: Ex. 129
7                                                                        (Lepiscopo Decl. at ¶¶ 8-16)
                                                                         and Exs. 132 through 140.
8
9                                                                        Nesheiwat objects to and
                                                                         moves to strike:
10
11                                                                          SJ Ex. 1 (Hoose Decl.) at
                                                                         ¶ 74 & Ex. 15;
12                                                                          SJ Ex. 4j (Sklar Decl. Ex.
13                                                                       10.)

14                                                                       because they:
15
                                                                            (a) are vague and
16                                                                       ambiguous as to time;
17                                                                          (b) are hearsay and
                                                                         multiple hearsay;
18                                                                          (c) are irrelevant;
19                                                                          (d) are based on hearsay
                                                                         (i.e., documents);
20                                                                          (e) lack personal
21                                                                       knowledge, foundation.

22                                                                        See Evidentiary
23                                                                       Objections: Sklar Decl.
                                                                         Objections and Hoose Decl.
24                                                                       Objections.
25
                                                                           SJ Ex. 7 (Nesheiwat
26                                                                       Dep.) at 122:19-123:16.
27
                                                                         because it is:
28
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1
                                                                           (a) irrelevant & prejudicial;
2                                                                          (b) violates Griffin.
3
                                                                         See Nesheiwat Dep.
4                                                                        Objections.
5      243. Docu Prep Center used        SJ Ex. 25
            RAM to collect fees paid     (Heidari Decl.) at
6           by consumers in ACH          ¶ 6.a.; see also SJ
7           transactions between June    Ex. 1 (Hoose
            2015 and January 2016.       Decl.) at ¶ 73; SJ
8                                        Ex. 4 (Sklar
9                                        Decl.) at ¶ 50-51,
                                         58
10     244.   In transactions processed  SJ Ex. 25
11            by RAM, on average,        (Heidari Decl.) at
              consumers made their first ¶¶ 18, 22
12            payment towards Docu
13            Prep Center’s fees 9 days
              after the consumers
14            enrolled with Docu Prep
15            Center.
       245.   In transactions processed  SJ Ex. 25
16            by RAM, on average,        (Heidari Decl.) at
17            consumers made their       ¶ 22
              final payment towards
18            Docu Prep Center’s fees
19            28 days after consumers
              enrolled with Docu Prep
20            Center.
21     246.   Consumers’ payments for SJ Ex. 25
              Docu Prep Center’s fees    (Heidari Decl.) at
22            were temporarily held by ¶ 24
23            RAM before being
              disbursed to Docu Prep
24            Center.
25     247.   In transactions processed  SJ Ex. 25
              by RAM, on average,        (Heidari Decl.) at
26
              RAM made its first         ¶ 24; see also SJ
27            disbursement of            Ex. 4k (Sklar
              consumers’ fees to Docu    Decl. Ex. 11
28
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              Prep Center 16 days after          (“RAM makes
1
              consumers enrolled with            our funds
2             Docu Prep Center.                  available between
3                                                7 to 9 days after
                                                 the client has
4                                                made their ACH
5                                                payment….”)
       248. In transactions processed            SJ Ex. 25
6           by RAM, on average,                  (Heidari Decl.) at
7           RAM made its final                   ¶ 24; see also
            disbursement of                      Sklar Decl. Ex.
8           consumers’ fees to Docu              11 (“RAM makes
9           Prep Center 37 days after            our funds
            consumers enrolled with              available between
10          Docu Prep Center.                    7 to 9 days after
11                                               the client has
                                                 made their ACH
12                                               payment…”)
13     249. Between December 2015                SJ Ex. 25
            and January 2018, the                (Heidari Decl.) at
14          SLDR Companies and                   ¶ 6; see also SJ
15          Docs Done Right used the             Ex. 1 (Hoose
            payment processor Debt               Decl.) at ¶ 73; SJ
16          Pay Gateway to charge                Ex. 8 (DDR
17          fees to consumers who                Dep.) at 88:7-14
            paid via ACH.
18     250. In transactions processed            SJ Ex. 25
19          by Debt Pay Gateway, on              (Heidari Decl.) at
            average, consumers made              ¶ 26; see also SJ
20          their first payment for the          Ex. 8 (DDR Dep
21          SLDR Companies’ fees 15              133:11-25
            days after the consumers             (“usually, the
22          enrolled with the SLDR               company wanted
23          Companies.                           to charge them
                                                 within 14 days”)
24
25     251. In transactions processed   SJ Ex. 25
            by Debt Pay Gateway, on (Heidari Decl.) at
26          average, consumers made ¶ 26
27          their final payment for the
            SLDR Companies’ fees 51
28
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              days after the consumers
1
              enrolled with the SLDR
2             Companies.
3      252.   Consumers’ payments for            SJ Ex. 25
              the SLDR Companies’                (Heidari Decl.) at
4             fees were temporarily held         ¶ 28; SJ Ex. 9
5             by Debt Pay Gateway                (Martinez Dep.)
              before being disbursed to          at 272:10-273:17
6             the SLDR Companies and
7             Docs Done Right.
       253.   In transactions processed          SJ Ex. 25
8             by Debt Pay Gateway, on            (Heidari Decl.) at
9             average, Debt Pay                  ¶ 28
              Gateway made its first
10            disbursement of
11            consumers’ fees to the
              SLDR Companies 22 days
12            after consumers enrolled
13            with the SLDR
              Companies.
14     254.   In transactions processed          SJ Ex. 25
15            by Debt Pay Gateway, on            (Heidari Decl.) at
              average, Debt Pay                  ¶ 28
16            Gateway made its first
17            disbursement of
              consumers’ fees to the
18            SLDR Companies 59 days
19            after consumers enrolled
              with the SLDR
20            Companies.
21     255.   Debt Pay Gateway                   SJ Ex. 9
              temporarily held                   (Martinez Dep.)
22            consumers’ payments for            at 272:10-21
23            the SLDR Companies’
              fees in “custodial
24            accounts.”
25     256.   The “custodial accounts”           SJ Ex. 9
              were only used for the             (Martinez Dep.)
26
              purpose of paying                  at 273:4-274:1
27            consumers’ fees for the
28
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              SLDR Companies’
1
              services.
2      257.   The “custodial accounts”           SJ Ex. 9
3             were not used for the              (Martinez Dep.)
              purpose of paying                  at 273:18-21
4             consumers’ student loans.
5      258.   In credit card transactions,       SJ Ex. 25
              on average, consumers              (Heidari Decl.) at
6             made their first payment           ¶ 30
7             towards the SLDR
              Companies’ fees 13 days
8             after consumers enrolled
9             with the SLDR
              Companies.
10     259.   In credit card transactions,       SJ Ex. 25
11            on average, consumers              (Heidari Decl.) at
              made their final payment           ¶ 30
12            towards the SLDR
13            Companies’ fees 20 days
              after consumers enrolled
14            with the SLDR
15            Companies.
       260.   In total, between 2015 and         SJ Ex. 25               DISPUTED: There is no
16
              2018, after netting out            (Heidari Decl.) at      admissible evidence to
17            refunds, the SLDR                  ¶¶ 6, 32                support this assertion.
              Companies charged
18
              consumers $18,048,228 in                                   Nesheiwat objects to and
19            fees within 90 days of                                     moves to strike:
              consumers’ enrollment.
20
                                                                             SJ Ex. 25 (Heidari Decl.)
21                                                                       at ¶¶ 6, 32
22
                                                                         because it:
23
                                                                           (a) is irrelevant and
24
                                                                         improper non-designated
25                                                                       expert witness and expert
                                                                         testimony;
26
                                                                           (b) is irrelevant and
27                                                                       improper opinion;
                                                                           (c) is irrelevant;
28
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                                                                            (d) is hearsay and multiple
1
                                                                         hearsay;
2                                                                           (e) is based on hearsay
3                                                                        (i.e., documents);
                                                                            (f) lacks personal
4                                                                        knowledge, foundation.
5
                                                                         See Evidentiary Objections:
6                                                                        Heidari Decl. Objections.
7      261. In total, between 2015 and SJ Ex. 25                         DISPUTED: There is no
            2018, after netting out    (Heidari Decl.) at                admissible evidence to
8           refunds, the SLDR          ¶15.                              support this assertion.
9           Companies charged
            consumers $19,699,870 in                                     Nesheiwat objects to and
10          fees.                                                        moves to strike:
11
                                                                             SJ Ex. 25 (Heidari Decl.)
12                                                                       at ¶ 15
13
                                                                         because it:
14
15                                                                          (a) is irrelevant and
                                                                         improper non-designated
16                                                                       expert witness and expert
17                                                                       testimony;
                                                                            (b) is irrelevant and
18                                                                       improper opinion;
19                                                                          (c) is irrelevant;
                                                                            (d) is hearsay and multiple
20                                                                       hearsay;
21                                                                          (e) is based on hearsay
                                                                         (i.e., documents);
22                                                                          (f) lacks personal
23                                                                       knowledge, foundation.
24                                                                       See Evidentiary Objections:
25                                                                       Heidari Decl. Objections.
       262. In total, between 2015 and SJ Ex. 25                         DISPUTED: There is no
26          2018, the SLDR             (Heidari Decl.) at                admissible evidence to
27          Companies received fees    ¶ 34 (providing                   support this assertion.
                                       total number of
28
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               from over 23,000                  consumers per           Nesheiwat objects to and
1
               customers.                        company who             moves to strike:
2                                                paid all or part of
3                                                their fees within           SJ Ex. 25 (Heidari Decl.)
                                                 90 days, after          at ¶ 34
4                                                excluding
5                                                consumers who           because it:
                                                 received full
6                                                refunds).                   (a) is irrelevant and
7                                                                        improper non-designated
                                                                         expert witness and expert
8                                                                        testimony;
9                                                                           (b) is irrelevant and
                                                                         improper opinion;
10                                                                          (c) is irrelevant;
11                                                                          (d) is hearsay and multiple
                                                                         hearsay;
12                                                                          (e) is based on hearsay
13                                                                       (i.e., documents);
                                                                            (f) lacks personal
14                                                                       knowledge, foundation.
15
                                                                         See Evidentiary Objections:
16                                                                       Heidari Decl. Objections.
17
        VII.     Nesheiwat’s Role in the Student Debt Relief Operation and Knowledge
18               of its Practices
19
       263. In early 2015, Nesheiwat             SJ Ex. 1 (Hoose         DISPUTED: Ex. 129
20          helped launch Docu Prep              Decl.) at ¶¶ 13-        (Lepiscopo Decl. at ¶¶ 6 &
21          Center as a new business.            14, 16-20; SJ Ex.       7); Ex. 130 (Martinez CID at
                                                 4 (Sklar Decl.) at      p. 153, l. 10 to p. 154, l. 12);
22                                               ¶¶ 13-15; SJ Ex.        Ex. 131 (Articles of
23                                               2a (Lawson Decl.        incorporation and certificate
                                                 Ex. 1; see also SJ      of limited partners for the
24                                               Ex. 7 (Nesheiwat        Companies); and the
25                                               Dep.) at 40:22-         following exhibits show that
                                                 41:6 (invoking          Nesheiwat did not order
26                                               Fifth                   prescreened lists from
27                                               Amendment).             Experian but rather Max
                                                                         Chou, Bill Abdel, and
28
     CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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                                                                         David Sklar worked with
1
                                                                         and directed Experian and
2                                                                        ordered pre-screened lists
3                                                                        from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
4                                                                        and Exs. 132 through 140.
5
                                                                         Nesheiwat objects to and
6                                                                        moves to strike:
7
                                                                           SJ Ex. 1 (Hoose Decl.) at
8                                                                        ¶¶ 13-14, 16-20;
9                                                                          SJ Ex. 4 (Sklar Decl.) at
                                                                         ¶¶ 13-15;
10                                                                         SJ Ex. 2a (Lawson Decl.
11                                                                       Ex. 1).

12                                                                       because they:
13
                                                                            (a) are vague and
14                                                                       ambiguous as to time;
15                                                                          (b) are hearsay and
                                                                         multiple hearsay;
16                                                                          (c) are irrelevant;
17                                                                          (d) are based on hearsay
                                                                         (i.e., documents);
18                                                                          (e) lack personal
19                                                                       knowledge, foundation.
                                                                            See Evidentiary
20                                                                       Objections: Sklar Decl.
21                                                                       Objections; Lawson Decl.
                                                                         Objections and Hoose Decl.
22                                                                       Objections.
23
                                                                           SJ Ex. 7 (Nesheiwat
24                                                                       Dep.) at 40:22-41:6.
25
                                                                         because it is:
26
27                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
28
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1
                                                                    See Nesheiwat Dep.
2                                                                   Objections.
3      264. Between 2015 and 2017,               SJ Ex. 1 (Hoose    DISPUTED: Ex. 129
            Nesheiwat participated               Decl.) at ¶¶ 22,   (Lepiscopo Decl. at ¶¶ 6 &
4           extensively in the                   36, 39, 60; SJ Ex. 7); Ex. 130 (Martinez CID at
5           management and                       4 (Sklar Decl.) at p. 153, l. 10 to p. 154, l. 12);
            operation of Docu Prep               ¶¶ 19-20, 23, 27, Ex. 131 (Articles of
6           Center.                              29, 46; SJ Ex. 3   incorporation and certificate
7                                                (Mason Decl.) at of limited partners for the
                                                 ¶¶ 10, 12-13; SJ   Companies); and the
8                                                Ex. 6 (Sebreros    following exhibits show that
9                                                Dep.) at 31:1-22; Nesheiwat did not order
                                                 see also SJ Ex. 7 prescreened lists from
10                                               (Nesheiwat Dep.) Experian but rather Max
11                                               at 45:3-48:15      Chou, Bill Abdel, and
                                                 (invoking Fifth    David Sklar worked with
12                                               Amendment)         and directed Experian and
13                                                                  ordered pre-screened lists
                                                                    from Experian: Ex. 129
14                                                                  (Lepiscopo Decl. at ¶¶ 8-16)
15                                                                  and Exs. 132 through 140.

16                                                                       Nesheiwat objects to and
17                                                                       moves to strike:

18                                                                           SJ Ex. 1 (Hoose Decl.) at
19                                                                       ¶¶ 22, 36, 39, 60;
                                                                             SJ Ex. 4 (Sklar Decl.) at
20                                                                       ¶¶ 19-20, 23, 27, 29, 46;
21                                                                           SJ Ex. 3 (Mason Decl.) at
                                                                         ¶¶ 10, 12-13;
22                                                                          SJ Ex. 6 (Sebreros Dep.)
23                                                                       at 31:1-22.
24                                                                       because they:
25
                                                                          (a) are improper opinions;
26                                                                        (b) are vague and
27                                                                       ambiguous as to time;
28
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                                                    134
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                                                                            (c) are hearsay and
1
                                                                         multiple hearsay;
2                                                                           (d) are irrelevant;
3                                                                           (e) are based on hearsay
                                                                         (i.e., documents);
4                                                                           (f) lack personal
5                                                                        knowledge, foundation.

6                                                                         See Evidentiary
7                                                                        Objections: Sklar Decl.
                                                                         Objections; Sklar
8                                                                        Objections; Mason
9                                                                        Objections; and Hoose Decl.
                                                                         Objections.
10
11                                                                         SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 45:3-48:15.
12
13                                                                       because it is:

14                                                                         (a) irrelevant & prejudicial;
15                                                                         (b) violates Griffin.

16                                                                       See Nesheiwat Dep.
17                                                                       Objections.
       265. Of Docu Prep Center’s                SJ Ex. 4 (Sklar         DISPUTED: Ex. 129
18          limited partners,                    Decl.) at ¶ 19          (Lepiscopo Decl. at ¶¶ 6 &
19          Nesheiwat was the most                                       7); Ex. 130 (Martinez CID at
            involved in the daily                                        p. 153, l. 10 to p. 154, l. 12);
20          operations of the                                            Ex. 131 (Articles of
21          company.                                                     incorporation and certificate
                                                                         of limited partners for the
22                                                                       Companies); and the
23                                                                       following exhibits show that
                                                                         Nesheiwat did not order
24                                                                       prescreened lists from
25                                                                       Experian but rather Max
                                                                         Chou, Bill Abdel, and
26                                                                       David Sklar worked with
27                                                                       and directed Experian and
                                                                         ordered pre-screened lists
28
     CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
                                                    135
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                                                                         from Experian: Ex. 129
1
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
2                                                                        and Exs. 132 through 140.
3
                                                                         Nesheiwat objects to and
4                                                                        moves to strike:
5
                                                                           SJ Ex. 4 (Sklar Decl.) at ¶
6                                                                        19
7
                                                                         because it:
8
9                                                                           (a) is improper opinion;
                                                                            (b) is vague and
10                                                                       ambiguous as to time;
11                                                                          (c) is hearsay and multiple
                                                                         hearsay;
12                                                                          (d) is irrelevant;
13                                                                          (e) is based on hearsay
                                                                         (i.e., documents);
14                                                                          (f) lacks personal
15                                                                       knowledge, foundation.

16                                                                         See Evidentiary
17                                                                       Objections: Sklar Decl.
                                                                         Objections.
18     266. Nesheiwat helped select              SJ Ex. 1 (Hoose         DISPUTED: Ex. 129
19          Docu Prep Center’s two               Decl.) at ¶ 16; SJ      (Lepiscopo Decl. at ¶¶ 6 &
            co-managers.                         Ex. 4 (Sklar            7); Ex. 130 (Martinez CID at
20                                               Decl.) at ¶ 5           p. 153, l. 10 to p. 154, l. 12);
21                                                                       Ex. 131 (Articles of
                                                                         incorporation and certificate
22                                                                       of limited partners for the
23                                                                       Companies); and the
                                                                         following exhibits show that
24                                                                       Nesheiwat did not order
25                                                                       prescreened lists from
                                                                         Experian but rather Max
26                                                                       Chou, Bill Abdel, and
27                                                                       David Sklar worked with
                                                                         and directed Experian and
28
     CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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                                                                         ordered pre-screened lists
1
                                                                         from Experian: Ex. 129
2                                                                        (Lepiscopo Decl. at ¶¶ 8-16)
3                                                                        and Exs. 132 through 140.

4                                                                        Nesheiwat objects to and
5                                                                        moves to strike:

6                                                                           SJ Ex. 1 (Hoose Decl.) at
7                                                                        ¶ 74 & Ex. 15;
                                                                            SJ Ex. 4j (Sklar Decl. Ex.
8                                                                        10.)
9
                                                                         because they:
10
11                                                                          (a) are improper opinions;
                                                                            (b) are vague and
12                                                                       ambiguous as to time;
13                                                                          (c) are hearsay and
                                                                         multiple hearsay;
14                                                                          (d) are irrelevant;
15                                                                          (e) are based on hearsay
                                                                         (i.e., documents);
16                                                                          (f) lack personal
17                                                                       knowledge, foundation.

18                                                                         See Evidentiary
19                                                                       Objections: Sklar Decl.
                                                                         Objections and Hoose Decl.
20                                                                       Objections.
21     267. One of the managers was              SJ Ex. 4 (Sklar         DISPUTED: Ex. 129
            a career bartender with no           Decl.) at ¶¶ 2, 6       (Lepiscopo Decl. at ¶¶ 6 &
22          prior management or                                          7); Ex. 130 (Martinez CID at
23          executive experience.                                        p. 153, l. 10 to p. 154, l. 12);
                                                                         Ex. 131 (Articles of
24                                                                       incorporation and certificate
25                                                                       of limited partners for the
                                                                         Companies); and the
26                                                                       following exhibits show that
27                                                                       Nesheiwat did not order
                                                                         prescreened lists from
28
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                                                                         Experian but rather Max
1
                                                                         Chou, Bill Abdel, and
2                                                                        David Sklar worked with
3                                                                        and directed Experian and
                                                                         ordered pre-screened lists
4                                                                        from Experian: Ex. 129
5                                                                        (Lepiscopo Decl. at ¶¶ 8-16)
                                                                         and Exs. 132 through 140.
6
7                                                                        Nesheiwat objects to and
                                                                         moves to strike:
8
9                                                                          SJ Ex. 4 (Sklar Decl.) at
                                                                         ¶¶ 2, 6
10
11                                                                       because it:

12                                                                          (a) is an improper opinion;
13                                                                          (b) is vague and
                                                                         ambiguous as to time;
14                                                                          (c) is hearsay and multiple
15                                                                       hearsay;
                                                                            (d) is irrelevant;
16                                                                          (e) is based on hearsay
17                                                                       (i.e., documents);
                                                                            (f) lacks personal
18                                                                       knowledge, foundation.
19
                                                                           See Evidentiary
20                                                                       Objections: Sklar Decl.
21                                                                       Objections and Hoose Decl.
                                                                         Objections.
22     268. The other manager also               SJ Ex. 4 (Sklar         DISPUTED: Ex. 129
23          had no prior executive               Decl.) at ¶ 12          (Lepiscopo Decl. at ¶¶ 6 &
            experience.                                                  7); Ex. 130 (Martinez CID at
24                                                                       p. 153, l. 10 to p. 154, l. 12);
25                                                                       Ex. 131 (Articles of
                                                                         incorporation and certificate
26                                                                       of limited partners for the
27                                                                       Companies); and the
                                                                         following exhibits show that
28
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                                                                         Nesheiwat did not order
1
                                                                         prescreened lists from
2                                                                        Experian but rather Max
3                                                                        Chou, Bill Abdel, and
                                                                         David Sklar worked with
4                                                                        and directed Experian and
5                                                                        ordered pre-screened lists
                                                                         from Experian: Ex. 129
6                                                                        (Lepiscopo Decl. at ¶¶ 8-16)
7                                                                        and Exs. 132 through 140.

8                                                                        Nesheiwat objects to and
9                                                                        moves to strike:

10                                                                         SJ Ex. 4 (Sklar Decl.) at ¶
11                                                                       12

12                                                                       because it:
13
                                                                            (a) is improper opinion;
14                                                                          (b) is vague and
15                                                                       ambiguous as to time;
                                                                            (c) is hearsay and multiple
16                                                                       hearsay;
17                                                                          (d) is irrelevant;
                                                                            (e) is based on hearsay
18                                                                       (i.e., documents);
19                                                                          (f) lacks personal
                                                                         knowledge, foundation.
20
21                                                                    See Evidentiary
                                                                    Objections: Sklar Decl.
22                                                                  Objections.
23     269. Nesheiwat gave Docu                  SJ Ex. 1 (Hoose    DISPUTED: Ex. 129
            Prep Center’s two                    Decl.) at ¶¶18-20, (Lepiscopo Decl. at ¶¶ 6 &
24          managers directions                  22; SJ Ex. 3       7); Ex. 130 (Martinez CID at
25          regarding how to market              (Mason Decl.) at p. 153, l. 10 to p. 154, l. 12);
            and sell Docu Prep                   ¶¶ 12-13; SJ Ex. Ex. 131 (Articles of
26          Center’s services, which             4 (Sklar Decl.) at incorporation and certificate
27          the managers followed.               ¶¶ 6, 12, 14-15,   of limited partners for the
                                                 19-20, 23; see     Companies); and the
28
     CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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                                                 also SJ Ex. 7           following exhibits show that
1
                                                 (Nesheiwat Dep.)        Nesheiwat did not order
2                                                at 43:3-7               prescreened lists from
3                                                (invoking Fifth         Experian but rather Max
                                                 Amendment)              Chou, Bill Abdel, and
4                                                                        David Sklar worked with
5                                                                        and directed Experian and
                                                                         ordered pre-screened lists
6                                                                        from Experian: Ex. 129
7                                                                        (Lepiscopo Decl. at ¶¶ 8-16)
                                                                         and Exs. 132 through 140.
8
9                                                                        Nesheiwat objects to and
                                                                         moves to strike:
10
11                                                                         SJ Ex. 1 (Hoose Decl.) at
                                                                         ¶¶18-20, 22;
12                                                                         SJ Ex. 3 (Mason Decl.) at
13                                                                       ¶¶ 12-13;
                                                                           SJ Ex. 4 (Sklar Decl.) at
14                                                                       ¶¶ 6, 12, 14-15, 19-20, 23
15
                                                                         because they:
16
17                                                                                 (a) are improper
                                                                         opinions;
18                                                                          (b) are vague and
19                                                                       ambiguous as to time;
                                                                            (c) are hearsay and
20                                                                       multiple hearsay;
21                                                                          (d) are irrelevant;
                                                                            (e) are based on hearsay
22                                                                       (i.e., documents);
23                                                                          (f) lack personal
                                                                         knowledge, foundation.
24
25                                                                        See Evidentiary
                                                                         Objections: Sklar Decl.
26                                                                       Objections; Mason Decl.
27                                                                       Objections; and Hoose Decl.
                                                                         Objections.
28
     CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
                                                    140
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1
                                                                           SJ Ex. 7 (Nesheiwat
2                                                                        Dep.) at 43:3-7.
3
                                                                         because it is:
4
5                                                                          (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
6
7                                                                        See Nesheiwat Dep.
                                                                         Objections.
8      270. Nesheiwat oversaw Docu               SJ Ex. 1 (Hoose         DISPUTED: Ex. 129
9           Prep Center’s direct mail            Decl.) at ¶¶ 28,        (Lepiscopo Decl. at ¶¶ 6 &
            marketing between 2015               31, 33, 36, 37,         7); Ex. 130 (Martinez CID at
10          and 2017.                            39, 43, 49, 51; SJ      p. 153, l. 10 to p. 154, l. 12);
11                                               Ex. 4 (Sklar            Ex. 131 (Articles of
                                                 Decl.) at ¶¶ 23,        incorporation and certificate
12                                               27, 29, 33-34; SJ       of limited partners for the
13                                               Ex. 4b (Sklar           Companies); and the
                                                 Decl. Ex. 2); SJ        following exhibits show that
14                                               Ex. 6 (Sebreros         Nesheiwat did not order
15                                               Dep.) at 31:1-22        prescreened lists from
                                                                         Experian but rather Max
16                                                                       Chou, Bill Abdel, and
17                                                                       David Sklar worked with
                                                                         and directed Experian and
18                                                                       ordered pre-screened lists
19                                                                       from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
20                                                                       and Exs. 132 through 140.
21
                                                                         Nesheiwat objects to and
22                                                                       moves to strike:
23
                                                                            SJ Ex. 1 (Hoose Decl.) at
24                                                                       ¶¶ 28, 31, 33, 36, 37, 39, 43,
25                                                                       49, 51;
                                                                            SJ Ex. 4 (Sklar Decl.) at
26                                                                       ¶¶ 23, 27, 29, 33-34;
27                                                                          SJ Ex. 4b (Sklar Decl.
                                                                         Ex. 2);
28
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                                                                             SJ Ex. 6 (Sebreros Dep.)
1
                                                                         at 31:1-22
2
3                                                                        because they:

4                                                                           (a) are improper opinions;
5                                                                           (b) are vague and
                                                                         ambiguous as to time;
6                                                                           (c) are hearsay and
7                                                                        multiple hearsay;
                                                                            (d) are irrelevant;
8                                                                           (e) are based on hearsay
9                                                                        (i.e., documents);
                                                                            (f) lack personal
10                                                                       knowledge, foundation.
11
                                                                       See Evidentiary
12                                                                   Objections: Sklar Decl.
13                                                                   Objections; Sebreros Dep.
                                                                     Objections; and Hoose Decl.
14                                                                   Objections.
15     271. Nesheiwat made edits to              SJ Ex. 1 (Hoose     DISPUTED: Ex. 129
            the SLDR Companies’                  Decl.) at ¶ 36; see (Lepiscopo Decl. at ¶¶ 6 &
16          template for the                     also SJ Ex. 7       7); Ex. 130 (Martinez CID at
17          Solicitation Letters.                (Nesheiwat Dep.) p. 153, l. 10 to p. 154, l. 12);
                                                 at 47:14-18,        Ex. 131 (Articles of
18                                               56:20-57:23         incorporation and certificate
19                                               (invoking Fifth     of limited partners for the
                                                 Amendment)          Companies); and the
20                                                                   following exhibits show that
21                                                                   Nesheiwat did not order
                                                                     prescreened lists from
22                                                                   Experian but rather Max
23                                                                   Chou, Bill Abdel, and
                                                                     David Sklar worked with
24                                                                   and directed Experian and
25                                                                   ordered pre-screened lists
                                                                     from Experian: Ex. 129
26                                                                   (Lepiscopo Decl. at ¶¶ 8-16)
27                                                                   and Exs. 132 through 140.
28
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                                                                         Nesheiwat objects to and
1
                                                                         moves to strike:
2
3                                                                           SJ Ex. 1 (Hoose Decl.) at
                                                                         ¶ 36
4
5                                                                        because it:

6                                                                           (a) is improper opinion;
7                                                                           (b) is vague and
                                                                         ambiguous as to time;
8                                                                           (c) is hearsay and multiple
9                                                                        hearsay;
                                                                            (d) is irrelevant;
10                                                                          (e) is based on hearsay
11                                                                       (i.e., documents);
                                                                            (f) lacks personal
12                                                                       knowledge, foundation.
13
                                                                          See Evidentiary
14                                                                       Objections: Sklar Decl.
15                                                                       Objections and Hoose Decl.
                                                                         Objections.
16
17                                                                          SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 47:14-18, 56:20-
18                                                                       57:23.
19
                                                                         because it is:
20
21                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
22
23                                                                       See Nesheiwat Dep.
                                                                         Objections.
24     272. Any edits Docu Prep      SJ Ex. 1 (Hoose                     DISPUTED: Ex. 129
25          Center’s direct mail     Decl.) at ¶ 36                      (Lepiscopo Decl. at ¶¶ 6 &
            template that Docu Prep                                      7); Ex. 130 (Martinez CID at
26          Center’s managers wanted                                     p. 153, l. 10 to p. 154, l. 12);
27          to make had to be                                            Ex. 131 (Articles of
            approved by Nesheiwat.                                       incorporation and certificate
28
     CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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                                                                         of limited partners for the
1
                                                                         Companies); and the
2                                                                        following exhibits show that
3                                                                        Nesheiwat did not order
                                                                         prescreened lists from
4                                                                        Experian but rather Max
5                                                                        Chou, Bill Abdel, and
                                                                         David Sklar worked with
6                                                                        and directed Experian and
7                                                                        ordered pre-screened lists
                                                                         from Experian: Ex. 129
8                                                                        (Lepiscopo Decl. at ¶¶ 8-16)
9                                                                        and Exs. 132 through 140.

10                                                                       Nesheiwat objects to and
11                                                                       moves to strike:

12                                                                          SJ Ex. 1 (Hoose Decl.) at
13                                                                       ¶ 36

14                                                                       because it:
15
                                                                            (a) is improper opinion;
16                                                                          (b) is vague and
17                                                                       ambiguous as to time;
                                                                            (c) is hearsay and multiple
18                                                                       hearsay;
19                                                                          (d) is irrelevant;
                                                                            (e) is based on hearsay
20                                                                       (i.e., documents);
21                                                                          (f) lacks personal
                                                                         knowledge, foundation.
22
23                                                                         See Evidentiary
                                                                         Objections: Sklar Decl.
24                                                                       Objections and Hoose Decl.
25                                                                       Objections.
       273. In February 2015,                    SJ Ex. 1 (Hoose         DISPUTED: Ex. 129
26          Nesheiwat directed Docu              Decl.) at ¶¶ 19,        (Lepiscopo Decl. at ¶¶ 6 &
27          Prep Center’s managers to            20, 60; see also        7); Ex. 130 (Martinez CID at
            adapt and use sales scripts          SJ Ex. 4 (Sklar         p. 153, l. 10 to p. 154, l. 12);
28
     CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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              provided by Student Loan           Decl.) at ¶ 46; SJ      Ex. 131 (Articles of
1
              Processing Center.                 Ex. 14                  incorporation and certificate
2                                                (Nesheiwat RFA          of limited partners for the
3                                                Resp. No. 19) at        Companies); and the
                                                 29-30 (invoking         following exhibits show that
4                                                Fifth                   Nesheiwat did not order
5                                                Amendment)              prescreened lists from
                                                                         Experian but rather Max
6                                                                        Chou, Bill Abdel, and
7                                                                        David Sklar worked with
                                                                         and directed Experian and
8                                                                        ordered pre-screened lists
9                                                                        from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
10                                                                       and Exs. 132 through 140.
11
                                                                         Nesheiwat objects to and
12                                                                       moves to strike:
13
                                                                           SJ Ex. 1 (Hoose Decl.) at
14                                                                       ¶¶ 19, 20, 60;
15                                                                         SJ Ex. 4 (Sklar Decl.) at ¶
                                                                         46
16
17                                                                       because they:

18                                                                       (a) are improper opinions;
19                                                                          (b) are vague and
                                                                         ambiguous as to time;
20                                                                          (c) are hearsay and
21                                                                       multiple hearsay;
                                                                            (d) are irrelevant;
22                                                                          (e) are based on hearsay
23                                                                       (i.e., documents);
                                                                            (f) lack personal
24                                                                       knowledge, foundation.
25
                                                                          See Evidentiary
26                                                                       Objections: Sklar Decl.
27                                                                       Objections and Hoose Decl.
                                                                         Objections.
28
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1
                                                                           SJ Ex. 14 (Nesheiwat
2                                                                        RFA Resp. No. 19) at 29-30.
3
                                                                         because it is:
4                                                                         (a) irrelevant & prejudicial;
5                                                                         (b) violates Griffin.

6                                                                        See Nesheiwat RFA
7                                                                        Objections.
       274. Nesheiwat was familiar               SJ Ex. 4 (Sklar         DISPUTED: Ex. 129
8           with the sales scripts that          Decl.) at ¶¶ 44,        (Lepiscopo Decl. at ¶¶ 6 &
9           Docu Prep Center used.               46; SJ Ex. 4h           7); Ex. 130 (Martinez CID at
                                                 (Sklar Decl. Ex. 8      p. 153, l. 10 to p. 154, l. 12);
10                                               (email sending          Ex. 131 (Articles of
11                                               script to               incorporation and certificate
                                                 Nesheiwat); SJ          of limited partners for the
12                                               Ex. 53 (email to        Companies); and the
13                                               Nesheiwat re on-        following exhibits show that
                                                 hold script); see       Nesheiwat did not order
14                                               also SJ Ex. 5           prescreened lists from
15                                               (Van Loon Decl.)        Experian but rather Max
                                                 at ¶¶ 22, 24, 25        Chou, Bill Abdel, and
16                                               (authenticating SJ      David Sklar worked with
17                                               Ex. 53); SJ Ex. 7       and directed Experian and
                                                 (Nesheiwat Dep.)        ordered pre-screened lists
18                                               at 52:12-53:13          from Experian: Ex. 129
19                                               (invoking Fifth         (Lepiscopo Decl. at ¶¶ 8-16)
                                                 Amendment)              and Exs. 132 through 140.
20
21                                                                       Nesheiwat objects to and
                                                                         moves to strike:
22
23                                                                          SJ Ex. 4 (Sklar Decl.) at
                                                                         ¶¶ 44, 46;
24                                                                          SJ Ex. 4h (Sklar Decl.
25                                                                       Ex. 8);
                                                                            SJ Ex. 53 (email to
26                                                                       Nesheiwat re on-hold script);
27                                                                          SJ Ex. 5 (Van Loon
                                                                         Decl.) at ¶¶ 22, 24, 25
28
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1
                                                                         because they:
2
3                                                                           (a) are improper opinions;
                                                                            (b) are vague and
4                                                                        ambiguous as to time;
5                                                                           (c) are hearsay and
                                                                         multiple hearsay;
6                                                                           (d) are irrelevant;
7                                                                           (e) are based on hearsay
                                                                         (i.e., documents);
8                                                                           (f) lack personal
9                                                                        knowledge, foundation.

10                                                                        See Evidentiary
11                                                                       Objections: Sklar Decl.
                                                                         Objections and Hoose Decl.
12                                                                       Objections.
13
                                                                           SJ Ex. 7 (Nesheiwat
14                                                                       Dep.) at 52:12-53:13.
15
                                                                         because it is:
16
17                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
18
19                                                                   See Nesheiwat Dep.
                                                                     Objections.
20     275. Nesheiwat made edits to              SJ Ex. 4 (Sklar     DISPUTED: Ex. 129
21          Docu Prep Center’s sales             Decl.) at ¶ 46; see (Lepiscopo Decl. at ¶¶ 6 &
            scripts.                             also SJ Ex. 7       7); Ex. 130 (Martinez CID at
22                                               (Nesheiwat Dep.) p. 153, l. 10 to p. 154, l. 12);
23                                               at 52:12-53:13      Ex. 131 (Articles of
                                                 (invoking Fifth     incorporation and certificate
24                                               Amendment)          of limited partners for the
25                                                                   Companies); and the
                                                                     following exhibits show that
26                                                                   Nesheiwat did not order
27                                                                   prescreened lists from
                                                                     Experian but rather Max
28
     CONSOL. STMTS. OF UNDISPUTED & DISPUTED FACTS ISO PL.’S MOT. FOR SUMM. JUDG. AGAINST DEF. NESHEIWAT
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                                                                         Chou, Bill Abdel, and
1
                                                                         David Sklar worked with
2                                                                        and directed Experian and
3                                                                        ordered pre-screened lists
                                                                         from Experian: Ex. 129
4                                                                        (Lepiscopo Decl. at ¶¶ 8-16)
5                                                                        and Exs. 132 through 140.

6                                                                        Nesheiwat objects to and
7                                                                        moves to strike:

8                                                                         SJ Ex. 4 (Sklar Decl.) at ¶
9                                                                        46

10                                                                       because it:
11
                                                                            (a) is improper opinion;
12                                                                          (b) is vague and
13                                                                       ambiguous as to time;
                                                                            (c) is hearsay and multiple
14                                                                       hearsay;
15                                                                          (d) is irrelevant;
                                                                            (e) is based on hearsay
16                                                                       (i.e., documents);
17                                                                          (f) lacks personal
                                                                         knowledge, foundation.
18
19                                                                        See Evidentiary
                                                                         Objections: Sklar Decl.
20                                                                       Objections and Hoose Decl.
21                                                                       Objections.

22                                                                         SJ Ex. 7 (Nesheiwat
23                                                                       Dep.) at 52:12-53:13.
24                                                                       because it is:
25
                                                                           (a) irrelevant & prejudicial;
26                                                                         (b) violates Griffin.
27
28
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                                                          See Nesheiwat Dep.
1
                                                          Objections.
2      276. Nesheiwat approved        SJ Ex. 4 (Sklar     DISPUTED: Ex. 129
3           changes that were made to Decl.) at ¶ 46; see (Lepiscopo Decl. at ¶¶ 6 &
            Docu Prep Center’s sales also SJ Ex. 7        7); Ex. 130 (Martinez CID at
4           scripts.                  (Nesheiwat Dep.) p. 153, l. 10 to p. 154, l. 12);
5                                     at 52:12-53:13      Ex. 131 (Articles of
                                      (invoking Fifth     incorporation and certificate
6                                     Amendment)          of limited partners for the
7                                                         Companies); and the
                                                          following exhibits show that
8                                                         Nesheiwat did not order
9                                                         prescreened lists from
                                                          Experian but rather Max
10                                                        Chou, Bill Abdel, and
11                                                        David Sklar worked with
                                                          and directed Experian and
12                                                        ordered pre-screened lists
13                                                        from Experian: Ex. 129
                                                          (Lepiscopo Decl. at ¶¶ 8-16)
14                                                        and Exs. 132 through 140.
15
                                                                         Nesheiwat objects to and
16                                                                       moves to strike:
17
                                                                           SJ Ex. 4 (Sklar Decl.) at ¶
18                                                                       46
19
                                                                         because they:
20
21                                                                          (a) are improper opinions;
                                                                            (b) are vague and
22                                                                       ambiguous as to time;
23                                                                          (c) are hearsay and
                                                                         multiple hearsay;
24
                                                                            (d) are irrelevant;
25                                                                          (e) are based on hearsay
                                                                         (i.e., documents);
26
                                                                            (f) lack personal
27                                                                       knowledge, foundation.
28
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                                                                          See Evidentiary
1
                                                                         Objections: Sklar Decl.
2                                                                        Objections.
3
                                                                           SJ Ex. 7 (Nesheiwat
4                                                                        Dep.) at 52:12-53:13.
5
                                                                         because it is:
6
7                                                                          (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
8
9                                                         See Nesheiwat Dep.
                                                          Objections.
10     277. Nesheiwat made no efforts SJ Ex. 4 (Sklar     DISPUTED: Ex. 129
11          to verify the truthfulness Decl.) at ¶ 47; SJ (Lepiscopo Decl. at ¶¶ 6 &
            of Docu Prep Center’s      Ex. 1 (Hoose       7); Ex. 130 (Martinez CID at
12          statements regarding loan Decl.) at ¶ 69; see p. 153, l. 10 to p. 154, l. 12);
13          consolidation in its sales also SJ Ex. 7      Ex. 131 (Articles of
            scripts.                   (Nesheiwat Dep.) incorporation and certificate
14                                     at 112:12-23       of limited partners for the
15                                     (invoking Fifth    Companies); and the
                                       Amendment).        following exhibits show that
16                                                        Nesheiwat did not order
17                                                        prescreened lists from
                                                          Experian but rather Max
18                                                        Chou, Bill Abdel, and
19                                                        David Sklar worked with
                                                          and directed Experian and
20                                                        ordered pre-screened lists
21                                                        from Experian: Ex. 129
                                                          (Lepiscopo Decl. at ¶¶ 8-16)
22                                                        and Exs. 132 through 140.
23
                                                                         Nesheiwat objects to and
24                                                                       moves to strike:
25
                                                                            SJ Ex. 4 (Sklar Decl.) at ¶
26                                                                       47;
27                                                                          SJ Ex. 1 (Hoose Decl.) at
                                                                         ¶ 69
28
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1
                                                                         because they:
2
3                                                                           (a) are improper opinions;
                                                                            (b) are vague and
4                                                                        ambiguous as to time;
5                                                                           (c) are hearsay and
                                                                         multiple hearsay;
6                                                                           (d) are irrelevant;
7                                                                           (e) are based on hearsay
                                                                         (i.e., documents);
8                                                                           (f) lack personal
9                                                                        knowledge, foundation.

10                                                                        See Evidentiary
11                                                                       Objections: Sklar Decl.
                                                                         Objections and Hoose Decl.
12                                                                       Objections.
13
                                                                           SJ Ex. 7 (Nesheiwat
14                                                                       Dep.) at 112:12-23.
15
                                                                         because it is:
16
17                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
18
19                                                                       See Nesheiwat Dep.
                                                                         Objections.
20
21
                                                         SJ Ex. 4 (Sklar Decl.) at ¶
22                                                       47; SJ Ex. 1 (Hoose Decl.) at
23                                                       ¶ 69; see also SJ Ex. 7
                                                         (Nesheiwat Dep.) at 112:12-
24                                                       23 (invoking Fifth
25                                                       Amendment).
       278. Nesheiwat made no efforts SJ Ex. 3 (Mason DISPUTED: Ex. 129
26          to verify the truthfulness Decl.) at ¶ 22;   (Lepiscopo Decl. at ¶¶ 6 &
27          of Docu Prep Center and    see also SJ Ex. 7 7); Ex. 130 (Martinez CID at
            Certified Doc Prep         (Nesheiwat Dep.) p. 153, l. 10 to p. 154, l. 12);
28
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              Services’ statements in the at 100:21-101:1                Ex. 131 (Articles of
1
              Solicitation Letters.       (invoking Fifth                incorporation and certificate
2                                         Amendment).                    of limited partners for the
3                                                                        Companies); and the
                                                                         following exhibits show that
4                                                                        Nesheiwat did not order
5                                                                        prescreened lists from
                                                                         Experian but rather Max
6                                                                        Chou, Bill Abdel, and
7                                                                        David Sklar worked with
                                                                         and directed Experian and
8                                                                        ordered pre-screened lists
9                                                                        from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
10                                                                       and Exs. 132 through 140.
11
                                                                         Nesheiwat objects to and
12                                                                       moves to strike:
13
                                                                            SJ Ex. 3 (Mason Decl.) at
14                                                                       ¶ 22
15
                                                                         because it:
16
17                                                                          (a) is improper opinion;
                                                                            (b) is vague and
18                                                                       ambiguous as to time;
19                                                                          (c) is hearsay and multiple
                                                                         hearsay;
20                                                                          (d) is irrelevant;
21                                                                          (e) is based on hearsay
                                                                         (i.e., documents);
22                                                                          (f) lacks personal
23                                                                       knowledge, foundation.
                                                                            See Evidentiary
24                                                                       Objections: Mason Decl.
25                                                                       Objections.
26                                                                         SJ Ex. 7 (Nesheiwat
27                                                                       Dep.) at 100:21-101:1.
28
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                                                                         because it is:
1
2                                                                          (a) irrelevant & prejudicial;
3                                                                          (b) violates Griffin.

4                                                                        See Nesheiwat Dep.
5                                                                        Objections.
       279. Nesheiwat provided           SJ Ex. 3 (Mason                 DISPUTED: Ex. 129
6           instructions and training to Decl.) at ¶ 13                  (Lepiscopo Decl. at ¶¶ 6 &
7           Docu Prep Center sales                                       7); Ex. 130 (Martinez CID at
            employees on how to sell                                     p. 153, l. 10 to p. 154, l. 12);
8           the company’s services                                       Ex. 131 (Articles of
9           over the phone.                                              incorporation and certificate
                                                                         of limited partners for the
10                                                                       Companies); and the
11                                                                       following exhibits show that
                                                                         Nesheiwat did not order
12                                                                       prescreened lists from
13                                                                       Experian but rather Max
                                                                         Chou, Bill Abdel, and
14                                                                       David Sklar worked with
15                                                                       and directed Experian and
                                                                         ordered pre-screened lists
16                                                                       from Experian: Ex. 129
17                                                                       (Lepiscopo Decl. at ¶¶ 8-16)
                                                                         and Exs. 132 through 140.
18
19                                                                       Nesheiwat objects to and
                                                                         moves to strike:
20
21                                                                          SJ Ex. 3 (Mason Decl.) at
                                                                         ¶ 13
22
23                                                                       because it:
24                                                                         (a) is improper opinion;
25                                                                         (b) is vague and
                                                                         ambiguous as to time;
26                                                                         (c) is hearsay and multiple
27                                                                       hearsay;
                                                                           (d) is irrelevant;
28
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                                                                            (e) is based on hearsay
1
                                                                         (i.e., documents);
2                                                                           (f) lacks personal
3                                                                        knowledge, foundation.

4                                                                          See Evidentiary
5                                                                        Objections: Mason Decl.
                                                                         Objections.
6      280. For example, Nesheiwat    SJ Ex. 3 (Mason                    DISPUTED: Ex. 129
7           coached Docu Prep Center Decl.) at ¶ 13                      (Lepiscopo Decl. at ¶¶ 6 &
            sales employees on how to                                    7); Ex. 130 (Martinez CID at
8           overcome consumers’                                          p. 153, l. 10 to p. 154, l. 12);
9           objections during sales                                      Ex. 131 (Articles of
            calls, so that the sales                                     incorporation and certificate
10          employees could complete                                     of limited partners for the
11          their sales.                                                 Companies); and the
                                                                         following exhibits show that
12                                                                       Nesheiwat did not order
13                                                                       prescreened lists from
                                                                         Experian but rather Max
14                                                                       Chou, Bill Abdel, and
15                                                                       David Sklar worked with
                                                                         and directed Experian and
16                                                                       ordered pre-screened lists
17                                                                       from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
18                                                                       and Exs. 132 through 140.
19
                                                                         Nesheiwat objects to and
20                                                                       moves to strike:
21
                                                                            SJ Ex. 3 (Mason Decl.) at
22                                                                       ¶ 13
23
                                                                         because it:
24
25                                                                         (a) is improper opinion;
                                                                           (b) is vague and
26                                                                       ambiguous as to time;
27                                                                         (c) is hearsay and multiple
                                                                         hearsay;
28
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                                                                            (d) is irrelevant;
1
                                                                            (e) is based on hearsay
2                                                                        (i.e., documents);
3                                                                           (f) lacks personal
                                                                         knowledge, foundation.
4
5                                                                          See Evidentiary
                                                                         Objections: Mason Decl.
6                                                                        Objections.
7      281. Nesheiwat provided        SJ Ex. 4 (Sklar                    DISPUTED: Ex. 129
            directions to Docs Done   Decl.) at ¶ 21                     (Lepiscopo Decl. at ¶¶ 6 &
8           Right’s manager regarding                                    7); Ex. 130 (Martinez CID at
9           the services Docs Done                                       p. 153, l. 10 to p. 154, l. 12);
            Right provided to                                            Ex. 131 (Articles of
10          consumers on behalf of                                       incorporation and certificate
11          Docu Prep Center.                                            of limited partners for the
                                                                         Companies); and the
12                                                                       following exhibits show that
13                                                                       Nesheiwat did not order
                                                                         prescreened lists from
14                                                                       Experian but rather Max
15                                                                       Chou, Bill Abdel, and
                                                                         David Sklar worked with
16                                                                       and directed Experian and
17                                                                       ordered pre-screened lists
                                                                         from Experian: Ex. 129
18                                                                       (Lepiscopo Decl. at ¶¶ 8-16)
19                                                                       and Exs. 132 through 140.
20                                                                       Nesheiwat objects to and
21                                                                       moves to strike:
22                                                                         SJ Ex. 4 (Sklar Decl.) at ¶
23                                                                       21
24                                                                       because they:
25
                                                                          (a) are improper opinions;
26                                                                        (b) are vague and
27                                                                       ambiguous as to time;
28
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                                                                            (c) are hearsay and
1
                                                                         multiple hearsay;
2                                                                           (d) are irrelevant;
3                                                                           (e) are based on hearsay
                                                                         (i.e., documents);
4                                                                           (f) lack personal
5                                                                        knowledge, foundation.

6                                                                     See Evidentiary
7                                                                   Objections: Sklar Decl.
                                                                    Objections.
8      282. Between 2015 and 2017,               SJ Ex. 1 (Hoose    DISPUTED: Ex. 129
9           Nesheiwat arranged for               Decl.) at ¶ 28,    (Lepiscopo Decl. at ¶¶ 6 &
            each of the SLDR                     103; SJ Ex. 4      7); Ex. 130 (Martinez CID at
10          Companies to send direct             (Sklar Decl.) at   p. 153, l. 10 to p. 154, l. 12);
11          mail through the mailing             ¶ 23, 65; SJ Ex. 3 Ex. 131 (Articles of
            house that Monster Loans             (Mason Decl.) at incorporation and certificate
12          used to send direct mail             ¶ 18; SJ Ex. 6     of limited partners for the
13          marketing its services.              (Sebreros Dep.)    Companies); and the
                                                 at 31:1-22; see    following exhibits show that
14                                               also SJ Ex. 7      Nesheiwat did not order
15                                               (Nesheiwat Dep.) prescreened lists from
                                                 at 45:18-21,       Experian but rather Max
16                                               53:15-23, 55:14- Chou, Bill Abdel, and
17                                               56:3 (invoking     David Sklar worked with
                                                 Fifth              and directed Experian and
18                                               Amendment)         ordered pre-screened lists
19                                                                  from Experian: Ex. 129
                                                                    (Lepiscopo Decl. at ¶¶ 8-16)
20                                                                  and Exs. 132 through 140.
21
                                                                         Nesheiwat objects to and
22                                                                       moves to strike:
23
                                                                            SJ Ex. 1 (Hoose Decl.) at
24                                                                       ¶ 28, 103;
25                                                                          SJ Ex. 4 (Sklar Decl.) at
                                                                         ¶ 23, 65;
26                                                                          SJ Ex. 3 (Mason Decl.) at
27                                                                       ¶ 18;
28
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                                                                             SJ Ex. 6 (Sebreros Dep.)
1
                                                                         at 31:1-22
2
3                                                                        because they:

4                                                                           (a) are improper opinions;
5                                                                           (b) are vague and
                                                                         ambiguous as to time;
6                                                                           (c) are hearsay and
7                                                                        multiple hearsay;
                                                                            (d) are irrelevant;
8                                                                           (e) are based on hearsay
9                                                                        (i.e., documents);
                                                                            (f) lack personal
10                                                                       knowledge, foundation.
11
                                                                          See Evidentiary
12                                                                       Objections: Sklar Decl.
13                                                                       Objections and Hoose Decl.
                                                                         Objections.
14
15                                                                          SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 45:18-21, 53:15-23,
16                                                                       55:14-56:3.
17
                                                                         because it is:
18
19                                                                         (a) irrelevant & prejudicial;
                                                                           (b) violates Griffin.
20
21                                                                 See Nesheiwat Dep.
                                                                   Objections.
22     283. Between 2015 and around              SJ Ex. 1 (Hoose   DISPUTED: Ex. 129
23          September 2017,                      Decl.) at ¶¶ 28,  (Lepiscopo Decl. at ¶¶ 6 &
            Nesheiwat oversaw the                31, 103, 39; SJ   7); Ex. 130 (Martinez CID at
24          SLDR Companies’ direct               Ex. 1e (Hoose     p. 153, l. 10 to p. 154, l. 12);
25          mail through the mailing             Decl. Ex. 5) at   Ex. 131 (Articles of
            house.                               ML00004210        incorporation and certificate
26                                               (Sept. 2016 email of limited partners for the
27                                               re mailing house Companies); and the
                                                 invoices); SJ Ex. following exhibits show that
28
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                                                 4 (Sklar Decl.) at      Nesheiwat did not order
1
                                                 ¶¶ 27, 29, 65; SJ       prescreened lists from
2                                                Ex. 3 (Mason            Experian but rather Max
3                                                Decl.) at ¶ 18; SJ      Chou, Bill Abdel, and
                                                 Ex. 6 (Sebreros         David Sklar worked with
4                                                Dep.) at 124:14-        and directed Experian and
5                                                19; SJ Ex. 58           ordered pre-screened lists
                                                 (Feb. 2017 emails       from Experian: Ex. 129
6                                                re tracking direct      (Lepiscopo Decl. at ¶¶ 8-16)
7                                                mail marketing          and Exs. 132 through 140.
                                                 costs); SJ Ex. 60
8                                                (June 2017 email        Nesheiwat objects to and
9                                                coordinating visit      moves to strike:
                                                 to mail house
10                                               with SLDR                   SJ Ex. 1 (Hoose Decl.) at
11                                               Company                 ¶¶ 28, 31, 39, 103;
                                                 managers); SJ               SJ Ex. 1e (Hoose Decl.
12                                               Ex. 61 (June            Ex. 5) at ML00004210
13                                               2017 email              (Sept. 2016 email re mailing
                                                 placing order           house invoices);
14                                               with mail house);           SJ Ex. 4 (Sklar Decl.) at
15                                               SJ Ex. 62 (July         ¶¶ 27, 29, 65;
                                                 2017 email from             SJ Ex. 3 (Mason Decl.) at
16                                               mail house re           ¶ 18;
17                                               “Jawad Open                 SJ Ex. 6 (Sebreros Dep.)
                                                 Balance” for            at 124:14-19;
18                                               SLDR Company                SJ Ex. 58 (Feb. 2017
19                                               mailings); SJ Ex.       emails re tracking direct
                                                 63 (Aug. 29,            mail marketing costs);
20                                               2017 email with             SJ Ex. 60 (June 2017
21                                               mail house); see        email coordinating visit to
                                                 also SJ Ex. 5           mail house with SLDR
22                                               (Van Loon Decl.)        Company managers);
23                                               at ¶¶ 22-27                 SJ Ex. 61 (June 2017
                                                 (authenticating SJ      email placing order with
24                                               Exs. 58, 60, 61,        mail house);
25                                               62, 63).                    SJ Ex. 62 (July 2017
                                                                         email from mail house re
26                                                                       “Jawad Open Balance” for
27                                                                       SLDR Company mailings);
28
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                                                                            SJ Ex. 63 (Aug. 29, 2017
1
                                                                         email with mail house);
2                                                                           SJ Ex. 5 (Van Loon
3                                                                        Decl.) at ¶¶ 22-27
                                                                         (authenticating SJ Exs. 58,
4                                                                        60, 61, 62, 63).
5
                                                                         because they:
6
7                                                                           (a) are improper opinions;
                                                                            (b) are vague and
8                                                                        ambiguous as to time;
9                                                                           (c) are hearsay and
                                                                         multiple hearsay;
10                                                                          (d) are irrelevant;
11                                                                          (e) are based on hearsay
                                                                         (i.e., documents);
12                                                                          (f) lack personal
13                                                                       knowledge, foundation.

14                                                                   See Evidentiary
15                                                                 Objections: Sklar Decl.
                                                                   Objections, Mason Decl.
16                                                                 Objections; Sebreros Dep.
17                                                                 Objections; Van Loon Decl.
                                                                   Objections; and Hoose Decl.
18                                                                 Objections; and Exs. 58, 60,
19                                                                 61, 62, 63 Objections.
       284. Nesheiwat controlled who             SJ Ex. 6          DISPUTED: Ex. 129
20          at the SLDR Companies                (Sebreros Dep.)   (Lepiscopo Decl. at ¶¶ 6 &
21          was allowed to                       at 124:14-19,     7); Ex. 130 (Martinez CID at
            communicate with the                 125:10-16; SJ Ex. p. 153, l. 10 to p. 154, l. 12);
22          mailing house.                       52 at CFPB-JN-    Ex. 131 (Articles of
23                                               0086314           incorporation and certificate
                                                 (Nesheiwat        of limited partners for the
24                                               instructing mail  Companies); and the
25                                               house “not to     following exhibits show that
                                                 discuss our mail” Nesheiwat did not order
26                                               with Docu Prep    prescreened lists from
27                                               Center co-        Experian but rather Max
                                                 manager Robert    Chou, Bill Abdel, and
28
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                                                 Hoose); see also        David Sklar worked with
1
                                                 SJ Ex. 5 (Van           and directed Experian and
2                                                Loon Decl.) at ¶¶       ordered pre-screened lists
3                                                22, 24, 25              from Experian: Ex. 129
                                                 (authenticating SJ      (Lepiscopo Decl. at ¶¶ 8-16)
4                                                Ex. 52)                 and Exs. 132 through 140.
5
                                                                         Nesheiwat objects to and
6                                                                        moves to strike:
7
                                                                             SJ Ex. 6 (Sebreros Dep.)
8                                                                        at 124:14-19, 125:10-16;
9                                                                            SJ Ex. 52 at CFPB-JN-
                                                                         0086314
10                                                                           SJ Ex. 5 (Van Loon
11                                                                       Decl.) at ¶¶ 22, 24, 25

12                                                                       because they:
13
                                                                            (a) are improper opinions;
14                                                                          (b) are vague and
15                                                                       ambiguous as to time;
                                                                            (c) are hearsay and
16                                                                       multiple hearsay;
17                                                                          (d) are irrelevant;
                                                                            (e) are based on hearsay
18                                                                       (i.e., documents);
19                                                                          (f) lack personal
                                                                         knowledge, foundation.
20
21                                                                        See Evidentiary
                                                                         Objections: Sebreros Dep.
22                                                                       Objections; Van Loon Decl.
23                                                                       Objections, and Exh. 52
                                                                         Objections.
24     285. Before sending a batch of            SJ Ex. 1 (Hoose
25          direct mail for the SLDR             Decl.) at ¶ 30; SJ
            Companies, the mailing               Ex. 1b (Hoose
26          house sent an example of             Decl. Ex. 2); SJ
27          the mailing known as a               Ex. 1c (Hoose
            “proof” for review.                  Decl. Ex. 3)
28
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       286. Between 2015 and 2017,               SJ Ex. 1 (Hoose         DISPUTED: Ex. 129
1
            Nesheiwat received emails            Decl.) at ¶ 31 SJ       (Lepiscopo Decl. at ¶¶ 6 &
2           from the mailing house               Ex. 1b (Hoose           7); Ex. 130 (Martinez CID at
3           attaching “proofs” of the            Decl. Ex. 2) at 2       p. 153, l. 10 to p. 154, l. 12);
            SLDR Companies’                      (proof emailed to       Ex. 131 (Articles of
4           Solicitation Letters.                Nesheiwat); SJ          incorporation and certificate
5                                                Ex. 64 (proof           of limited partners for the
                                                 emailed to              Companies); and the
6                                                Nesheiwat); SJ          following exhibits show that
7                                                Ex. 65 (proof           Nesheiwat did not order
                                                 emailed to              prescreened lists from
8                                                Nesheiwat); see         Experian but rather Max
9                                                also SJ Ex. 22          Chou, Bill Abdel, and
                                                 (Klarow Decl.)          David Sklar worked with
10                                               (authenticating SJ      and directed Experian and
11                                               Exs. 64 and 65);        ordered pre-screened lists
                                                 SJ Ex. 7                from Experian: Ex. 129
12                                               (Nesheiwat Dep.)        (Lepiscopo Decl. at ¶¶ 8-16)
13                                               at 46:13-47:10,         and Exs. 132 through 140.
                                                 56:20-57:23
14                                               (invoking Fifth         Nesheiwat objects to and
15                                               Amendment)              moves to strike:

16                                                                          SJ Ex. 1 (Hoose Decl.) at
17                                                                       ¶ 31
                                                                            SJ Ex. 1b (Hoose Decl.
18                                                                       Ex. 2) at 2;
19                                                                          SJ Ex. 64;
                                                                            SJ Ex. 65;
20                                                                          SJ Ex. 22 (Klarow Decl.)
21
                                                                         because they:
22
23                                                                          (a) are improper opinions;
                                                                            (b) are vague and
24                                                                       ambiguous as to time;
25                                                                          (c) are hearsay and
                                                                         multiple hearsay;
26                                                                          (d) are irrelevant;
27                                                                          (e) are based on hearsay
                                                                         (i.e., documents);
28
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                                                                          (f) lack personal
1
                                                                         knowledge, foundation.
2
3                                                                         See Evidentiary
                                                                         Objections: Klarow Decl.
4                                                                        Objections and Hoose Decl.
5                                                                        Objections; and Exhs. 64 &
                                                                         65 Objections.
6
7                                                                           SJ Ex. 7 (Nesheiwat
                                                                         Dep.) at 46:13-47:10, 56:20-
8                                                                        57:23.
9
                                                                         because it is:
10
11                                                                               (a) irrelevant &
                                                                         prejudicial;
12                                                                        (b) violates Griffin.
13
                                                                         See Nesheiwat Dep.
14                                                                       Objections.
15     287. Between 2015 and 2017,               SJ Ex. 3 (Mason         DISPUTED: Ex. 129
            Nesheiwat arranged for               Decl.) at ¶ 19; SJ      (Lepiscopo Decl. at ¶¶ 6 &
16          the SLDR Companies to                Ex. 1 (Hoose            7); Ex. 130 (Martinez CID at
17          obtain the marketing lists           Decl.) at ¶¶ 42-        p. 153, l. 10 to p. 154, l. 12);
            they used to send direct             43; SJ Ex. 4            Ex. 131 (Articles of
18          mail.                                (Sklar Decl.) at        incorporation and certificate
19                                               ¶¶ 32-35, 67; SJ        of limited partners for the
                                                 Ex. 5 (Van Loon         Companies); and the
20                                               Decl.) at ¶¶ 12-        following exhibits show that
21                                               15; see also SJ         Nesheiwat did not order
                                                 Ex. 7 (Nesheiwat        prescreened lists from
22                                               Dep.) at 121:21-        Experian but rather Max
23                                               122:7                   Chou, Bill Abdel, and
                                                                         David Sklar worked with
24                                                                       and directed Experian and
25                                                                       ordered pre-screened lists
                                                                         from Experian: Ex. 129
26                                                                       (Lepiscopo Decl. at ¶¶ 8-16)
27                                                                       and Exs. 132 through 140.
28
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                                                                         Nesheiwat objects to and
1
                                                                         moves to strike:
2
3                                                                            SJ Ex. 3 (Mason Decl.) at
                                                                         ¶ 19;
4                                                                            SJ Ex. 1 (Hoose Decl.) at
5                                                                        ¶¶ 42-43;
                                                                            SJ Ex. 4 (Sklar Decl.) at
6                                                                        ¶¶ 32-35, 67;
7                                                                           SJ Ex. 5 (Van Loon Decl.)
                                                                         at ¶¶ 12-15
8
9                                                                        because they:

10                                                                          (a) are improper opinions;
11                                                                          (b) are vague and
                                                                         ambiguous as to time;
12                                                                          (c) are hearsay and
13                                                                       multiple hearsay;
                                                                            (d) are irrelevant;
14                                                                          (e) are based on hearsay
15                                                                       (i.e., documents);
                                                                            (f) lack personal
16                                                                       knowledge, foundation.
17
                                                                          See Evidentiary
18                                                                       Objections: Mason Decl.
19                                                                       Objections; Van Loon Decl.
                                                                         Objections; Sklar Decl.
20                                                                       Objections; and Hoose Decl.
21                                                                       Objections.

22                                                                         SJ Ex. 7 (Nesheiwat
23                                                                       Dep.) at 121:21-122:7.
24                                                                       because it is:
25
                                                                           (a) irrelevant & prejudicial;
26                                                                         (b) violates Griffin.
27
28
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                                                                         See Nesheiwat Dep.
1
                                                                         Objections.
2      288. In 2016, Nesheiwat                   SJ Ex. 3 (Mason         DISPUTED: Ex. 129
3           provided Certified Doc               Decl.) at ¶¶ 14,        (Lepiscopo Decl. at ¶¶ 6 &
            Prep Services’ co-                   23.                     7); Ex. 130 (Martinez CID at
4           manager with guidance                                        p. 153, l. 10 to p. 154, l. 12);
5           regarding how to sell the                                    Ex. 131 (Articles of
            company’s services and                                       incorporation and certificate
6
            train employees.                                             of limited partners for the
7                                                                        Companies); and the
                                                                         following exhibits show that
8
                                                                         Nesheiwat did not order
9                                                                        prescreened lists from
                                                                         Experian but rather Max
10
                                                                         Chou, Bill Abdel, and
11                                                                       David Sklar worked with
                                                                         and directed Experian and
12
                                                                         ordered pre-screened lists
13                                                                       from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
14
                                                                         and Exs. 132 through 140.
15
                                                                         Nesheiwat objects to and
16
                                                                         moves to strike:
17
                                                                            SJ Ex. 3 (Mason Decl.) at
18
                                                                         ¶¶ 14, 23
19
20                                                                       because it:

21                                                                          (a) is improper opinion;
22                                                                          (b) is vague and
                                                                         ambiguous as to time;
23                                                                          (c) is hearsay and multiple
24                                                                       hearsay;
                                                                            (d) is irrelevant;
25                                                                          (e) is based on hearsay
26                                                                       (i.e., documents);
                                                                            (f) lacks personal
27                                                                       knowledge, foundation.
28
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                                                                          See Evidentiary
1
                                                                         Objections: Mason Decl.
2                                                                        Objections.
3
4      289. Nesheiwat received                   SJ Ex. 4 (Sklar         DISPUTED: Ex. 129
            updates regarding the                Decl.) at ¶¶ 36,        (Lepiscopo Decl. at ¶¶ 6 &
5
            SLDR Companies’                      56; SJ Ex. 4f and       7); Ex. 130 (Martinez CID at
6           business activities as a             4j (Sklar Decl.         p. 153, l. 10 to p. 154, l. 12);
            limited partner.                     Ex. 6 and 10)           Ex. 131 (Articles of
7
                                                 (investor update        incorporation and certificate
8                                                emails); SJ Ex. 6       of limited partners for the
                                                 (Sebreros Dep.)         Companies); and the
9
                                                 at 41:22-42:25,         following exhibits show that
10                                               183:22-184:4; SJ        Nesheiwat did not order
                                                 Ex. 58; see also        prescreened lists from
11
                                                 SJ Ex. 5 (Van           Experian but rather Max
12                                               Loon Decl.) at ¶¶       Chou, Bill Abdel, and
                                                 22-25, 32               David Sklar worked with
13
                                                 (authenticating SJ      and directed Experian and
14                                               Ex. 58)                 ordered pre-screened lists
15                                                                       from Experian: Ex. 129
                                                                         (Lepiscopo Decl. at ¶¶ 8-16)
16                                                                       and Exs. 132 through 140.
17
                                                                         Nesheiwat objects to and
18                                                                       moves to strike:
19
                                                                             SJ Ex. 4 (Sklar Decl.) at
20                                                                       ¶¶ 36, 56;
21                                                                           SJ Ex. 4f and 4j (Sklar
                                                                         Decl. Ex. 6 and 10);
22                                                                           SJ Ex. 6 (Sebreros Dep.)
23                                                                       at 41:22-42:25, 183:22-
                                                                         184:4;
24                                                                           SJ Ex. 58;
25                                                                           SJ Ex. 5 (Van Loon
                                                                         Decl.) at ¶¶ 22-25, 32
26
27                                                                       because they:

28                                                                          (a) are improper opinions;
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                                                                            (b) are vague and
1
                                                                         ambiguous as to time;
2                                                                           (c) are hearsay and
3                                                                        multiple hearsay;
                                                                            (d) are irrelevant;
4                                                                           (e) are based on hearsay
5                                                                        (i.e., documents);
                                                                            (f) lack personal
6                                                                        knowledge, foundation.
7
                                                                          See Evidentiary
8                                                                        Objections: Sklar Decl.
9                                                                        Objections; Van Loon
                                                                         Objections; and Sebreros
10                                                                       Decl. Objections.
11
       VIII.     Nesheiwat’s Invocation of the Fifth Amendment
12
13     290. In his Answer to the                 ECF No. 146             DISPUTED: There is no
            Bureau’s Second                                              admissible evidence to
14          Amended Complaint,                                           support this assertion.
15          Nesheiwat did not admit
            or deny the allegations                                      Nesheiwat objects to and
16          asserted against him or                                      moves to strike:
17          state that he lacks
            knowledge or information                                         ECF No. 146
18          sufficient to form a belief
19          about the truth of the                                       because it is:
            allegations.
20                                                                         (a) irrelevant & prejudicial;
21                                                                         (b) see also Griffin v.
                                                                         California, 380 U.S. 609,
22                                                                       612 (1965) (“Griffin”).
23                                                                       Griffin prohibits any
                                                                         “adverse comment” because
24                                                                       it creates a constitutionally
25                                                                       prohibited negative
                                                                         inference—i.e., that the
26                                                                       defendant is hiding
27                                                                       something. Thus, the Court
                                                                         in Griffin held that this
28
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                                                                         assumption amounts to an
1
                                                                         unfair penalty on a
2                                                                        defendant’s invocation of a
3                                                                        constitutionally protected
                                                                         right.
4
5                                                                        See Nesheiwat Dep.
                                                                         Objections.
6      291. In his Answer to the                 ECF No. 146             DISPUTED: There is no
7           Bureau’s Second                                              admissible evidence to
            Amended Complaint,                                           support this assertion.
8           Nesheiwat refused to
9           respond to the allegations                                   Nesheiwat objects to and
            in that complaint on Fifth                                   moves to strike:
10          Amendment grounds.
11                                                                           ECF No. 146

12                                                                       because it is:
13
                                                                           (a) irrelevant & prejudicial;
14                                                                         (b) see Griffin.
15
                                                                         See Nesheiwat Dep.
16                                                                       Objections.
17     292. Nesheiwat refused on                 SJ Ex. 14               DISPUTED: There is no
            Fifth Amendment grounds              (Nesheiwat RFA          admissible evidence to
18          to answer requests for               Resp. Nos. 1-16)        support this assertion.
19          admission relating to                at 10-27
            prescreened lists,                                           Nesheiwat objects to and
20          including requests                                           moves to strike:
21          regarding Monster Loans’
            Experian account, his role                                      SJ Ex. 14 (Nesheiwat
22          in purchasing of                                             RFA Resp. Nos. 1-16) at 10-
23          prescreened lists for the                                    27
            SLDR Companies, and his
24          knowledge of the Fair                                        because it is:
25          Credit Reporting Act at
            the time of the purchases.                                     (a) irrelevant & prejudicial;
26                                                                         (b) see Griffin.
27
28
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                                                                         See Nesheiwat Dep.
1
                                                                         Objections.
2
       293. At his deposition,                   SJ Ex. 7         DISPUTED: There is no
3           Nesheiwat and his                    (Nesheiwat Dep.) admissible evidence to
4           attorney stipulated that             at 11:3-13:24,   support this assertion.
            Nesheiwat’s attorney                 144:25-145:9
5           would assert the Fifth                                Nesheiwat objects to and
6           Amendment on                                          moves to strike:
            Nesheiwat’s behalf during
7           the deposition.                                                SJ Ex. 7 (Nesheiwat
8                                                                        Dep.) at 11:3-13:24, 144:25-
                                                                         145:9
9
10                                                                       because it is:

11                                                                         (a) irrelevant & prejudicial;
12                                                                         (b) see Griffin.

13                                                       See Nesheiwat Dep.
14                                                       Objections.
       294. At his deposition,         SJ Ex. 7          DISPUTED: There is no
15          Nesheiwat refused on       (Nesheiwat Dep.) admissible evidence to
16          Fifth Amendment grounds at 145:17-21; see support this assertion.
            to provide any testimony   also id. at 11:3-
17          regarding any of the facts 13:25, 144:25-    Nesheiwat objects to and
18          at issue in this case.     145:9             moves to strike:
19                                                                           SJ Ex. 7 (Nesheiwat
20                                                                       Dep.) at 145:17-21; see also
                                                                         id. at 11:3-13:25, 144:25-
21                                                                       145:9
22
                                                                         because it is:
23
24                                                                         (a) irrelevant & prejudicial;
                                                                           (b) see Griffin.
25
26                                                                       See Nesheiwat Dep.
                                                                         Objections.
27
28
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       295. At his deposition,                   SJ Ex. 7                DISPUTED: There is no
1
            Nesheiwat refused on                 (Nesheiwat Dep.)        admissible evidence to
2           Fifth Amendment grounds              at 24:19-25:20,         support this assertion.
3           to answer any questions              29:1-33:17; see
            relating to his role and             also id. at 11:3-       Nesheiwat objects to and
4           conduct while working at             13:25, 144:25-          moves to strike:
5           Monster Loans.                       145:9
                                                                            SJ Ex. 7 (Nesheiwat
6                                                                        Dep.) at 24:19-25:20, 29:1-
7                                                                        33:17; see also id. at 11:3-
                                                                         13:25, 144:25-145:9
8
9                                                                        because it is:

10                                                                         (a) irrelevant & prejudicial;
11                                                                         (b) see Griffin.

12                                                        See Nesheiwat Dep.
13                                                        Objections.
       296. At his deposition,          SJ Ex. 7          DISPUTED: There is no
14          Nesheiwat refused on        (Nesheiwat Dep.) admissible evidence to
15          Fifth Amendment grounds at 40:7-67:24; see support this assertion.
            to answer any questions     also id. at 11:3-
16          relating to the SLDR        13:25, 144:25-    Nesheiwat objects to and
17          Companies, including        145:9             moves to strike:
            about their marketing,
18          sales, and services and his                       SJ Ex. 7 (Nesheiwat
19          involvement in them and                       Dep.) at 40:7-67:24; see also
            knowledge of their                            id. at 11:3-13:25, 144:25-
20          activities.                                   145:9
21
                                                                         because it is:
22
23                                                                         (a) irrelevant & prejudicial;
                                                                           (b) see Griffin.
24
25                                                   See Nesheiwat Dep.
                                                     Objections.
26     297. At his deposition,      SJ Ex. 7         DISPUTED: There is no
27          Nesheiwat refused on    (Nesheiwat Dep.) admissible evidence to
            Fifth Amendment grounds at 68:1-83:10,   support this assertion.
28
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            to answer any questions or           87:23-92:23; see
1
            requests for admission               also id. at 11:3-       Nesheiwat objects to and
2           relating to prescreened              13:25, 144:25-          moves to strike:
3           lists, including questions           145:9
            about purchases of                                              SJ Ex. 7 (Nesheiwat
4           prescreened lists for the                                    Dep.) at 68:1-83:10, 87:23-
5           SLDR Companies from                                          92:23; see also id. at 11:3-
            Experian by Monster                                          13:25, 144:25-145:9
6           Loans and Lend Tech, the
7           use of prescreened lists by                                  because it is:
            the SLDR Companies, his
8           involvement in purchasing                                      (a) irrelevant & prejudicial;
9           prescreened lists for the                                      (b) see Griffin.
            SLDR Companies, and his
10          knowledge of the Fair                                 See Nesheiwat Dep.
11          Credit Reporting Act.                                 Objections.
       298. At his deposition,                   SJ Ex. 7         DISPUTED: There is no
12          Nesheiwat refused on                 (Nesheiwat Dep.) admissible evidence to
13          Fifth Amendment grounds              at 93:12-101:22; support this assertion.
            to answer any questions              see also id. at
14          relating to the SLDR                 11:3-13:25,      Nesheiwat objects to and
15          Companies’                           144:25-145:9     moves to strike:
            representations regarding
16          consumers receiving                                             SJ Ex. 7 (Nesheiwat
17          lower interest rates by                                      Dep.) at 93:12-101:22; see
            consolidating, including                                     also id. at 11:3-13:25,
18          questions about his                                          144:25-145:9
19          knowledge of and
            participation in making                                      because it is:
20          those representations.
21                                                                         (a) irrelevant & prejudicial;
                                                                           (b) see Griffin.
22
23                                                    See Nesheiwat Dep.
                                                      Objections.
24     299. At his deposition,      SJ Ex. 7          DISPUTED: There is no
25          Nesheiwat refused on    (Nesheiwat Dep.) admissible evidence to
            Fifth Amendment grounds at 101:24-107:24; support this assertion.
26          to answer any questions see also id. at
27          relating to the SLDR    11:3-13:25,       Nesheiwat objects to and
            Companies’              144:25-145:9      moves to strike:
28
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              representations regarding
1
              consumers receiving                                           SJ Ex. 7 (Nesheiwat
2             improved credit scores by                                  Dep.) at 101:24-107:24; see
3             consolidating, including                                   also id. at 11:3-13:25,
              questions about his                                        144:25-145:9
4             knowledge of,
5             participation in, and basis                                because it is:
              for making those
6             representations.                                             (a) irrelevant & prejudicial;
7                                                                          (b) see Griffin.

8                                                      See Nesheiwat Dep.
9                                                      Objections.
       300. At his deposition,        SJ Ex. 7         DISPUTED: There is no
10          Nesheiwat refused on      (Nesheiwat Dep.) admissible evidence to
11          Fifth Amendment grounds at 108:1-114:2;    support this assertion.
            to answer any questions   see also id. at
12          relating to the Docu Prep 11:3-13:25,      Nesheiwat objects to and
13          Center’s representations  144:25-145:9     moves to strike:
            regarding ED becoming
14          consumers’ “new                               SJ Ex. 7 (Nesheiwat
15          servicer,” including                       Dep.) at 108:1-114:2; see
            questions about his                        also id. at 11:3-13:25,
16          knowledge of and                           144:25-145:9
17          participation in making
            those representations.                     because it is:
18
19                                                                         (a) irrelevant & prejudicial;
                                                                           (b) see Griffin.
20
21                                                     See Nesheiwat Dep.
                                                       Objections.
22     301. At his deposition,        SJ Ex. 7         DISPUTED: There is no
23          Nesheiwat refused on      (Nesheiwat Dep.) admissible evidence to
            Fifth Amendment grounds at 100:9-19,       support this assertion.
24          to answer any questions   105:19-23,
25          relating to his knowledge 112:25-113:12;   Nesheiwat objects to and
            of consumer complaints    see also id. at  moves to strike:
26          about misrepresentations  11:3-13:25,
27          by the SLDR Companies. 144:25-145:9           SJ Ex. 7 (Nesheiwat
                                                       Dep.) at 100:9-19, 105:19-
28
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                                                                         23, 112:25-113:12; see also
1
                                                                         id. at 11:3-13:25, 144:25-
2                                                                        145:9
3
                                                                         because it is:
4
5                                                                          (a) irrelevant & prejudicial;
                                                                           (b) see Griffin.
6
7                                                       See Nesheiwat Dep.
                                                        Objections.
8      302. At his deposition,         SJ Ex. 7         DISPUTED: There is no
9           Nesheiwat refused on       (Nesheiwat Dep.) admissible evidence to
            Fifth Amendment grounds at 114:4-127:16; support this assertion.
10          to answer any questions    see also id. at
11          relating to the SLDR       11:3-13:25,      Nesheiwat objects to and
            Companies’ collection of 144:25-145:9       moves to strike:
12          advance fees, including
13          questions about his                            SJ Ex. 7 (Nesheiwat
            knowledge of and                            Dep.) at 114:4-127:16; see
14          participation in the                        also id. at 11:3-13:25,
15          collection of advance fees                  144:25-145:9
            and his knowledge of the
16          TSR.                                        because it is:
17
                                                                           (a) irrelevant & prejudicial;
18                                                                         (b) see Griffin.
19
                                                        See Nesheiwat Dep.
20                                                      Objections.
21     303. At his deposition,         SJ Ex. 7         DISPUTED: There is no
            Nesheiwat refused on       (Nesheiwat Dep.) admissible evidence to
22          Fifth Amendment grounds at 135:18-141:6; support this assertion.
23          to answer any questions    see also id. at
            about whether since 2017 11:3-13:25,        Nesheiwat objects to and
24          he has engaged in any of   144:25-145:9     moves to strike:
25          the conduct alleged in the
            Bureau’s Complaint                             SJ Ex. 7 (Nesheiwat
26          through companies                           Dep.) at 135:18-141:6; see
27          besides Monster Loans                       also id. at 11:3-13:25,
            and the SLDR Companies.                     144:25-145:9
28
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1
                                                                         because it is:
2
3                                                                          (a) irrelevant & prejudicial;
                                                                           (b) see Griffin.
4
5                                                    See Nesheiwat Dep.
                                                     Objections.
6      304. At his deposition,      SJ Ex. 7         DISPUTED: There is no
7           Nesheiwat refused on    (Nesheiwat Dep.) admissible evidence to
            Fifth Amendment grounds at 141:8-144:23; support this assertion.
8           to answer any questions see also id. at
9           about his financial     11:3-13:25,      Nesheiwat objects to and
            situation, assets, and  144:25-145:9     moves to strike:
10          income.
11                                                      SJ Ex. 7 (Nesheiwat
                                                     Dep.) at 141:8-144:23; see
12                                                   also id. at 11:3-13:25,
13                                                   144:25-145:9

14                                                                       because it is:
15
                                                                           (a) irrelevant & prejudicial;
16                                                                         (b) see Griffin.
17
                                                                         See Nesheiwat Dep.
18                                                                       Objections.
19
         IX.     Consumers Have Complained Extensively About the SLDR Companies
20
21     305. Between 2015 and 2020,               SJ Ex. 30         DISPUTED: There is no
            430 consumers filed                  (Schneider Decl.) admissible evidence to
22          complaints about the                 at ¶¶ 6-9         support this assertion.
23          SLDR Companies with
            federal and state law                                        Nesheiwat objects to and
24          enforcement agencies and                                     moves to strike:
25          the Better Business
            Bureau.                                                        SJ Ex. 30 (Schneider
26                                                                       Decl.) at ¶¶ 6-9
27
                                                                         because it:
28
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1
                                                                            (a) is improper opinion;
2                                                                           (b) is vague and
3                                                                        ambiguous as to time;
                                                                            (c) is hearsay and multiple
4                                                                        hearsay;
5                                                                           (d) is irrelevant;
                                                                            (e) is based on hearsay
6                                                                        (i.e., documents);
7                                                                           (f) lacks personal
                                                                         knowledge, foundation.
8
9                                                                    See Evidentiary
                                                                   Objections: Schneider Decl.
10                                                                 Objections.
11     306. Of the 430 consumers,                SJ Ex. 30         DISPUTED: There is no
            390 felt that they were              (Schneider Decl.) admissible evidence to
12          misled by the SLDR                   at ¶ 11           support this assertion.
13          Companies.
                                                                         Nesheiwat objects to and
14                                                                       moves to strike:
15
                                                                            SJ Ex. 30 (Schneider
16                                                                       Decl.) at ¶ 11
17
                                                                         because it:
18
19                                                                          (a) is improper opinion;
                                                                            (b) is vague and
20                                                                       ambiguous as to time;
21                                                                          (c) is hearsay and multiple
                                                                         hearsay;
22                                                                          (d) is irrelevant;
23                                                                          (e) is based on hearsay
                                                                         (i.e., documents);
24                                                                          (f) lacks personal
25                                                                       knowledge, foundation.
26                                                                        See Evidentiary
27                                                                       Objections: Schneider Decl.
                                                                         Objections.
28
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       307. Consumers who felt                   SJ Ex. 30         DISPUTED: There is no
1
            misled stated in                     (Schneider Decl.) admissible evidence to
2           complaints that they were            at ¶ 11           support this assertion.
3           lied to or they did not
            receive the results they                                     Nesheiwat objects to and
4           were promised.                                               moves to strike:
5
                                                                            SJ Ex. 30 (Schneider
6                                                                        Decl.) at ¶ 11
7                                                                        because it:

8                                                                           (a) is improper opinion;
9                                                                           (b) is vague and
                                                                         ambiguous as to time;
10                                                                          (c) is hearsay and multiple
11                                                                       hearsay;
                                                                            (d) is irrelevant;
12                                                                          (e) is based on hearsay
13                                                                       (i.e., documents);
                                                                            (f) lacks personal
14                                                                       knowledge, foundation.
15
                                                                     See Evidentiary
16                                                                 Objections: Schneider Decl.
17                                                                 Objections.
       308. Of the 430 consumers,                SJ Ex. 30         DISPUTED: There is no
18          147 consumers described              (Schneider Decl.) admissible evidence to
19          the SLDR Companies as a              at ¶ 11           support this assertion.
            “scam” or as having been
20          “scammed” by them.                                           Nesheiwat objects to and
21                                                                       moves to strike:
22                                                                         SJ Ex. 30 (Schneider
23                                                                       Decl.) at ¶ 11
24                                                                       because it:
25
                                                                          (a) is improper opinion;
26                                                                        (b) is vague and
27                                                                       ambiguous as to time;
28
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                                                                            (c) is hearsay and multiple
1
                                                                         hearsay;
2                                                                           (d) is irrelevant;
3                                                                           (e) is based on hearsay
                                                                         (i.e., documents);
4                                                                           (f) lacks personal
5                                                                        knowledge, foundation.

6                                                          See Evidentiary
7                                                        Objections: Schneider Decl.
                                                         Objections.
8      309. Of the 430 consumers, 31 SJ Ex. 30           DISPUTED: There is no
9           consumers stated that they (Schneider Decl.) admissible evidence to
            were promised lower        at ¶ 12           support this assertion.
10          interest rates by the SLDR
11          Companies.                                   Nesheiwat objects to and
                                                         moves to strike:
12
13                                                                         SJ Ex. 30 (Schneider
                                                                         Decl.) at ¶ 12
14
15                                                                       because it:

16                                                                          (a) is improper opinion;
17                                                                          (b) is vague and
                                                                         ambiguous as to time;
18                                                                          (c) is hearsay and multiple
19                                                                       hearsay;
                                                                            (d) is irrelevant;
20                                                                          (e) is based on hearsay
21                                                                       (i.e., documents);
                                                                            (f) lacks personal
22                                                                       knowledge, foundation.
23
                                                                     See Evidentiary
24                                                                 Objections: Schneider Decl.
25                                                                 Objections.
       310. Between 2015 and 2020,               SJ Ex. 30         DISPUTED: There is no
26          at least 135 consumers               (Schneider Decl.) admissible evidence to
27          filed complaints about               at ¶¶ 9-10        support this assertion.
            Docu Prep Center with
28
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              federal and state law                                      Nesheiwat objects to and
1
              enforcement agencies and                                   moves to strike:
2             the Better Business
3             Bureau.                                                    SJ Ex. 30 (Schneider Decl.)
                                                                         at ¶¶ 9-10
4
5                                                                        because it:

6                                                                           (a) is improper opinions;
7                                                                           (b) is vague and
                                                                         ambiguous as to time;
8                                                                           (c) is hearsay and multiple
9                                                                        hearsay;
                                                                            (d) is irrelevant;
10                                                                          (e) is based on hearsay
11                                                                       (i.e., documents);
                                                                            (f) lacks personal
12                                                                       knowledge, foundation.
13
                                                                           See Evidentiary
14                                                                       Objections: Schneider Decl.
15                                                                       Objections.
       311. At times, Docs Done                  SJ Ex. 8 (DDR           DISPUTED: There is no
16          Right handled consumer               Dep.) at 60:4-24,       admissible evidence to
17          complaints for the SLDR              77:5-12, 166:13-        support this assertion.
            Companies.                           17
18                                                                       Nesheiwat objects to and
19                                                                       moves to strike:
20                                                                          SJ Ex. 8 (DDR Dep.) at
21                                                                       60:4-24, 77:5-12, 166:13-17
22                                                                       because it:
23
                                                                           (a) is improper opinion;
24                                                                         (b) is vague and
25                                                                       ambiguous as to time;
                                                                           (c) is hearsay and multiple
26                                                                       hearsay;
27                                                                         (d) is irrelevant;
28
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                                                                            (e) is based on hearsay
1
                                                                         (i.e., documents);
2                                                                           (f) lacks personal
3                                                                        knowledge, foundation.

4                                                                          See Evidentiary
5                                                                        Objections: DDR Dep.
                                                                         Objections.
6      312. The SLDR Companies                   SJ Ex. 8 (DDR           DISPUTED: There is no
7           and Docs Done Right                  Dep.) at 60:4-24,       admissible evidence to
            received complaints                  77:5-12, 166:13-        support this assertion.
8           directly from consumers              17; SJ Ex. 27
9           regarding the SLDR                   (Ramirez-               Nesheiwat objects to and
            Companies.                           Velazquez DPP           moves to strike:
10                                               Decl.) at ¶ 6
11                                                                          SJ Ex. 8 (DDR Dep.) at
                                                                         60:4-24, 77:5-12, 166:13-17;
12                                                                          SJ Ex. 27 (Ramirez-
13                                                                       Velazquez DPP Decl.) at ¶ 6

14                                                                       because they:
15
                                                                            (a) are improper opinions;
16                                                                          (b) are vague and
17                                                                       ambiguous as to time;
                                                                            (c) are hearsay and
18                                                                       multiple hearsay;
19                                                                          (d) are irrelevant;
                                                                            (e) are based on hearsay
20                                                                       (i.e., documents);
21                                                                          (f) lack personal
                                                                         knowledge, foundation.
22
23                                                                   See Evidentiary
                                                                   Objections: DDR Dep.
24                                                                 Objections and Ramirez-
25                                                                 Valazquez DDP Decl.
                                                                   Objections.
26     313. The SLDR Companies                   SJ Ex. 8 (DDR     DISPUTED: There is no
27          and Docs Done Right                  Dep.) at 166:18- admissible evidence to
            received those complaints            167:11; SJ Ex. 27 support this assertion.
28
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              in writing and over the            (Ramirez-
1
              phone.                             Velazquez DPP           Nesheiwat objects to and
2                                                Decl.) at ¶ 6           moves to strike:
3
                                                                           SJ Ex. 8 (DDR Dep.) at
4                                                                        166:18-167:11;
5                                                                          SJ Ex. 27 (Ramirez-
                                                                         Velazquez DPP Decl.) at ¶ 6
6
7                                                                        because they:

8                                                                           (a) are improper opinions;
9                                                                           (b) are vague and
                                                                         ambiguous as to time;
10                                                                          (c) are hearsay and
11                                                                       multiple hearsay;
                                                                            (d) are irrelevant;
12                                                                          (e) are based on hearsay
13                                                                       (i.e., documents);
                                                                            (f) lack personal
14                                                                       knowledge, foundation.
15
                                                                           See Evidentiary
16                                                                       Objections: DDR Dep.
17                                                                       Objections and Ramirez-
                                                                         Valazquez DDP Decl.
18                                                                       Objections.
19     314. The SLDR Companies                   SJ Ex. 27               DISPUTED: There is no
            and Docs Done Right                  (Ramirez-               admissible evidence to
20          received at least 148                Velazquez DPP           support this assertion.
21          complaints in which                  Decl.) at ¶ 13
            consumers described the                                      Nesheiwat objects to and
22          SLDR Companies as a                                          moves to strike:
23          “scam” or stated the
            SLDR Companies lied to                                          SJ Ex. 27 (Ramirez-
24          them.                                                        Velazquez DPP Decl.) at ¶
25                                                                       13
26                                                                       because it:
27
                                                                            (a) is improper opinion;
28
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                                                                            (b) is vague and
1
                                                                         ambiguous as to time;
2                                                                           (c) is hearsay and multiple
3                                                                        hearsay;
                                                                            (d) is irrelevant;
4                                                                           (e) is based on hearsay
5                                                                        (i.e., documents);
                                                                            (f) lacks personal
6                                                                        knowledge, foundation.
7
                                                                           See Evidentiary
8                                                                        Objections: DDR Dep.
9                                                                        Objections and Ramirez-
                                                                         Valazquez DDP Decl.
10                                                                       Objections.
11     315. The SLDR Companies                   SJ Ex. 27               DISPUTED: There is no
            and Docs Done Right                  (Ramirez-               admissible evidence to
12          received complaints from             Velazquez DPP           support this assertion.
13          at least 109 consumers               Decl.) at ¶ 9
            that referenced                                              Nesheiwat objects to and
14          representations made to                                      moves to strike:
15          consumers about
            obtaining a lower interest                                     SJ Ex. 27 (Ramirez-
16          rate through the SLDR                                        Velazquez DPP Decl.) at ¶ 9
17          Companies’ services
                                                                         because it:
18
19                                                                          (a) is improper opinion;
                                                                            (b) is vague and
20                                                                       ambiguous as to time;
21                                                                          (c) is hearsay and multiple
                                                                         hearsay;
22                                                                          (d) is irrelevant;
23                                                                          (e) is based on hearsay
                                                                         (i.e., documents);
24                                                                          (f) lacks personal
25                                                                       knowledge, foundation.
26                                                                       See Evidentiary Objections:
27                                                                       Ramirez-Valazquez DDP
                                                                         Decl. Objections.
28
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       316. The SLDR Companies                   SJ Ex. 27               DISPUTED: There is no
1
            and Docs Done Right                  (Ramirez-               admissible evidence to
2           received at least 35                 Velazquez DPP           support this assertion.
3           complaints regarding the             Decl.) at ¶ 11
            SLDR Companies’                                              Nesheiwat objects to and
4           statements concerning the                                    moves to strike:
5           effects of the SLDR
            Companies’ services on                                         SJ Ex. 27 (Ramirez-
6           the consumers’ credit                                        Velazquez DPP Decl.) at ¶ 9
7           scores or creditworthiness.
                                                                         because it:
8
9                                                                           (a) is improper opinion;
                                                                            (b) is vague and
10                                                                       ambiguous as to time;
11                                                                          (c) is hearsay and multiple
                                                                         hearsay;
12                                                                          (d) is irrelevant;
13                                                                          (e) is based on hearsay
                                                                         (i.e., documents);
14                                                                          (f) lacks personal
15                                                                       knowledge, foundation.

16                                                                       See Evidentiary Objections:
17                                                                       DDR Dep. Objections and
                                                                         Ramirez-Valazquez DDP
18                                                                       Decl. Objections.
19     317. Docu Prep Center and                 SJ Ex. 27               DISPUTED: There is no
            Docs Done Right received             (Ramirez-               admissible evidence to
20          at least 129 complaints              Velazquez DPP           support this assertion.
21          about Docu Prep Center.              Decl.) at ¶¶ 9, 13
                                                                         Nesheiwat objects to and
22                                                                       moves to strike:
23
                                                                            SJ Ex. 27 (Ramirez-
24                                                                       Velazquez DPP Decl.) at ¶¶
25                                                                       9, 13
26                                                                       because it:
27
                                                                            (a) is improper opinion;
28
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                                                                            (b) is vague and
1
                                                                         ambiguous as to time;
2                                                                           (c) is hearsay and multiple
3                                                                        hearsay;
                                                                            (d) is irrelevant;
4                                                                           (e) is based on hearsay
5                                                                        (i.e., documents);
                                                                            (f) lacks personal
6                                                                        knowledge, foundation.
7
                                                                         See Evidentiary Objections:
8                                                                        Ramirez-Valazquez DDP
9                                                                        Decl. Objections.
       318. Customers of the SLDR                SJ Ex. 11               DISPUTED: There is no
10          Companies complained to              (Martinez IH) at        admissible evidence to
11          Docs Done Right that “I              202:14-203:5.           support this assertion.
            was told my interest rate
12          would be lowered” and “I                                     Nesheiwat objects to and
13          thought I’d get a lower                                      moves to strike:
            interest rate.”
14                                                                           SJ Ex. 11 (Martinez IH)
15                                                                       at 202:14-203:5.

16                                                                       because it:
17
                                                                            (a) is improper opinion;
18                                                                          (b) is vague and
19                                                                       ambiguous as to time;
                                                                            (c) is hearsay and multiple
20                                                                       hearsay;
21                                                                          (d) is irrelevant;
                                                                            (e) is based on hearsay
22                                                                       (i.e., documents);
23                                                                          (f) lacks personal
                                                                         knowledge, foundation.
24
25                                                                       See Evidentiary Objections:
                                                                         Martinez IH Objections.
26
27
28
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1                 PLAINTIFF’S STATEMENT OF GENUINE DISPUTES
2                                       OF MATERIAL FACT
3
4    Def.’s           Fact                      Supporting                    Pl.’s Response
      SUF                                        Evidence
5      No.
6    1.     Between 2015 and              See the Bureau’s      Undisputed.
            2018, Nesheiwat was a         Memo, ECF 189-1,
7           limited partner in            p. 2, ll. 25-28,
8           defendants Docu Prep          and the Bureau’s
            Center, Certified Doc         Separate Statement,
9           Prep Services aka             ECF 190, UF ¶¶ 4-6,
10          Certified Document            7-8, 9-11, 12-14, 15-
            Center, Assure Direct         17, and 18-20. (See
11          Services, Direct              Fn. 2.)
12          Document Solutions,
            and Secure Preparation
13          Services (collectively,
14          “Companies”).
            Hereinafter Nesheiwat
15          and the Companies
16          shall be referred to
            collectively as
17          “Defendants.”
18   2.     In April 2015, which          Ex. 30 (Schneider         Disputed. This fact is not
            was more than 4.5             Decl. at ¶10); Ex.        supported by the evidence cited.
19          years before this             101 (Lepiscopo
20          Action was untimely           Decl. at ¶ 34); Ex.       The declaration of Dani
            filed, the Bureau had         128.                      Schneider, a Bureau
21          full knowledge of the                                   investigator, stated that she
22          claims alleged in this                                  reviewed consumer complaints
            Action against                                          from the Federal Trade
23          Defendants and was                                      Commission’s Consumer
24          already investigating                                   Sentinel complaint database
            and taking rulemaking                                   dating back to April 2015. SJ
25          action under the                                        Ex. 30 (Schneider Decl.) at
26          Telemarking Sales                                       ¶¶ 6-7, 10. Her declaration does
            Ruleregarding                                           not state that the Bureau was
27          Defendants’ alleged                                     already investigating or had
28          use of prescreened                                      knowledge of its claims in April
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1            student loan                                           2015. See id.
             information for
2            use in debt relief                                     The April 2015 email in Ex.
3            matters.                                               128 was sent by the payment
                                                                    processor Trans2Pay, LLC to
4                                                                   certain of the defendants in this
5                                                                   action. See SJ Ex. 1 at ¶¶ 73-74;
                                                                    SJ Ex. 1n. The email references
6                                                                   the TSR’s prohibition on
7                                                                   advance fees and a 2014 Bureau
                                                                    enforcement action against an
8                                                                   unrelated student-loan debt
9                                                                   relief operation in Florida. See
                                                                    CFPB v. College Educ. Servs.
10                                                                  LLC, No. 14-cv-3078 (M.D.
11                                                                  Fla.). The email does not
                                                                    reference Nesheiwat or any
12                                                                  other defendant in this action,
13                                                                  or indicate that the Bureau was
                                                                    investigating them during 2015.
14                                                                  The email in Ex. 128 was
15                                                                  produced to the Bureau after
                                                                    this action was filed. See SJ Ex.
16                                                                  67 at ¶¶ Ex. 3-8. The email is
17                                                                  not evidence of the Bureau’s
                                                                    knowledge in 2015.
18
19                                                         The Bureau does not have
                                                           rulemaking authority over the
20
                                                           Telemarketing Sales Rule. See
21                                                         15 U.S.C. § 6102(a), (b).
     3.      On November 18,          Ex. 101 (Lepiscopo Disputed in Part. The Bureau
22
             2015, which was more Decl. at                 does not dispute that Natalie
23           than 3 years before this ¶ 8); Ex. 102 (Luvin Luvin submitted a complaint to
             Action was untimely Complaint). The           the Bureau on November 18,
24
             filed, the Bureau        complaint is alleged 2015.
25           received notice of the against defendant
             claims against           Docu Prep Center     But the cited evidence does not
26
             Defendants in this       for taking           support the statement that the
27           Action through a         $699 in advance      Bureau “received notice of the
             complaint filed with     fees to consolidate claims against” Nesheiwat or
28
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1            the Bureau by Natalie her student loans,               any other defendant through
             Anne Luvin.           which did not occur.             that complaint.
2                                  She requested
3                                  refund of her $699.              The complaint is about one
                                   Fees were not                    consumer’s experience and
4                                  returned to                      does not reference Nesheiwat or
5                                  Natalie Luvin.                   any other defendant besides
                                                                    Docu Prep Center.
6
7                                                                   The complaint does not
                                                                    reference consumer reports or
8                                                                   the FCRA, or reference false
9                                                                   representations regarding lower
                                                                    interest rates, improved credit
10                                                                  scores, or ED’s role as a
11                                                                  servicer.
12                                                       The complaint does not indicate
13                                                       that Docu Prep Center engaged
                                                         in telemarketing.
14
     4.      On February 26, 2016, Ex. 101 (Lepiscopo Disputed in Part. The Bureau
15           which was more than 3 Decl. at              does not dispute that Megan
             years before this      ¶ 9); Ex. 103 (Grogg Grogg submitted a complaint to
16
             Action was untimely Complaint). The         the Bureau on November 18,
17           filed, the Bureau      complaint alleges    2015.
             received notice of the that defendant Docu
18
             claims against         Prep Center          But the cited evidence does not
19           Defendantsin this      promised to          support the statement that the
             Action through a       consolidate her      Bureau “received notice of the
20
             complaint filed with   student loans (over claims against” Nesheiwat or
21           the Bureau by Megan $50K) so that she       any other defendant through
             Grogg.                 would not have a     that complaint.
22                                                    st
                                    payment for the 1
23                                  year and then low    The complaint is about one
24                                  payments for the     consumer’s experience and
                                    following nine (9) does not reference Nesheiwat or
25                                  years. She paid $899 any other defendant besides
26                                  in advance fees.     Docu Prep Center.
                                    Fees were not
27                                  returned to Megan The complaint does not
28                                  Grogg.               reference consumer reports or
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1                                                                   the FCRA, or reference false
                                                                    representations regarding lower
2                                                                   interest rates, improved credit
3                                                                   scores, or ED’s role as a
                                                                    servicer
4
5    5.      On March 30, 2016,           Ex. 101 (Lepiscopo        Disputed in Part. The Bureau
             which was more than 3        Decl. at                  does not dispute that Laurie
6            years before this            ¶ 10); Ex. 104            Whitehead submitted a
7            Action was untimely          (Whitehead                consumer complaint to the
             filed, the Bureau            Complaint). The           Bureau on March 30, 2016.
8            received notice of the       complaint alleges
9            claims against               that defendant            But the cited evidence does not
             Defendants in this           Certified Doc Prep        support the statement that the
10           Action through a             promised to lower         Bureau “received notice of the
11           complaint filedwith          her monthly student       claims against” Nesheiwat or
             the Bureau by Laurie         loan payment. She         any other defendant through
12           Whitehead.                   paid $599 in              that complaint.
13                                        advance fees and
                                          then was asked to         This complaint is about one
14                                        pay an additional         consumer’s experience and
15                                        $795, which she did       appears to reference multiple
                                          not pay. Fees were        businesses, including “select
16                                        not returned to           student loan help” and
17                                        Laurie Whitehead.         “Certified Document Center,”
                                                                    and does not clearly identify
18                                                                  what actions were taken by
19                                                                  each business.
20                                                                  The complaint does not
21                                                                  reference Nesheiwat or any
                                                                    other defendant besides Docu
22                                                                  Prep Center d/b/a Certified
23                                                                  Document Center.
24
                                                                    The complaint does not
25                                                                  reference consumer reports, the
                                                                    FCRA, or false representations
26
                                                                    regarding lower interest rates,
27                                                                  improved credit scores, or ED’s
                                                                    role as a servicer.
28
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1    6.      On April 27, 2016,     Ex. 101 (Lepiscopo              Disputed in Part. The Bureau
             which was more than 3  Decl. at                        does not dispute that Blair
2            years before this      ¶ 11); Ex. 105                  Rohlfing submitted a complaint
3            Action was untimely    (Rohlfing                       to the Bureau on April 27,
             filed, the Bureau      Complaint). The                 2016.
4            received notice of the complaint alleges
5            claims against         that defendant                  But the cited evidence does not
             Defendants in this     Certified Doc Prep              support the statement that the
6            Action through a       sent Blair Rohlfing             Bureau “received notice of the
7            complaint filed with   a “Final Notice”                claims against” Nesheiwat or
             the Bureau by Blair    mail piece titled,              any other defendant through
8            Rohlfing.              “Student Loan                   that complaint.
9                                   Consolidation &
                                    Payment Reduction               The complaint is about one
10                                  Program Prepared                consumer’s experience and
11                                  for Blair Rohlfing.”            does not reference Nesheiwat or
                                    The notice indicated            any other defendant besides
12                                  that Ms. Rohlfing               Certified Doc Prep Services.
13                                  owed $188,064 in
                                    student loan debt.              The complaint does not
14                                  She contacted                   reference consumer reports, the
15                                  defendant Certified             FCRA, or false representations
                                    Doc Prep and spoke              regarding lower interest rates,
16                                  with a representative           improved credit scores, or ED’s
17                                  inquiring how they              role as a servicer.
                                    knew her balance.
18                                  The response caused             The complaint does not indicate
19                                  her to contact the              when Certified Doc Prep
                                    Bureau to ascertain             Services wanted to receive its
20                                  whether what she                fees in relation to the timing of
21                                  was told                        its services.
                                    was correct. She
22                                  then filed the
23                                  Rohlfing Complaint.
     7.      On May 16, 2016,       Ex. 101 (Lepiscopo              Disputed in Part. The Bureau
24           which was more than 3 Decl. at                         does not dispute that Darla
25           years before this      ¶ 12); Ex. 106                  Castillo submitted a complaint
             Action was untimely (Castillo                          to the Bureau on May 16, 2016.
26           filed, the Bureau      Complaint). The
27           received notice of the complaint alleges               But the cited evidence does not
             claims against         that defendant                  support the statement that the
28
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1            Defendants in this           Certified Doc Prep        Bureau “received notice of the
             Action through a             contacted Ms.             claims against” Nesheiwat or
2            complaint filed with         Castillo via email        any other defendant through
3            the Bureau by Darla          for the purpose           that complaint.
             Castillo.                    student loan
4                                         forgiveness or            The complaint is about one
5                                         consolidation. She        consumer’s experience and
                                          paid $799 in              does not reference Nesheiwat or
6                                         advance fees with         any other defendant besides
7                                         her application.          Certified Doc Prep Services.
                                          Pursuant to the
8                                         Certified Doc Prep’s      The complaint does not
9                                         cancellation policy,      reference consumer reports or
                                          she requested that        the FCRA, or reference false
10                                        her $799 be               representations regarding lower
11                                        refunded. The             interest rates, improved credit
                                          advance fees              scores, or ED’s role as a
12                                        were not returned to      servicer.
13                                        Darla Castillo.

14   8.      On May 24, 2016,             Ex. 101 (Lepiscopo        Disputed in Part. The Bureau
15           which was more than 3        Decl. at                  does not dispute that Jared
             years before this            ¶ 13); Ex. 107            McCullough submitted a
16           Action was untimely          (McCullough               consumer complaint to the
17           filed, the Bureau            Complaint). The           Bureau on May 24, 2016.
             received notice of the       complaint alleges
18           claims against               that defendant Docu       But the cited evidence does not
19           Defendants in this           Prep Center               support the statement that the
             Action through a             contacted Mr.             Bureau “received notice of the
20           complaint filed with         McCullough for            claims against” Nesheiwat or
21           the Bureau by Jared          student loan              any other defendant through
             McCullough.                  consolidation and         that complaint.
22                                        forgiveness
23                                        program. The              The complaint is about one
                                          complaint further         consumer’s experience. It
24                                        alleged that              references Docu Prep Center in
25                                        someone from Docu         passing but primarily focuses
                                          Prep Center               on the consumer’s concerns
26                                        threatened Mr.            about his interactions with the
27                                        McCullough with           student loan servicer Navient
                                          sending his account       Solutions. The complaint
28
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1                                         to collections. He        alleges that Navient (not Docu
                                          also contacted            Prep Center) threatened that his
2                                         U.S. Senator Mark         private loan would be put in
3                                         Warner’soffice for        collections.
                                          help.
4
5
     9.      On July 12, 2016,            Ex. 101 (Lepiscopo        Disputed in Part. The Bureau
6            which was more than 3        Decl. at                  does not dispute that on July 12,
7            years before this            ¶ 14); Ex. 108            2016 its Office of Consumer
             Action was untimely          (McCullough               Response sent Senator Warner
8            filed, the Bureau sent       Complaint); Senator       a letter with an update
9            U.S. Senator Mark            Warner’scommittee         regarding McCollough’s
             Warner a letter on           assignment in 114th       complaint against Navient and
10           behalf of Jared              Congress (2015-           Navient’s response.
11           McCullough.                  2016), assignments,
                                          https://ballotpedia.or    The Bureau’s letter does not
12                                        g/United_States_Se        reference Nesheiwat, Docu
13                                        n                         Prep Center, or any other
                                          ate_Committee_on_B        defendant and does not purport
14                                        anking,_Housing,_a        to be sent on behalf of
15                                        nd_Urban_Affairs.         McCullough.

16
17
18
19
20
21
22
23                                        The Bureau sent
24                                        U.S. Senator Mark
                                          Warner a letter,
25                                        along with a copy of
26                                        its letter to Mr.
                                          McCullough and a
27                                        copy of the
28                                        complaint.
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1
                                          The Bureau initiated
2                                         this investigation
3                                         due to the fact that
                                          in the 114th
4                                         Congress Senator
5                                         Warner was on the
                                          Senate Banking,
6                                         Housing, and Urban
7                                         Affairs committee,
                                          which had oversight
8                                         over the Bureau.
9
                                    Mr. McCullough
10                                  was Senator
11                                  Warner’s
                                    constituent. The
12                                  Bureau’s letter has
13                                  an official
                                    complaint number
14                                  assigned to it:
15                                  “Complaint 160524-
                                    000095
16                                  (McCullough).”
17   10.     On June 22, 2016,      Ex. 101 (Lepiscopo              Disputed in Part. The Bureau
             which was more than 3 Decl. at                         does not dispute that Brianna
18           years before this      ¶ 15); Ex. 109 (Price           Price submitted a complaint to
19           Action was untimely Complaint). The                    the Bureau on June 22, 2016.
             filed the Bureau       complaint alleges
20           received notice of the that defendant                  But the cited evidence does not
21           claims against         Certified Document              support the statement that the
             Defendants in this     Center sent her a               Bureau “received notice of the
22           Action through a       “Final Notice” for              claims against” Nesheiwat or
23           complaint filed with   consolidating her               any other defendant through
             the Bureau by Brianna student loans and                that complaint.
24           Price.                 that they would
25                                  prepare and submit              The complaint is about one
                                    a forbearance                   consumer’s experience and
26                                  request.                        does not reference Nesheiwat or
27                                  Payments were                   any other defendant besides
                                    scheduled for                   Docu Prep Center d/b/a
28
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1                                   removal from her                Certified Document Center.
                                    account: $299.67 on
2                                   1/30/17, $299.67 on             The complaint does not
3                                   7/22/17, and                    reference consumer reports or
                                    $299.66 on 8/5/17.              the FCRA, or reference false
4                                   After she was not               representations regarding lower
5                                   satisfied with the              interest rates, improved credit
                                    services, Ms. Price             scores, or ED’s role as a
6                                   closed her bank                 servicer.
7                                   account so the auto-
                                    deductions would
8                                   not occur.
9    11.     On July 7, 2016,       Ex. 101 (Lepiscopo              Disputed in Part. The Bureau
             which was more than 3 Decl. at                         does not dispute that Taylor
10           years before this      ¶ 16); Ex. 110                  Huval submitted a complaint to
11           Action was untimely (Huval Complaint).                 the Bureau on July 7, 2016.
             filed, the Bureau      The complaint
12           received notice of the alleges that                    But the cited evidence does not
13           claims against         defendant Certified             support the statement that the
             Defendants in this     Document Center                 Bureau “received notice of the
14           Action through a       sent Huval a “Final             claims against” Nesheiwat or
15           complaint filed with   Notice” mail piece              any other defendant through
             the Bureau by Taylor titled, “Student                  that complaint.
16           Huval.                 Loan Consolidation
17                                  & Payment                       The complaint is about one
                                    Reduction Program               consumer’s experience and
18                                  Prepared for Taylor             does not reference Nesheiwat or
19                                  Huval.”                         any other defendant besides
                                    The notice showed               Docu Prep Center d/b/a
20                                  the                             Certified Document Center.
21                                  balance on Huval’s
                                    student loans was               The complaint does not
22                                  $23,480. They                   reference consumer reports or
23                                  requested a $799 fee            the FCRA, or reference false
                                    for consolidation               representations regarding lower
24                                  services and a                  interest rates, improved credit
25                                  $30 per month fee               scores, or ED’s role as a
                                    for preparing and               servicer.
26                                  filing the annual
27                                  renewal and for                 The complaint does not indicate
                                    filing a loan                   when Certified Document
28
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1                                   forgiveness request.            Center wanted to receive its
                                    After conducting                fees in relation to the timing of
2                                   research Huval                  its services.
3                                   discovered that this
                                    could be done for
4                                   free and cancelled
5                                   the services.
     12.     On July 26, 2016,      Ex. 101 (Lepiscopo              Disputed in Part. The Bureau
6            which was more than 3 Decl. at                         does not dispute that Kareem
7            years before this      ¶ 17); Ex. 111                  Steplight submitted a complaint
             Action was untimely (Steplight                         to the Bureau on July 26, 2016.
8            filed, the Bureau      Complaint). The
9            received notice of the complaint alleges               But the cited evidence does not
             claims against         that defendant                  support the statement that the
10           Defendants in this     DocuPrep Center                 Bureau “received notice of the
11           Action through a       contact Mr.                     claims against” Nesheiwat or
             complaint filed with   Steplight numerous              any other defendant through
12           the Bureau by Kareem times by telephone.               that complaint.
13           Steplight.             He eventually spoke
                                    with a representative           The complaint is about one
14                                  from DocPrep                    consumer’s experience and
15                                  Center who implied              does not reference Nesheiwat or
                                    that his student debt           any other defendant besides
16                                  could be reduced by             Docu Prep Center.
17                                  50% and obtained a
                                    $600 advance fees.              The complaint does not
18                                  Mr. Steplight’s                 reference consumer reports or
19                                  funds were not                  the FCRA, or reference false
                                    refunded.                       representations regarding lower
20                                                                  interest rates, improved credit
21                                                                  scores, or ED’s role as a
                                                                    servicer.
22
23                                                                  The complaint does not indicate
                                                                    that Docu Prep Center engaged
24
                                                                    in telemarketing or support the
25                                                                  statement that Docu Prep
                                                                    Center contacted the consumer
26
                                                                    “numerous times by telephone.”
27                                                                  The complaint does not indicate
                                                                    when the company charged its
28
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1                                                        fees in relation to the timing of
                                                         its services.
2    13.     On July 26, 2016,      Ex. 101 (Lepiscopo Disputed in Part. The Bureau
3            which was more than 3 Decl. at              does not dispute that Robert
             years before this      ¶ 18); Ex. 112       Cook submitted a complaint to
4            Action was untimely (Cook Complaint). the Bureau on July 26, 2016.
5            filed, the Bureau      The complaint
             received notice of the alleges that         But the cited evidence does not
6            claims against         defendant Certified support the statement that the
7            Defendants in this     Document Center      Bureau “received notice of the
             Action through a       sent Mr. Cook a      claims against” Nesheiwat or
8            complaint filed with   “Final               any other defendant through
9            the Bureau by Robert Notice” indicating that complaint.
             Cook.                  that he was eligible
10                                  for a student loan   The complaint is about one
11                                  consolidation. Mr. consumer’s experience and
                                    Cook contacted       does not reference Nesheiwat or
12                                  them and was told any other defendant besides
13                                  he could receive     Docu Prep Center d/b/a
                                    loan forgiveness if Certified Document Center.
14                                  he made two $445
15                                  payments in June     The complaint does not
                                    2016, which he did. reference consumer reports or
16                                  Mr. Cook then        the FCRA, or reference false
17                                  requested a refund representations regarding lower
                                    of his $990 but has interest rates, improved credit
18                                  not received a       scores, or ED’s role as a
19                                  refund.              servicer.
20
     14.     On August 8, 2016,           Ex. 101 (Lepiscopo        Disputed in Part. The Bureau
21           which was more than 3        Decl. at                  does not dispute that Jonathan
             years before this            ¶ 19); Ex. 113            Hollingsworth submitted a
22
             Action was untimely          (Hollingsworth            complaint to the Bureau on
23           filed, the Bureau            Complaint). The           August 8, 2016.
             received notice of the       complaint alleges
24
             claims against               that defendant            But the cited evidence does not
25           Defendants in this           Certified Doc Prep        support the statement that the
             Action through a             Services represented      Bureau “received notice of the
26
             complaint filedwith          it provided student       claims against” Nesheiwat or
27           the Bureau by                loan debt services.       any other defendant through
             Jonathan                     Based on this Mr.         that complaint.
28
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1            Hollingsworth.               Hollingsworth
                                          entered into an           This complaint is about one
2                                         agreement for those       consumer’s experience and
3                                         services but later        appears to reference multiple
                                          changed his mind.         businesses, including “Select
4                                         However, he did not       Student Services, LLC” and
5                                         pay any advance           “Certified Doc Prep Services,”
                                          fees.                     and does not clearly identify
6                                                                   what actions were taken by
7                                                                   each business.

8                                                                   The complaint does not
9                                                                   reference Nesheiwat or any
                                                                    other defendant besides
10                                                                  Certified Doc Prep Services.
11
                                                                    The complaint does not
12                                                                  reference consumer reports or
13                                                                  the FCRA, or reference false
                                                                    representations regarding lower
14                                                                  interest rates, improved credit
15                                                                  scores, or ED’s role as a
                                                                    servicer.
16
17                                                     The complaint does not indicate
                                                       when Certified Doc Prep
18                                                     Services wanted to receive its
19                                                     fees in relation to the timing of
                                                       its services.
20   15.     On August 8, 2016,     Ex. 101 (Lepiscopo Disputed in Part. The Bureau
21           which was more than 3 Decl. at            does not dispute that Jeremy
             years before this      ¶ 20); Ex. 114     Bautista submitted a complaint
22           Action was untimely (Bautista             to the Bureau on August 8,
23           filed, the Bureau      Complaint). The    2016.
             received notice of the complaint alleges
24           claims against         that defendant     But the cited evidence does not
25           Defendants in this     Certified Document support the statement that the
             Action through a       Center sent Mr.    Bureau “received notice of the
26           complaint filed with   Bautista a “Final  claims against” Nesheiwat or
27           the Bureau by Jeremy Notice” mail piece any other defendant through
             Bautista.              titled,            that complaint.
28
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1                                         “Student Loan
                                          Consolidation&            This complaint is about one
2                                         Payment Reduction         consumer’s experience and
3                                         Program Prepared          does not reference Nesheiwat or
                                          for Jeremy                any other defendant. The
4                                         Bautista.” The            attached marketing letter
5                                         noticeshowed the          appears to have been sent by
                                          balance on                Docu Prep Center d/b/a
6                                         Bautista’s student        Certified Document Center.
7                                         loans was
                                          $40,239. Mr.              The complaint does not
8                                         Bautista spoke with       reference consumer reports or
9                                         a man named Steve         the FCRA, or reference false
                                          at Certified              representations regarding lower
10                                        Document Center           interest rates, improved credit
11                                        who told him he           scores, or ED’s role as a
                                          qualified for a loan      servicer.
12                                        forgiveness after he
13                                        paid an advance fee
                                                         The complaint does not indicate
                                          of $899. He did not
                                                         when the company he spoke to
14                                        pay the fees.  wanted to receive its fees in
15                                                       relation to the timing of its
                                                         services.
16   16.     On August 18, 2016, Ex. 101 (Lepiscopo Disputed in Part. The Bureau
17           which was more than 3 Decl. at              does not dispute that Chelsea
             years before this      ¶ 21); Ex. 115       Sogard submitted a complaint
18           Action was untimely (Sogard Complaint). to the Bureau on August 18,
19           filed, the Bureau      The complaint        2016.
             received notice of the alleges that
20           claims against         defendants Certified But the cited evidence does not
21           Defendantsin this      Document Center      support the statement that the
             Action through a       and Certified        Bureau “received notice of the
22           complaint filed with   DoPrep sent Ms.      claims against” Nesheiwat or
23           the Bureau by Chelsea Sogard a “Final       any other defendant through
             Sogard.                Notice”mail piece that complaint.
24                                  titled, “Student
25                                  Loan Consolidation The complaint is about one
                                    & Payment            consumer’s experience and
26                                  Reduction Program appears to reference multiple
27                                  Prepared for         businesses, including “Select
                                    Chelsea Sogard.”     Student Services” and
28
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1                                   The notice showed               “Certified Doc Prep,” and does
                                    the balance on                  not clearly identify what actions
2                                   Sogard’s student                were taken by each business.
3                                   loans was $240,782.             The complaint does not
                                    Ms. Sogard spoke                reference Nesheiwat or any
4                                   with a representative           other defendant besides
5                                   who requested an                Certified Doc Prep Services.
                                    $899 advance fee
6                                   for processing the              The complaint does not
7                                   forbearance and                 reference consumer reports or
                                    consolidation. He               the FCRA, or reference false
8                                   placed a hold on                representations regarding lower
9                                   withdrawal of the               interest rates or ED’s role as a
                                    $899 advance fees.              servicer.
10   17.     On August 25, 2016, Ex. 101 (Lepiscopo                 Disputed in Part. The Bureau
11           which was more than 3 Decl. at                         does not dispute that Gerardo
             years before this      ¶ 22); Ex. 116                  Gamboa submitted a complaint
12           Action was untimely (Gamboa                            to the Bureau on August 25,
13           filed, the Bureau      Complaint). The                 2016.
             received notice of the complaint alleges
14           claims against         that defendant                  But the cited evidence does not
15           Defendantsin this      Certified Document              support the statement that the
             Action through a       Center sent Mr.                 Bureau “received notice of the
16           complaint filed with   Gamboa a “Final                 claims against” Nesheiwat or
17           the Bureau by Gerardo Notice” mail piece               any other defendant through
             Gamboa.                titled,                         that complaint.
18                                  “Student Loan
19                                  Consolidation &                 The complaint is about one
                                    Payment Reduction               consumer’s experience and
20                                  Program Prepared                does not reference Nesheiwat or
21                                  for Gerardo                     any other defendant besides
                                    Gamboa.” The                    Docu Prep Center d/b/a
22                                  notice showed the               Certified Document Center.
23                                  balance on
                                    Gamboa’s student                The complaint does not
24                                  loans was                       reference consumer reports or
25                                  $32,641. Mr.                    the FCRA, or reference false
                                    Gamboa did not pay              representations regarding lower
26                                  any advance fees.               interest rates, improved credit
27                                                                  scores, or ED’s role as a
                                                                    servicer.
28
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1
                                                               The complaint does not indicate
2                                                              when Certified Document
3                                                              Center wanted to receive its
                                                               fees in relation to the timing of
4                                                              its services.
5    18.     On August 29, 2016,          Ex. 101 (Lepiscopo Disputed in Part. The Bureau
             which was more than 3        Decl. at             does not dispute that Alexis
6            years before this            ¶ 23); Ex. 117 (Ross Ross submitted a complaint to
7            Action was untimely          Complaint). The      the Bureau on August 29, 2016.
             filed, the Bureau            complaintalleges
8            received notice of the       that defendant       But the cited evidence does not
9            claims against               Certified Document support the statement that the
             Defendants in this           Centersent Ms. Ross Bureau “received notice of the
10           Action through a             a “Final             claims against” Nesheiwat or
11           complaint filed with         Notice” mail piece any other defendant through
             the Bureau by Alexis         titled, “Student     that complaint.
12           Ross.                        Loan Consolidation
13                                        & Payment            The complaint is about one
                                          Reduction Program consumer’s experience and
14                                        Prepared for Alexis does not reference Nesheiwat or
15                                        Ross.” The notice    any other defendant besides
                                          showed the balance Docu Prep Center d/b/a
16                                        on Ross’ student     Certified Document Center.
17                                        loans was $40,855.
                                          Ms. Ross paid $899 The complaint does not
18                                        in advance fees to reference consumer reports or
19                                        process her          the FCRA, or reference false
                                          consolidation.       representations regarding lower
20                                        When her loan        interest rates, improved credit
21                                        payments increased, scores, or ED’s role as a
                                          she requested a      servicer.
22                                        refund. A refund
23                                        was not issued.
     19.     On September 1, 2016,        Ex. 101 (Lepiscopo Disputed in Part. The Bureau
24
             which was more than 3        Decl. at             does not dispute that Nicholas
25           years before this            ¶ 24); Ex. 118       Ambrosio submitted a
             Action was untimely          (Ambrosio            complaint to the Bureau on
26
             filed, the Bureau            Complaint). The      September 1, 2016.
27           received notice of the       complaint alleges
             claims against               that defendant       But the cited evidence does not
28
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1            Defendants in this    Certified Document               support the statement that the
             Action through a      Center sent Mr.                  Bureau “received notice of the
2            complaint filed with  Ambrosio a “Final                claims against” Nesheiwat or
3            the Bureau by         Notice” mail piece               any other defendant through
             Nicholas Ambrosio.    titled, “Student                 that complaint.
4                                  Loan Consolidation
5                                  & Payment                        The complaint is about one
                                   Reduction Program                consumer’s experience and
6                                  Prepared for                     does not reference Nesheiwat or
7                                  Nicholas                         any other defendant besides
                                   Ambrosio.” The                   Docu Prep Center d/b/a
8                                  notice showed the                Certified Document Center.
9                                  balance on
                                   Ambrosio’s student               The complaint does not
10                                 loans was $26,234.               reference consumer reports or
11                                 Mr. Ambrosio was                 the FCRA, or reference false
                                   requested to pay                 representations regarding lower
12                                 $899 in advance                  interest rates, improved credit
13                                 fees to process his              scores, or ED’s role as a
                                   loan forgiveness and             servicer.
14                                 consolidation.
15                                 Ultimately, he did
                                   not pay the advance
16                                 fees.
17   20.     On September 1, 2016, Ex. 101 (Lepiscopo               Disputed. This fact is not
             which was more than 3 Decl. at ¶ 33); Ex.              supported by the evidence cited.
18           years before this     126. This is an
19           Action was untimely email between                      This email references a “caller
             filed, the Bureau was Certified Doc Prep               from the CFPB,” but does not
20           regularlycontacting   representatives                  support the statement that the
21           Defendants in this    indicating that the              “Bureau was regularly
             Action.               Bureau was calling               contacting Defendants.”
22                                 Defendants: “Brad
23                                 [Brigante] said not              The email does not identify the
                                   to do any more leg               caller, the recipient of the call,
24                                 work on tracking the             the nature of the call, the date
25                                 phone number of the              of the call, or any other
                                   caller from the                  information about the caller or
26                                 CFPB [i.e., the                  frequency of calls.
27                                 Bureau].”
28
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1    21.     On September 2, 2016,    Ex. 101 (Lepiscopo            Disputed in Part. The Bureau
             which was more than 3    Decl. at                      does not dispute that Jennifer
2            years before this        ¶ 25); Ex. 119                Huchim submitted a complaint
3            Action was untimely      (Huchim                       to the Bureau on September 2,
             filed, the Bureau        Complaint). The               2016.
4            received notice of the   complaint alleges
5            claims against           that defendant                But the cited evidence does not
             Defendants in this       Certified Document            support the statement that the
6            Action through a         Center sent Ms.               Bureau “received notice of the
7            complaint filed with     Huchim a “Final               claims against” Nesheiwat or
             the Bureau by Jennifer   Notice” mail piece            any other defendant through
8            Huchim.                  titled,                       that complaint.
9                                     “Student Loan
                                      Consolidation&                This complaint is about one
10                                    Payment Reduction             consumer’s experience and
11                                    Program Prepared              does not reference Nesheiwat or
                                      for Jennifer                  any other defendant.
12                                    Huchim.” The
13                                    notice showed the             The attached marketing letter
                                      balance on Ms.                appears to have been sent by
14                                    Huchim’s student              Docu Prep Center d/b/a
15                                    loans was                     Certified Document Center.
                                      $38,626. Ms.
16                                    Huchim was                    The complaint does not
17                                    requested to pay              reference consumer reports or
                                      $2,600 in advance             the FCRA, or reference false
18                                    fees to process her           representations regarding lower
19                                    loan forgiveness and          interest rates, improved credit
                                      consolidation, which          scores, or ED’s role as a
20                                    the representative            servicer.
21                                    discounted to
                                      $700 if paid
22                                    immediately. She
23                                    did not pay any fees.
     22.     On September 10,         Ex. 101 (Lepiscopo            Disputed in Part. The Bureau
24           2016, which was more Decl. at                          does not dispute that Olivia
25           than 3 years before this ¶ 26); Ex. 120 (Pora          Pora submitted a complaint to
             Action was untimely Complaint). The                    the Bureau on September 10,
26           filed, the Bureau        complaint alleges             2016.
27           received notice of the that defendant
             claims against           Certified Doc Prep            But the cited evidence does not
28
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1            Defendants in this           Services made false       support the statement that the
             Action through a             representations           Bureau “received notice of the
2            complaint filed with         about student loan        claims against” Nesheiwat or
3            the Bureau by Olivia         consolidation and         any other defendant through
             Pora.                        reduction. Ms. Pora       that complaint.
4                                         did not sign any
5                                         agreement and did         The complaint is about one
                                          not pay any advance       consumer’s experience and
6                                         fees but is               does not reference Nesheiwat or
7                                         concerned about her       any other defendant besides
                                          private information.      Certified Doc Prep Services.
8
9                                                                   The complaint does not
                                                                    reference consumer reports or
10                                                                  the FCRA, or reference false
11                                                                  representations regarding lower
                                                                    interest rates, improved credit
12                                                                  scores, or ED’s role as a
13                                                                  servicer.

14                                                       The complaint does not indicate
15                                                       when Certified Doc Prep
                                                         Services wanted to receive its
16                                                       fees in relation to the timing of
17                                                       its services.
     23.     On September 16,         Ex. 101 (Lepiscopo Disputed in Part. The Bureau
18           2016, which was more Decl. at               does not dispute that Shelia
19           than 3 years before this ¶ 27); Ex. 127     Johnson submitted a complaint
             Action was untimely (Johnson                to the Bureau on September 16,
20           filed, the Bureau        Complaint). The    2016.
21           received notice of the complaint alleges
             claims against           that defendant     But the cited evidence does not
22           Defendants in this       DocuPrep Center    support the statement that the
23           Action through a         represented to Ms. Bureau “received notice of the
             complaint filed with     Johnson that she   claims against” Nesheiwat or
24           the Bureau by Shelia was eligible for loan any other defendant through
25           Johnson.                 forgiveness and    that complaint.
                                      request a $1,000
26                                    advance fee, which The complaint is about one
27                                    reduced to $899 to consumer’s experience and
                                      be paid in three   does not reference Nesheiwat or
28
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1                                         payments: $299.67         any other defendant. The
                                          on 11/30/15,              documents submitted by the
2                                         $299.67 on                consumer reference Docu Prep
3                                         12/31/15, and             Center.
                                          $299.66 on 1/8/16,
4                                         which was deducted        The complaint does not
5                                         from her bank             reference consumer reports or
                                          account. After            the FCRA, or reference false
6                                         learning that             representations regarding lower
7                                         DocuPrep Center           interest rates, improved credit
                                          did not do anything       scores, or ED’s role as a
8                                         to procure a loan         servicer.
9                                         forgiveness, she
                                          requested a refund,
10                                        which was not
11                                        given.
     24.     On October 24, 2016,         Ex. 101 (Lepiscopo        Disputed in Part. The Bureau
12           which was more than 3        Decl. at                  does not dispute that Damina
13           years before this            ¶ 28); Ex. 121            Durham submitted a complaint
             Action was untimely          (Durham                   to the Bureau on October 24,
14           filed, the Bureau            Complaint). The           2016.
15           received notice of the       complaint alleges
             claims against               that defendant            But the cited evidence does not
16           Defendants in this           DocuPrep Center           support the statement that the
17           Action through a             contact Damina            Bureau “received notice of the
             complaint filed with         Durham offering           claims against” Nesheiwat or
18           the Bureau by Damina         student loan              any other defendant through
19           Durham.                      forgiveness               that complaint.
                                          assistance services.
20                                        Damina completed          This complaint is about one
21                                        and submitted all         consumer’s experience and
                                          forms to DocuPrep         appears to involve multiple
22                                        Center, including         businesses. The complaint’s
23                                        the automatic debit       narrative refers to “Student
                                          form--$29.99 per          Assist Plus,” while certain of
24                                        month.                    the complaint’s attachments
25                                        Monthly payments          reference Docu Prep Center,
                                          commenced being           and the $29.99 monthly
26                                        deducted but it is        payment appears to have been
27                                        unclear whether           charged by Student Assist Plus.
                                          therewas ever a
28
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1                                         refund.                   The complaint does not
                                                                    reference Nesheiwat or any
2                                                                   other defendant besides Docu
3                                                                   Prep Center.

4                                                                   The complaint does not
5                                                                   reference consumer reports or
                                                                    the FCRA, or reference false
6                                                                   representations regarding lower
7                                                                   interest rates, improved credit
                                                                    scores, or ED’s role as a
8                                                                   servicer.
9
                                                                The complaint does not indicate
10                                                              that Docu Prep Center engaged
11                                                              in telemarketing.
     25.     On November 14,              Ex. 101 (Lepiscopo Disputed in Part. The Bureau
12           2016, which was more         Decl. at              does not dispute that Edgard
13           than 3 years before          ¶ 29); Ex. 122        Parra submitted a complaint to
             this Action was              (Parra Complaint). the Bureau on November 14,
14           untimely filed, the          The complaint         2016.
15           Bureau received              alleges that
             notice of the claims         defendant Certified But the cited evidence does not
16           against Defendants in        Document Center       support the statement that the
17           this Action through a        sent Mr. Parra a      Bureau “received notice of the
             complaint filed with         “Final                claims against” Nesheiwat or
18           the Bureau by Edgard         Notice” mail piece any other defendant through
19           Parra.                       titled, “Student      that complaint.
                                          Loan Consolidation
20                                        & Payment             The complaint is about one
21                                        Reduction Program consumer’s experience and
                                          Prepared for          does not reference Nesheiwat or
22                                        Edgard Parra.” The any other defendant besides
23                                        notice showed the Docu Prep Center d/b/a
                                          balance on Mr.        Certified Document Center.
24                                        Parra’s student loans
25                                        was                   The complaint does not
                                          $31,000. Certified reference consumer reports or
26                                        Document Center       the FCRA, or reference false
27                                        pressured Mr. Parra representations regarding lower
                                          to sign on to their   interest rates, improved credit
28
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1                                         services but he did       scores, or ED’s role as a
                                          not.                      servicer.
2
3                                                           The complaint does not indicate
                                                            when Docu Prep Center wanted
4                                                           to receive its fees in relation to
5                                                           the timing of its services.
     26.     On November 15,          Ex. 101 (Lepiscopo Disputed in Part. The Bureau
6            2016, which was more Decl. at                  does not dispute that Lisa Verdi
7            than 3 years before this ¶ 30); Ex. 123        submitted a complaint to the
             Action was untimely (Verdi Complaint). Bureau on November 15, 2016.
8            filed, the Bureau        The complaint
9            received notice of the alleges that Ms.        But the cited evidence does not
             claims against           Verdi received a      support the statement that the
10           Defendants in this       letter from           Bureau “received notice of the
11           Action through a         defendant DocuPrep claims against” Nesheiwat or
             complaint filed with     Center that they      any other defendant through
12           the Bureau by Lisa       could reduce or       that complaint.
13           Verdi.                   obtain forgiveness
                                      of her student loan The complaint is about one
14                                    debt. She was         consumer’s experience and
15                                    charged $900 in       does not reference Nesheiwat or
                                      advance fees, in two any other defendant besides
16                                    separate $450         Docu Prep Center.
17                                    payments.
                                      Subsequently, she The complaint does not
18                                    received a fraud      reference consumer reports or
19                                    alert from her lender the FCRA, or reference false
                                      but was never issued representations regarding lower
20                                    a refund.             interest rates, improved credit
21                                                          scores, or ED’s role as a
                                                            servicer.
22
23                                                   The complaint does not indicate
                                                     when Docu Prep Center
24
                                                     received its fees in relation to
25                                                   the timing of its services.
     27.     On December 30,      Ex. 101 (Lepiscopo Disputed in Part. The Bureau
26
             2016, which was more Decl. at           does not dispute that Eric
27           than 3 years before  ¶ 31); Ex. 124     Vasquez submitted a complaint
             this Action was      (Vasquez           to the Bureau on December 30,
28
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1            untimely filed, the          Complaint). The           2016.
             Bureau received              complaint alleges
2            notice of the claims         that defendant            But the cited evidence does not
3            against Defendants in        DocuPrep Center           support the statement that the
             this Action through a        sent Mr. Vasquez a        Bureau “received notice of the
4            complaint filed with         mailer indicating         claims against” Nesheiwat or
5            the Bureau by Eric           that they could           any other defendant through
             Vasquez.                     consolidate his           that complaint.
6                                         student loans. He
7                                         accepted and paid         The complaint is about one
                                          DocuPrep Center an        consumer’s experience and
8                                         $800 advance fee.         does not reference Nesheiwat or
9                                         Subsequently he           any other defendant besides
                                          checked his credit,       Docu Prep Center.
10                                        but his student loans
11                                        had not beenThe complaint does not
                                                      reference consumer reports or
                                          consolidated. He
12                                                    the FCRA, or reference false
                                          never received a
13                                        refund.     representations regarding lower
                                                      interest rates, improved credit
14                                                    scores, or ED’s role as a
15                                                    servicer.
     28.     On December 31,       Ex. 101 (Lepiscopo Disputed in Part. The Bureau
16           2016, which was more Decl. at            does not dispute that Donna
17           than 3 years before   ¶ 32); Ex. 125     Sohovich submitted a complaint
             this Action was       (Sohovich          to the Bureau on December 31,
18           untimely filed, the   Complaint). The    2016.
19           Bureau received       complaint alleges
             notice of the claims  that defendant     But the cited evidence does not
20           against Defendants in Assure Direct      support the statement that the
21           this Action through a Services Ms.       Bureau “received notice of the
             complaint filed with  Sohovich a “Final claims against” Nesheiwat or
22           the Bureau by Donna Notice” mail piece any other defendant through
23           Sohovich.             titled, “Student   that complaint.
                                   Loan Consolidation
24                                 & Payment          The complaint is about one
25                                 Reduction Program consumer’s experience and
                                   Prepared for Donna does not reference Nesheiwat or
26                                 Sohovich.” The     any other defendant besides
27                                 notice showed the Assure Direct Services.
                                   balance on Ms.
28
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1                                  Sohovich’s student               The complaint does not
                                   loanswas $26,000.                reference consumer reports or
2                                  In November 2016                 the FCRA, or reference false
3                                  Ms. Sohovich                     representations regarding lower
                                   contacted defendant              interest rates, improved credit
4                                  Assure Direct                    scores, or ED’s role as a
5                                  Services and spoke               servicer.
                                   with a
6                                  representative, who
7                                  pressuredher to sign
                                   up for the student
8                                  loan reduction
9                                  program for an
                                   $899 advance fee, as
10                                 12/31/16 was the
11                                 last date it would be
                                   available. She made
12                                 two
13                                 $299.67 payments.
                                   When Ms. Sohovich
14                                 inquired further, she
15                                 was referred by a
                                   third part to contact
16                                 the Bureau to try to
17                                 recover her $599.34
                                   and expose
18                                 defendant Assure
19                                 Direct Service.
     29.     During the time frame Ex. 101 (Lepiscopo               Disputed. This fact is not
20           April 23, 2015,       Decl. at                         supported by the evidence cited
21           through January 6,    ¶ 35); Ex. 141                   because there is no evidence
             2017, all of which    (Bureau’sConsumer                that the Bureau received the
22           were more than 3      Complaint                        108 complaints more than three
23           years before this     Spreadsheet).                    years before filing this action.
             Action was untimely
24           filed, the Bureau                                      Nesheiwat’s Ex. 141 is
25           received 108 consumer                                  excerpted from a spreadsheet of
             complaints against                                     consumer complaints from the
26           Defendants in this                                     FTC’s Consumer Sentinel
27           Action.                                                database. See SJ Ex. 30 at ¶¶ 6-
                                                                    7 (identifying Bates number of
28
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1                                                                  spreadsheet of Sentinel
                                                                   complaints produced to
2                                                                  Nesheiwat); Ex. 101 at ¶ 35
3                                                                  (Nesheiwat counsel referencing
                                                                   same Bates number). Consumer
4                                                                  complaints in Sentinel are
5                                                                  submitted to the FTC directly
                                                                   by consumers, as well as by 45
6                                                                  data contributors, which
7                                                                  includes the Bureau. See SJ Ex.
                                                                   30 at ¶ 6.
8
9                                                                  Of the 108 complaints that
                                                                   Nesheiwat references, the
10                                                                 Bureau contributed only 24 to
11                                                                 Sentinel. See Ex. 141
                                                                   (complaints “Created By” a
12                                                                 “CFPB-USER”). There is no
13                                                                 evidence that the Bureau
                                                                   received the other 84
14                                                                 complaints more than three
15                                                                 years before filing this action.

16                                                                 In addition, the complaints
17                                                                 referenced in this spreadsheet
                                                                   do not refer to Nesheiwat,
18                                                                 Monster Loans, Direct
19                                                                 Document Solutions, or Secure
                                                                   Preparation Services. See SJ
20                                                                 Ex. 66 (Supp. Schneider Decl.)
21                                                                 at ¶¶ 3-9.
22
23
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1
     Dated: July 9, 2021                          /s/ Colin Reardon
2
                                                  Leanne E. Hartmann
3                                                 E. Vanessa Assae-Bille (pro hac vice)
                                                  Colin Reardon (pro hac vice)
4
                                                  Bureau of Consumer Financial Protection
5                                                 1700 G Street, NW
                                                  Washington, D.C. 20552
6
7                                                 Attorneys for Plaintiff Bureau of Consumer
8                                                 Financial Protection

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